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                       UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK




NIKE, INC.,                             Case No. 1:22-cv-000983-VEC

              Plaintiff,

      v.

STOCKX LLC,

              Defendant.




                     EXPERT REPORT OF CATHERINE TUCKER

                                 MAY 5, 2023
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I.       INTRODUCTION

         1.      I am the Sloan Distinguished Professor of Management Science at MIT Sloan at
the Massachusetts Institute of Technology (“MIT”) in Cambridge, Massachusetts. I received an
undergraduate degree in Politics, Philosophy and Economics from Oxford University in the
United Kingdom. I received a PhD in Economics from Stanford University in 2005. I have been
a professor at MIT since completing my Ph.D.

         2.      My academic specialty lies in studying the evolution of business models in the
digital era. One area in which I have specialized has been the study and determinants of success
of platform business models in digital settings. Given this expertise, I was recently asked to
present in the introductory plenary session to the FTC hearings on the current economic
understanding of multi-sided platforms.1 I teach our Platform Strategy executive education
course at MIT Sloan.2

         3.      I am Senior Editor at Marketing Science. I have been an Associate Editor at
Management Science, Marketing Science and the Journal of Marketing Research, and Co-Editor
of the Journal of Quantitative Marketing and Economics. I was a Co-Editor of the recent
National Bureau of Economics Research volume on the Economics of Digitization. I received a
National Science Foundation CAREER Award, which is the National Science Foundation’s most
prestigious award in support of junior faculty who “exemplify the role of teacher-scholars
through outstanding research, excellent education, and the integration of education and research
within the context of the mission of their organizations.”3 I have testified twice before Congress
on policy issues relating to new digital technologies and have presented my research to the
Federal Trade Commission, the IMF, the Federal Communications Commission, and the OECD.
I have published multiple academic papers in leading scientific, economics, marketing,


1
     Federal Trade Commission, FTC Hearing 3: Oct. 15, Network Effects in Multi-Sided Platforms, October 15,
     2018, www ftc.gov/news-events/audio-video/video/ftc-hearing-3-oct-15-welcome-remarks-session-1-
     economics-multi-sided.
2
     MIT Sloan Executive Education, “Platform Strategy: Building and Thriving in a Vibrant Ecosystem,”
     https://executive.mit.edu/on/demandware.static/-/Sites-master-catalog-
     msee/default/dwc6b9d6db/brochures/Platform%20Strategy.pdf.
3
     National Science Foundation, “Faculty Early Career Development Program (CAREER),”
     https://web.archive.org/web/20161001075217/https://www nsf.gov/funding/pgm_summ.jsp?pims_id=503214.



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management, and information systems journals, including Science, Journal of Political
Economy, RAND Journal of Economics, Management Science and Information Systems
Research.

          4.      I am being compensated for my services in this matter at my customary hourly
rate of $1,400. In preparing this report, I have been assisted by certain employees of Analysis
Group. My curriculum vitae and list of prior testimony are attached as Appendices A and B.


II.       ALLEGATIONS, ASSIGNMENT, AND CONCLUSIONS

          A.      Allegations

          5.      Nike alleges that StockX engages in “selling counterfeit Nike goods, and making
false and/or misleading claims regarding the purported authenticity of those goods.”4 According
to Nike, StockX “knows that its false and/or misleading statements about the authenticity of the
Nike goods for sale on its platform deceives consumers. Nevertheless, StockX continues to
engage in such improper and unlawful business practices to attract consumers to its platform.”5
Nike alleges that these actions constitute “false advertising and false representations.”6

          6.      Nike also alleges that, “without Nike’s authorization or approval, StockX is
‘minting’ NFTs that prominently use Nike’s trademarks, marketing those NFTs using Nike’s
goodwill, and selling those NFTs at heavily inflated prices to unsuspecting consumers who
believe or are likely to believe that those ‘investible digital assets’ (as StockX calls them) are, in
fact, authorized by Nike when they are not.”7

          7.      Further, Nike claims that “Nike-branded Vault NFTs … are, in fact, new virtual
products that StockX has bundled with additional StockX services (e.g., ‘Vault Services’) and
unspecified benefits (e.g., ‘exclusive access to StockX releases, promotions, events’).”8 Nike
claims that “StockX has sold Nike-branded NFTs at prices many multiples above the price of the

4
      First Amended Complaint, Nike, Inc. v. StockX LLC, No. 1:22-cv-000983-VEC, May 25, 2022 (“First Amended
      Complaint”), ¶ 15.
5
      First Amended Complaint, ¶ 113.
6
      First Amended Complaint, ¶ 175.
7
      First Amended Complaint, ¶ 5.
8
      First Amended Complaint, ¶ 6



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physical Nike shoe” and that “certain Nike-branded Vault NFTs [were] still selling for thousands
of dollars above the price of the physical shoe” as of May 2022.9


        B.      Assignment

        8.      I have been asked by counsel to:

             a. Explain the features and characteristics of StockX’s marketplace and business
                model;

             b. Explain how trust contributes to the success of resale marketplaces, and the
                potential implications for such platforms if they tolerate fraud on their platform;

             c. Assess how the Vault NFTs create value for their purchasers or holders by
                making it easier and cheaper to transact on StockX; and

             d. Assess the price patterns of Vault NFTs linked to physical Nike shoes, including
                interpretations that explain the observed pricing patterns.


        C.      Summary of conclusions

        9.      Based on my expertise in economics and my analysis of relevant documents in
this case I have reached the following opinions:

             a. StockX—like other online resale marketplaces—creates value by using digital
                technologies to make it easier for buyers and sellers to trade. Those technologies
                and features include, among others, a single streamlined page for a given product,
                a bid or buy pricing mechanism, and a payment processing system, which
                together reduce search, information, and transaction costs faced by buyers and
                sellers. Together, these technologies and features have allowed StockX to
                overcome various drawbacks of the offline resale of high-end products and
                collectibles, such as the distances in time and space that make matching buyers
                and sellers a challenge. See Section IV.




9
    First Amended Complaint, ¶¶ 63, 65.



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     b. The success of resale marketplaces hinges on their ability to enable positive
        interactions between buyers and sellers and establish trust between both groups.
        StockX—like other similar platforms—has an incentive to generate and preserve
        trust on its platform and would risk the success of its business if it did not take
        steps to prevent the sale of counterfeit items, which could lead to an erosion of
        buyers’ trust. See Section V.

             i. StockX relies on various features and technologies to increase trust and
                accountability on the platform. One of its most salient trust-building
                features is its verification process and the accompanying “StockX
                Verified” label for all products sold on the platform. Using a verification
                process has benefits relative to other trust-building practices, like ratings
                and review systems. Ratings and review systems are often relied upon by
                online marketplaces, but their informativeness varies, especially in
                situations where buyers cannot judge the quality of their purchase at the
                time they write the review.

            ii. StockX provides detailed data about historical prices and live bids and
                asks for items on the platform. Such transparency helps ensure that neither
                buyers nor sellers trade at an unfair price on the platform, and it further
                discourages the sale of counterfeits by drawing attention to prices that are
                too low to be credible.

     c. Multiple features and technologies have been developed throughout recent history
        to facilitate the trade of physical goods, including (1) untethering ownership from
        physical possession, (2) innovations that reduce information costs through
        reduced verification costs, and (3) storage solution vaults that improve the
        tradability of physical goods. StockX’s Vault NFTs are an innovation that
        incorporates these three features. As a result, StockX’s Vault NFTs reduce
        transaction costs associated with the trade of physical goods, which can be
        beneficial to consumers interested in trading sneakers and other collectibles. See
        Section VI.




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                 d. StockX initially priced the Vault NFTs at a discount compared to the price of the
                    physical pairs on the platform. On the first day of trading, the prices of the first
                    Vault NFTs linked to Nike sneakers spiked. But in a matter of weeks, transaction
                    volume and prices dropped, and prices converged to a level close to the price of
                    physical shoes, as expected by StockX’s leadership. See Section VII.A.

                 e. High initial prices followed by a price decline for traded assets are not an unusual
                    phenomenon, particularly for new technologies that investors find difficult to
                    value in their early days. The price dynamics observed for StockX’s Vault NFTs
                    are therefore not unlike the ones seen for a range of assets linked to other new
                    technologies, including other blockchain-based decentralized finance innovations.
                    In the case of Vault NFTs, the uncertainty regarding the valuation of the new
                    asset, the underlying technology, and the adoption rate of the new product may
                    have caused initial high demand followed by a rapid correction, possibly once
                    uncertainty and initial over-excitement faded. See Section VII.B.

           10.      In forming my opinions for this report, I have relied on my experience and the
sources listed in Appendix C. If additional relevant information is made available to me, I may
adjust or supplement my opinions.


III.       BACKGROUND

           A.       Parties

                    1.        StockX

           11.      StockX is an online resale marketplace that connects buyers and resellers of “the
hottest sneakers, apparel, electronics, collectibles, trading cards and accessories.”10 StockX grew
out of a company created in 2012 that tracked sneaker resale data, including average price,
volume, and volatility, on eBay.11 Co-founders Dan Gilbert, Josh Luber, and Greg Schwartz


10
       StockX, “The Current Culture Marketplace,” https://stockx.com/about/how-it-works/ (“Our mission is to
       provide access to the world’s most coveted items in the smartest way possible. Buy and sell the hottest sneakers,
       apparel, electronics, collectibles, trading cards and accessories.”).
11
       StockX, “Campless,” August 30, 2013, https://stockx.com/news/campless.



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developed StockX to provide an online marketplace for high-end sneakers.12 Over time, the
StockX marketplace has expanded to facilitate the trade of other luxury items, including apparel,
trading cards, accessories such as handbags and watches, and other various collectibles. In
addition, in January 2022, StockX began offering Vault NFTs: digital tokens tied to physical
products such as sneakers, trading cards, watches, and skateboard decks stored in StockX’s
climate-controlled, high-security vault.13


                  2.        Nike

         12.      Nike is the world’s largest producer of athletic shoes and sports apparel.14 A key
event in the history of Nike and the collectible nature of its sneakers was its partnership with
Michael Jordan in 1984, followed by the release of the Nike Air Jordan 1.15 Nike has since
continued to develop more mainstream offerings, such as running clothing, alongside high-
profile collaborations with celebrities like designer Virgil Abloh and rapper/musician Travis


12
     Crain’s Detroit Business, “Greg Schwartz, 38,” August 30, 2019, https://www.crainsdetroit.com/awards/greg-
     schwartz-40-under-40-2019 (“That ‘something’ was an online marketplace for high-end collectibles, starting
     with luxury sneakers. The company has since branched out into luxury handbags, watches and streetwear.”);
     Erin Griffith, “Buy Low-Tops, Sell High-Tops: StockX Sneaker Exchange is Worth $1 Billion,” The New York
     Times, June 26, 2019, https://www.nytimes.com/2019/06/26/technology/trading-sneakers-stockx html (“StockX
     grew out of Campless, a website that Josh Luber, a former I.B.M. consultant, built in 2012 to track sneaker
     resale prices on eBay. After Mr. Luber delivered a popular TED Talk titled ‘Why sneakers are a great
     investment,’ Dan Gilbert, owner of the Cleveland Cavaliers, and a co-founder, Greg Schwartz, acquired
     Campless. Campless eventually transformed itself into StockX, a marketplace to buy and sell sneakers.”).
13
     StockX, “NFTs,” https://stockx.com/lp/nfts (“Introducing Vault NFTs on StockX, new digital tokens providing
     unprecedented access and utility for our customers. Each Vault NFT is tied to a physical product (as depicted on
     the NFT), which is stored in our brand new, climate-controlled, high-security vault.”).
14
     Bloomberg, “Phil Knight & family,” https://www.bloomberg.com/billionaires/profiles/philip-h-knight (“Knight
     is the founder and largest shareholder of Nike, the world’s biggest maker of athletic shoes and sports apparel.
     The Beaverton, Oregon-based company operates more than 1,100 stores and had revenue of $44.5 billion in the
     year to May 2021.”).
15
     Sotheby’s, “The Meteoric Rise of the Nike Air Jordan Brand,” January 25, 2023,
     https://www.sothebys.com/en/articles/the-meteoric-rise-of-the-jordan-brand (“In 1984, Nike signed up-and-
     coming basketball rookie Michael Jordan to an unprecedented $500,000 a year endorsement deal … But it was
     the release of the first Jordan shoe in 1985 that truly propelled the Jordan brand to new heights. The first Jordan
     shoe, the Nike Air Jordan 1, was an instant hit, kicking off modern sneaker collecting as we know it.”); Expert
     Report of DeJongh “Dee” Wells, Nike Inc. v. StockX LLC, 1:22-cv-000983-VEC, May 5, 2023 (“Wells
     Report”), ¶ 45 (“The ‘second phase’ of Sneakerhead culture started with Michael Jordan wearing the Nike Air
     Ship in 1984, which served as the inspiration for the Air Jordan 1, which was released to the market in 1985.
     Michael Jordan’s endorsement of what became his signature sneakers proved to be a watershed moment in the
     development of the Sneakerhead culture that found ‘its way more and more into the general public,’ by
     transcending cultural boundaries that existed during the 1970s. The release of the Air Jordan was deemed a
     ‘turning point’ in the Sneakerhead culture, and sneakers’ appeal became broader.”).



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Scott.16 Nike releases certain shoes in limited editions, which often sell out. In those cases,
limited edition sneakers will typically be traded on the secondary market, often at prices much
higher than the retail price.17


IV.       HOW RESALE MARKETPLACES INCLUDING STOCKX CREATE VALUE

          A.        The economics of resale marketplaces

          13.       Marketplaces are a type of multi-sided platform, and specifically a two-sided
platform, which is an economics term that refers to businesses that facilitate interactions between
multiple groups of users. This type of business model is not new. Early examples include
medieval fairs, which brought together buyers and sellers of agricultural products.18 However,


16
      Vogue, “From Sacai to Jacquemus: 14 Nike Sneaker Collabs to Know and Shop,”
      https://www.vogue.com/article/14-nike-sneaker-collabs-to-know-and-shop (“Virgil Abloh of Off-White and
      Nike joined forces in 2019 to create a Waffle Racer built for speed and optimized for style.”); High Snobiety,
      “The Complete Beginner’s Guide to Every Travis Scott Sneaker Collaboration,” 2019,
      https://www.highsnobiety.com/p/travis-scott-jordan-nike-collab (“All the while, Scott’s collaboration with Nike
      and Jordan Brand has been picking up steam.”); Wells Report, ¶ 6 (“Alongside its mainstream products, such as
      running shoes and clothing, Nike has joined other brands in releasing limited edition sneakers, including
      through collaborations with celebrities like fashion designer Virgil Abloh and rapper Travis Scott.”), ¶ 54
      (“There are additional ways brands can build hype for a product launch outside of social media. For instance, in
      2022, Nike launched a raffle for the chance to buy the new ‘Reverse Mocha’ Jordan 1 Low designed by Travis
      Scott. The raffle drew 2.4 million entries in its first 30 minutes, ultimately reaching 3.8 million entries, a record
      for Nike’s SNKRS app. Notably, this was just an entry for the chance to buy a ‘Reverse Mocha’; winners still
      had to purchase the actual sneaker.”), ¶ 62 (“After Virgil Abloh’s passing in 2021, the price of Off-White
      sneakers, designed by Abloh in collaboration with Nike, spiked on resale platforms and stores. While prices
      settled in the days following his death, they generally remained higher than they were when Abloh was alive. ”).
17
      Wells Report, ¶ 75 (“Brands, including Nike, use scarcity as a marketing device, capitalizing on Sneakerheads’
      desire to own rare sneakers. Footwear brand ASICS’s Lifestyle Director Mike Jensen noted ‘scarcity is
      currency.’ Nike calls this strategy ‘quick strikes,’ reporting over 40 collab/limited edition sneakers on its
      website, and featuring a calendar of upcoming releases, with new limited editions dropping daily. More
      recently, Nike has begun selling limited-release shoes exclusively through a lottery system only accessible in its
      SNKRS app. ”), ¶ 76 (“The resale market for sneakers has exploded in recent years and is expected to continue
      its rapid growth, estimated to reach $30 billion globally by 2030. The resale market has played a vital role in
      making sneakers more accessible. It is, and has always been, an important means through which Sneakerheads
      can access the rare and limited release styles that they may not have been able to obtain directly from the brand.
      When limited releases sell out when released by the brand, they then are available only through the resale
      market, often at prices much higher than the original retail price.”).
18
      Steven Tadelis, “Reputation and Feedback Systems in Online Platform Markets,” NBER Working Paper, 2016,
      pp. 1-33, p. 2 (“Coordinating where and when trade took place was an important historical innovation, which
      can be seen in the introduction of trade fairs in medieval Europe.”); Paul Belleflamme and Martin Peitz, The
      Economics of Platforms, Cambridge, UK, Cambridge University Press, 2021, p. 10 (“According to historians,
      European trade took off at the end of the twelfth century in what is now the North of France, in the county of
      Champagne. It is in this period that this county started to host regular trade fairs, which lasted for six weeks and



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thanks to digital technologies, the number of two-sided digital platforms—including resale
marketplaces—has grown in the last 15 to 20 years. For example, eBay and Etsy help buyers and
sellers find each other to exchange goods, while OpenTable makes it easier for diners to make
reservations at restaurants with availability, Airbnb makes it easier for hosts with spare rooms
and guests to find each other, and Bumble makes it easier for singles looking for dates to match.

         14.      Marketplaces connect buyers and sellers of items, new or used, and make it easier
for them to meet and exchange products and services. Marketplaces are characterized by the
three fundamental features of two-sided platforms:

               a. A marketplace brings together two customer groups: buyers and sellers. In some
                  cases, buyers and sellers are two distinct groups, as is the case, for instance, for
                  farmers and city-dwellers in the context of a farmer’s market. In other cases,
                  platform users may use the platform both to buy and to sell, as is the case, for
                  instance, in a stock market. A marketplace provides its services to both groups
                  and therefore views both groups as customers.

               b. Marketplaces create value by facilitating and encouraging exchanges between
                  buyers and sellers. Buyers and sellers would like to interact but may face various
                  types of search, information, and transaction costs that make interactions costly or
                  inconvenient.19 Search costs are incurred by buyers and sellers to find each other;
                  for example, they could consist of the time spent trying to find short-term
                  accommodations available in a given city on certain dates.20 Information costs
                  refer to costs that buyers incur while trying to gather information and learn about

     rotated among six cities. Merchants came from all over Europe because they were confident that they would
     meet each other at these fairs.”).
19
     David Evans and Michael Noel, “Defining Markets that Involve Multi-sided Platform Businesses: An Empirical
     Framework with an Application to Google’s Purchase of DoubleClick,” Working Paper, No. 07–18, 2007, pp.
     1–47, p. 3 (“[Multi-sided platforms] provide goods or services to several distinct groups of customers who need
     each other in some way and who rely on the platform to intermediate transactions between them. They typically
     reduce transaction costs and thereby permit value-creating exchanges to take place that otherwise would not
     occur. In particular they facilitate the realization of indirect network externalities, and externalities in use,
     between the members of distinct customer groups.”); Paul Belleflamme and Martin Peitz, The Economics of
     Platforms, Cambridge, UK, Cambridge University Press, 2021, p. 39 (“[Exchanges] help ‘buyers’ and ‘sellers’
     search for feasible contracts and for the best prices.”).
20
     Andrei Hagiu, “Multi-sided Platforms: From Microfoundations to Design and Expansion Strategies,” Working
     Paper, No. 09-115, 2008, pp. 1-25, p. 5 (“Search costs are costs incurred by the multiple sides before they
     actually interact, in order to determine the best ‘trading partners’.”).



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                  sellers and their products, and that sellers incur in trying to learn about possible
                  buyers, after they have found each other; for instance, learning details about the
                  quality of the available short-term accommodation.21 Transaction costs are
                  incurred by one or both sides in the process of transacting, that is, once a buyer
                  and seller have matched; for instance, finding a convenient way to pay for the
                  accommodation.22 A marketplace creates value by lowering costs generated by
                  frictions such as search, information, and transaction costs.

               c. Successful marketplaces enable what economists call positive indirect network
                  effects, that is, the greater benefits that customers on one side of the platform
                  enjoy as a result of interacting with more customers on the other side of the
                  platform.23 On a marketplace, buyers benefit from the presence of more sellers on
                  the platform and vice-versa. This is because a seller benefits if there are more
                  buyers to whom they can sell, and a buyer benefits if there are more sellers from
                  whom they can buy. A two-sided platform is able to succeed to the extent that it
                  can coordinate the presence of users on both sides of the platform.24

         15.      In some cases, the marketplaces mostly involve sellers that sell their own goods or
services; for example, farmers through farmers markets, developers through Apple’s App Store,

21
     David Evans, “The Antitrust Economics of Multi-Sided Platform Markets,” Yale Journal on Regulation, Vol.
     20, 2003, pp. 325-381, pp. 332-333 (“Generally, in matchmaking markets customers of each type benefit from
     being able to search a larger group of customers of the other type for a suitable match. They also benefit from
     being able to search among a group that has been narrowed to suitable matches … Information and transaction
     costs as well as free-riding make it difficult in practice for members of distinct customer groups to internalize
     the externalities on their own.”).
22
     Andrei Hagiu, “Multi-sided Platforms: From Microfoundations to Design and Expansion Strategies,” Working
     Paper, No. 09-115, 2008, pp. 1-25, p. 6 (“The second fundamental function is to reduce the costs incurred
     during the transactions themselves, i.e. after search is over and the transacting parties have found each other. A
     portion of these costs is generally common to all transactions between different members of the relevant sides
     of the MSP, which is why we call them ‘shared’ or ‘duplicate’ costs.”).
23
     David Evans and Richard Schmalensee, Matchmakers: The New Economics of Multisided Platforms, Boston,
     Harvard Business Review Press, 2016, p. 25 (“A network effect is indirect when the value of a matchmaker to
     one group of customers depends on how many members of a different group participate.”). Echoing Dr. Evans, I
     abbreviate positive indirect network effects as indirect network effects in this report.
24
     David Evans and Richard Schmalensee, Matchmakers: The New Economics of Multisided Platforms, Boston,
     Harvard Business Review Press, 2016, p. 25 (“A network effect is indirect when the value of a matchmaker to
     one group of customers depends on how many members of a different group participate.”); Paul Belleflamme
     and Martin Peitz, The Economics of Platforms, Cambridge, UK, Cambridge University Press, 2021, p. 17 (“On
     a trading platform, buyers are, everything else being equal, typically better off the more sellers are present and
     vice versa: Both groups exert a positive cross-group network effect on the other group.”).



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and hosts through Airbnb. In other cases, the marketplaces focus on facilitating the resale of
goods, such as art auction houses like Christie’s and Sotheby’s, Poshmark, Depop, or eBay.
Those marketplaces are called resale, or secondary, marketplaces. A marketplace may cater to
both types of sellers.

         16.      Online marketplaces have grown as digital technology and procedures have made
it easier to facilitate transactions between sellers and buyers online.25 Examples of online resale
marketplaces for fashion and collectible items, in addition to StockX, include the online fashion
consignment platforms Depop, Vestiaire Collective, and thredUP; sneakers and apparel platform
GOAT; and the watch-selling platform Chrono24.

         17.      The value offered by online marketplaces as compared to offline alternatives they
replaced is evident in many contexts. Before the introduction of Airbnb and similar platforms, it
was difficult for guests to find short-term residential lodging at a particular destination without
pre-existing relationships or a knowledge of a local, short-term rental company. Consumers
without that knowledge or those relationships were limited to hotels which may have been too
expensive or fully booked. Symmetrically, it was difficult for property owners to offer a room,
apartment, or house for short-term stays. Transactions simply did not occur, and both guests and
property owners with idle homes were less well-off. Similarly, originally launched as an online
auction site, eBay helped people looking to trade collectibles find one another and agree on a
price through an electronic bidding process. Absent the website, collectors would have to incur
significant costs to transact; for instance, traveling to conventions to find fellow buyers and
sellers and transporting goods to and from such conventions. More recently, the online shopping
platform Poshmark emerged as an alternative to physical consignment stores, which are
generally space-constrained and can only serve buyers and sellers within a single geographic
area. By removing geographic barriers to trade, online marketplaces like eBay and Poshmark
help products reach consumers who value them most, making the platform valuable to buyers
and, in turn, more valuable to sellers.26

25
     Paul Belleflamme and Martin Peitz, The Economics of Platforms, Cambridge, UK, Cambridge University Press,
     2021, p. 11 (“The reason why platforms are so prevalent nowadays is that the Internet and digital technologies
     have dramatically reduced a number of transaction costs, thereby facilitating a wide array of interactions.”).
26
     Akshita Sharma et al., “Relationship between customer satisfaction and loyalty,” Social Science Research
     Network, 2020, p. 9 (“Once the customer is satisfied they would return for repeat future purchases and



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         B.        How StockX works and creates value

         18.       StockX is an online marketplace that makes it easier for buyers seeking to
purchase items such as sneakers, apparel, luxury handbags, and electronics, and sellers offering
these items to find each other and transact. Since its inception, StockX has been popular among
sneaker collectors who use the platform to acquire high-end sneakers that are otherwise difficult
to find or acquire.27

         19.       StockX’s business model is based on digital technologies and features to reduce
search, information, and transaction costs faced by both buyers and sellers. It was conceived by
its founders as “the stock market of things,”28 with a goal of bringing standardization and price
transparency to trading in the sneaker resale market.29 For example, as highlighted in its
marketing material, StockX consolidates all information and trading options for a given product
on a single product page, therefore reducing search costs for buyers relative to resale platforms
with seller-specific listings for the same product.30 The standardization also benefits sellers, who


     eventually become loyal, and a loyal customer will always spread positive word of mouth which leads to
     increase in both sales and profitability as loyal customer will bring new customers to the firm.”); Andreas
     Lendle, Marcelo Olarreaga, Simon Schropp, and Pierre-Louis Vézina, “There Goes Gravity: eBay and the
     Death of Distance,” The Economic Journal, Vol. 126, No. 591, 2016, pp. 406-441, pp. 432-433 (“[W]e estimate
     a distance effect on trade flows that is about 65% smaller on eBay [relative to total trade data collected from
     national customs offices] … this difference in distance effects is most-likely due to online technologies that
     reduce information frictions associated with geographic distance.”).
27
     Quartz, “StockX, a Sneaker Resale Site, Is Now Worth $3.8 Billion,” April 9, 2021,
     https://qz.com/1994596/stockx-a-sneaker-resale-site-is-now-worth-3-8-billion (“Today sneaker resale has
     exploded, in part due to the rise of shops and sites that have turned reselling limited-release sneakers into a large
     and lucrative business. The online leader in this category is StockX.”); Business Insider, “These Are The Most
     Popular Sneakers on Resale Sites - And How Much You Can Make For Each One,” August 13, 2021,
     https://www.businessinsider.com/stockx-most-popular-sneakers-resale-sites-price-value-data-2021-8
     (“Sneakerheads looking to score rare and exclusive heat turn to platforms like StockX which serves as a guiding
     light for original pricing, resale value, and price volatility.”).
28
     Jacob Gallagher, “This Website is the Stock Market for Nikes and Rolexes,” The Wall Street Journal,
     November 26, 2018, https://www.wsj.com/articles/this-website-is-the-stock-market-for-nikes-and-rolexes-
     1543251772.
29
     Jacob Gallagher, “This Website is the Stock Market for Nikes and Rolexes,” The Wall Street Journal,
     November 26, 2018, https://www.wsj.com/articles/this-website-is-the-stock-market-for-nikes-and-rolexes-
     1543251772 (“What really bugged [Luber] was the absence of price standardization … Mr. Luber envisioned a
     more orderly market, with a New York Stock Exchange-style ticker, that would make the value of a pair of
     sneakers transparent, in real time.”).
30
     StockX, “Buying,” https://stockx.com/about/buying ([audio] at 0:00 – 0:28 “Meet Andre. He really wants to cop
     a pair of one of his all-time favorite [sneakers] … Andre goes to StockX.com where he finds the one page for
     the [sneakers] he’s looking for. Not browsing through thousands of listings like you know who. Because



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do not need to spend time taking photos of the product and creating a customized listing.31
StockX also uses a bid or buy pricing mechanism in which sellers post asking prices and buyers
may submit bids or buy from the lowest asking price.32 Each product page also provides
historical price information for the product, which helps buyers not overpay and sellers not
undersell.33 These features, combined with StockX’s payment processing system allow buyers
and sellers to find one another, agree on a price, and complete transactions in a seamless fashion.

         20.      StockX also relies on various features and technologies to increase trust and
accountability between buyers and sellers on the platform. As described in Section V, these
features and technologies include the platform’s verification process and inclusion of detailed
pricing data on product pages. Together, these efforts have allowed StockX to overcome various
drawbacks of the offline resale of high-end products and collectibles, such as the distances in
time and space that make matching buyers and sellers more difficult.

         21.      Resale platforms such as StockX have been especially valuable for individuals
who collect and trade collectibles—such as sneakers—by increasing overall interest and
participation in the resale markets, including the rare sneaker market.34




     everything happens on this one page, Andre can quickly see the prices on every pair that’s ever been sold in
     every size in one convenient place.”).
31
     StockX, “Selling,” https://stockx.com/about/selling (“Just search for your product and set your price. You won’t
     need to take product pictures, share personal information, or negotiate with potential Buyers.”).
32
     StockX, “Buying,” https://stockx.com/about/buying (“Buy Now at the lowest Ask, or place a lower Bid at the
     price you want to pay. We will send you immediate updates as prices move on your Bids. Bids can be renewed
     or let go when they’re about to expire, and you’ll be notified ahead of time.”).
33
     Sneaker Jagers, “How StockX Became the Biggest Sneaker Marketplace,” September 30, 2021,
     https://www.sneakerjagers.com/en/n/how-stockx-became-the-biggest-sneaker-marketplace/27074 (“When
     buying a sneaker, you can get insight into the rises and falls of the prices. In this way, the company remains
     transparent about the prices and you get insight into the market value of your pair.”).
34
     Complex, “The Rise of the Reseller,” November 20, 2019, https://www.complex.com/sneakers/2019/11/rise-of-
     the-sneaker-reseller-in-the-2010s (“No one understands the Wall Street-like nature of the sneaker aftermarket
     better than Josh Luber … He estimates that about 20,000 transactions take place on StockX each day, with the
     bulk of those being sneakers. Power sellers using the platform earn upwards of six figures a year; a handful
     even hit the million-dollar mark.”); Jacob Gallagher, “This Website is the Stock Market for Nikes and Rolexes,”
     The Wall Street Journal, November 26, 2018, https://www.wsj.com/articles/this-website-is-the-stock-market-
     for-nikes-and-rolexes-1543251772.



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V.       RESALE MARKETPLACES AND THE NEED TO CREATE AND MAINTAIN
         TRUST

         22.      The success of resale marketplaces hinges on their ability to enable positive
interactions between buyers and sellers and establish trust between both groups. Resale
marketplaces that fail to cultivate positive interactions do so at the risk of their reputation and
viability as a business. StockX, like other similar platforms, has an incentive to ensure trust on its
platform, and would risk the success of its business if it did not take steps to prevent the sale of
counterfeit items


         A.       A primer on coring

         23.      Because marketplaces are in the business of facilitating transactions, a key to their
success is that the interactions that occur through them are positive for both buyers and sellers.
Interactions that are negative for either side deter users from joining or continuing to use the
platform.35 Marketplaces are therefore incentivized to facilitate and manage the interactions
between buyers and sellers—for instance, by reducing search, information, and transaction costs
and encouraging good behavior on the platform—to ensure that buyers and sellers continue to
use the platform. Platform economists use the term “coring” to refer to the ability of two-sided
platforms, in general, and marketplaces, in particular, to actively manage and maintain buyer and
seller interactions to ensure their quality.36

         24.      To facilitate positive interactions and support coring, platforms rely on
technology, processes, and policies aimed at improving quality and promoting trust in the
performance and security of the platform.37 Preventing or minimizing negative interactions in the


35
     Avi Goldfarb and Catherine Tucker, “Digital Economics,” Journal of Economic Literature, Vol. 57, No. 1,
     2019, pp. 3-43, p. 26 (“The failure of the reputation systems hurts the platform, rather than the individual
     seller.”).
36
     Catherine Tucker, “How Platforms Create Value Through Coring and Implications for Market Definition,” CPI
     Antitrust Chronicle, Vol. 2, No. 2, 2022, pp. 16-19, p. 17 (“Platforms enable multiple distinct groups of users to
     interact with one another, and platform economists refer to the practice of actively managing these interactions
     to ensure they go well as ‘coring.’”).
37
     Catherine Tucker, “How Platforms Create Value Through Coring and Implications for Market Definition,” CPI
     Antitrust Chronicle, Vol. 2, No. 2, 2022, pp. 16-19, p. 17 (“A platform acts as a ‘core’ for these interactions by
     adopting technology, policies, and procedures that facilitate the interaction taking place, build trust in the
     interactions, and provide incentives for interactions to stay on the platform. This often requires transaction



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short run increases user trust in the quality of interactions, and therefore helps platforms
maximize the number of interactions in the long run, a necessary condition to their success.
Examples of coring activities commonly used by platforms to improve and build user trust
include screening protocols, such as background checks and identity verifications for users, and
rating systems, which help users find high-quality matches while simultaneously incentivizing
good behaviors. Platforms also may have mechanisms for users to report poor experiences on the
platform or procedures to remove or restrict users who undermine the quality of interactions on
the platform. Finally, some platforms offer dispute resolution services and protections for users,
such as insurance.38


         B.       Trust in online and resale marketplaces

                  1.        Marketplaces that fail to establish or that lose trust risk their reputation
                            and the viability of their platform

         25.      In an online marketplace, buyers and sellers that match on the platform typically
do not know one another, may be entirely anonymous, and often have no means of inspecting the
product they want to buy before the purchase. Both sides possess private information, such as the
seller’s knowledge of the quality of the good or service sold and the buyer’s perception of that
quality and their willingness to pay.39 This informational asymmetry can make transactions risky.
Buyers may be uncertain that they will receive their purchase and that it will be of the expected
quality, while sellers may worry that they will not receive their payments on time or that they
will have to deal with dishonest and difficult buyers. For instance, on platforms like eBay that do
not make any effort to verify what the seller is sending to the buyer, buyers can be scammed by



     platforms to establish governance mechanisms based on observable transactions that ensure successful
     interactions.”).
38
     See, for example, Airbnb, “Host Liability Insurance,” https://www.airbnb.com/help/article/937.
39
     Paul Belleflamme and Martin Peitz, The Economics of Platforms, Cambridge, UK, Cambridge University Press,
     2021, pp. 124-125, p. 125 (“[A]symmetric information problems are common on platforms. It is indeed rare that
     users know one another before interacting on a platform. As a result, users may ignore many important aspects
     of their potential counterparts that are relevant for their valuation of the platform: What is their willingness to
     participate to the interaction? How will they behave during the interaction? Will they respect the terms of the
     transactions? And so on. These problems are particularly prominent on platforms that facilitate the trade of
     goods, as buyers typically have less information than sellers about the quality of the goods or services offered
     for sale (either because this information is hidden or because it is costly to search).”).



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fraudsters selling empty boxes of PlayStation consoles.40 Like other resale marketplaces, buyers
on online resale marketplaces also face the risk of buying counterfeit or defective items, since
they are not buying directly from the manufacturer or an authorized retailer.

         26.      If buyers and sellers stop trusting the platform, economic theory predicts that the
marketplace can quickly unravel. Buyers, factoring in the uncertainty about the authenticity and
quality of the purchase, will opt to pay less, while sellers of genuine items will leave the platform
because they could not achieve a satisfactory price on the platform.41 Sellers may also leave after
being scammed by buyers. This idea is expressed in The Economics of Platforms as follows:

                  [T]ransactions will take place on the platform only if users
                  sufficiently trust one another. Otherwise, users will form
                  pessimistic expectations about the participation of other users and
                  it is then very likely that no users will actually participate …42

Marketplace unraveling due to a lack or loss of trust is exacerbated in the context of platforms, as
network effects may accelerate the process in which buyers and sellers exit the platform in
response to reputational loss.43 Consider, as an illustrative example, an event that raises doubt
over whether sellers on a platform can be trustworthy; for instance, a popular seller is exposed
for selling counterfeit goods. Upon learning of this new information, many customers may stop
trusting the platform and stop shopping on the platform, for fear that the goods sold by remaining
sellers may also be counterfeits. As a result, remaining sellers will suffer a reputational
externality, reducing their incentives to remain on the platform, and prospective sellers will be


40
     The Register, “Empty Playstation Box Sold for $425,” February 2, 2001,
     https://www.theregister.com/2001/02/02/empty_playstation_box_sold (“Bidding started at $9.99 for the item,
     described as a ‘PlayStation 2 Original Box And Receipt’, on December 27. Over the three day online auction
     the gaming collectables, item number 1204183251, received 39 bids. They were eventually snapped up by
     ‘arturofuente 13’ for the bargain price of $425 … Tucked away in the comments on the Seller’s Feedback
     Profile she has written ‘Complaint: Buyer Beware!!! Misleading information about item. Paid $425 for an
     empty box!’ To which the seller responded: ‘I sent what was promised in the auction. I do not rip people off.
     She’s a liar.’”).
41
     George Akerlof, “The Market for ‘Lemons’: Quality Uncertainty and the Market Mechanism,” The Quarterly
     Journal of Economics, Vol. 84, No. 3, 1970, pp. 488-500.
42
     Paul Belleflamme and Martin Peitz, The Economics of Platforms, Cambridge, UK, Cambridge University Press,
     2021, pp. 124-125.
43
     Catherine Tucker, “How Platforms Create Value Through Coring and Implications for Market Definition,” CPI
     Antitrust Chronicle, Vol. 2, No. 2, 2022, pp. 16-19, p. 18 (“Diminished trust will erode the number of
     interactions on the platform as well as the number of sellers and buyers. This will in turn erode indirect network
     effects and leave the platform at a disadvantage relative to other, better-managed platform competitors.”).



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dissuaded from joining. In particular, even “one poor outcome may cause a buyer to update
[their] beliefs about the quality of all sellers on the platform, resulting in a reputational
externality across sellers.”44

         27.      Empirical studies confirm that lack or loss of trust can threaten platform success
and, in some cases, cause complete unraveling. An empirical study of struggling or failed
platforms cited the “failure to develop trust with users and partners” as one of the major mistakes
made by platforms.45 Platform economists therefore regard trust as a “vital building block” of
platforms, noting that “a platform’s foremost responsibility is to establish a climate of trust
among its participants.”46 Trust is necessary for a platform to retain its users and is key to ensure
the long-term success of the platform.47

         28.      Craigslist is an example of an online platform whose trust issues have hindered its
ability to grow. Craigslist uses few, if any, of the coring activities commonly used by the
platforms described in Section V.A. The platform has no screening protocols or rating systems,
and only provides external resources for consumers looking to avoid or report scams. It provides
no recourse for users that fall victim to fraud or scams; rather, it directs them to file complaints
through external organizations, such as the FTC.48 The platform’s lack of trust-related
infrastructure has led to numerous news stories detailing instances of scams and quality issues,




44
     Chris Nosko and Steven Tadelis, “The Limits of Reputation in Platform Markets: An Empirical Analysis and
     Field Experiment,” NBER Working Paper 20830, 2015, pp. 1-36, p. 1 (“[D]ecentralized sellers in platform
     markets do not internalize the impact of their actions on the marketplace as a whole. In particular, one poor
     outcome may cause a buyer to update his beliefs about the quality of all sellers on the platform, resulting in a
     reputational externality across sellers.”).
45
     David B. Yoffie, Annabelle Gawer, and Michael A. Cusumano, “A Study of More Than 250 Platforms Reveals
     Why Most Fail,” May 29, 2019, https://hbr.org/2019/05/a-study-of-more-than-250-platforms-reveals-why-most-
     fail.
46
     Paul Belleflamme and Nicolas Neysen, Platform Strategies: A Guidebook for Entrepreneurs in the Platform
     Economy, London, Routledge, 2023, p. 200.
47
     Paul Belleflamme and Nicolas Neysen, Platform Strategies: A Guidebook for Entrepreneurs in the Platform
     Economy, London, Routledge, 2023, pp. 199-200 (“You may be tempted to sit back and let positive feedback
     loops work their ‘snowballing magic’ for you. But – sorry to break the bad news – it is way too early to rest on
     your laurels …. Your next challenge is thus to consolidate your platform by retaining your users. This is key to
     ensuring the success of your platform in the long run ….”).
48
     Craigslist, “Avoiding Scams,” https://www.craigslist.org/about/scams.



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sometimes resulting in real harm to users.49 For instance, a person selling Air Jordans was
pepper-sprayed and robbed by potential buyers met on Craigslist,50 and another had their $350
Nike sneakers stolen after a buyer met on Craigslist threatened them with gun violence during
the exchange.51 These issues have inhibited the platform’s ability to maximize its potential to
serve its users successfully.

         29.      The failure of eBay in China provides another example of the consequences of
coring failures. When it entered the Chinese ecommerce market in the early 2000s, eBay
benefited from a first-mover advantage and was dominant. However, it relied on PayPal to
process payments at the point of purchase, immediately transferring funds from buyer to seller.
Alibaba later entered the market with a payment model whereby seller payment was contingent


49
     Ellen Airhart, “Why cashier’s checks are part of so many online scams,” Vox, August 19, 2019,
     https://www.vox.com/the-goods/2019/8/19/20808526/cashiers-checks-online-scams (“‘I think cashier’s checks
     are being used in a growing number of schemes,’ says Tejasvi Srimushnam, staff attorney for the Federal Trade
     Commission’s Bureau of Consumer Protection. These scams are common on Craigslist and other online
     marketplaces, and the number of fake check complaints to the FTC and the Internet Fraud Complaint Center
     doubled between 2014 and 2017 from 12,781 to 29,513, according to a report by the Better Business Bureau.”);
     Patch, “Bellevue Police Warn of Craigslist Moving Company Scam,” March 30, 2022,
     https://patch.com/washington/bellevue/bellevue-police-warn-craigslist-moving-company-scam (“Bellevue
     police are warning of a scam targeting residents who seek out moving services on Craigslist. The police
     department said the latest scam has been reported around the Puget Sound area, with the culprits posing as a
     reputable moving company, complete with a business license, address and phone number. However, once the
     ‘movers’ arrive and load up the truck with valuables, police said they demand victims pay a ransom to return
     the items, quoting a price four to five times higher than the agreed-upon cost. In one such case, Bellevue
     investigators said a victim refused to pay and the scammers left with an estimated $40,000 worth of
     belongings.”).
50
     Burbank Leader, “Craigslist Seller Robbed by Would-be Buyers in Burbank,” January 22, 2014,
     https://www.latimes.com/socal/burbank-leader/the818now/tn-blr-me-craigslist-seller-robbed-by-wouldbe-
     buyers-in-burbank-20140122-story.html (“When the victim opened his trunk to retrieve the Air Jordans, one
     suspect pepper-sprayed him in the face, while the other grabbed the show box. The pair struggled over the box,
     until the victim, who was having trouble seeing, let go[.]”).
51
     KIRO7, “Craigslist Sneaker Sale Leads to Robbery at Northgate,” August 20, 2013,
     https://www.kiro7.com/news/craigslist-sneaker-sale-leads-robbery-northgate/246518365 (“Hong ran after the
     man who had grabbed his shoes, but backed-off immediately when, according to police documents, the suspect
     said he ‘had a gun and will shoot him if he follows.’ Hong immediately called the Seattle police and a case was
     opened. Even though he’s sold at least 10 pairs of sneakers on Craigslist, Hong probably won’t do it again.”).
     See also CNN, “Craigslist Case: Teen Robbery Suspect Run Over, Loses Arm,” February 13, 2016,
     https://www.cnn.com/2016/02/13/us/new-york-craigslist-robbery/index.html; ABC30, “$6,000 Pharrell x
     Adidas Sneakers Stolen From Irvine Man who Listed Them on Craigslist,” November 18, 2017,
     https://abc30.com/pharrell-adidas-you-nerd-sneakers-stolen-irvine-shoes/2667604 (“A search is on for two
     thieves who stole a pair of limited edition Adidas sneakers worth $6,000 from an Irvine man who was trying to
     sell them on Craigslist … the victim and the suspect met on Tuesday at the Irvine Market … When the victim
     entered the backseat of the suspect’s white BMW 3 Series, he was met by a second suspect, who produced a
     black semi-automatic handgun and pointed it at him. Investigators said the victim was ordered to get out of the
     car – and to leave the shoes behind. The suspects took off with the shoes as well as the victim’s cellphone.”).



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on buyer satisfaction. This model was perceived as more trustworthy by Chinese consumers,
many of whom promptly switched over to the new platform.52 Ultimately, eBay did not survive
competition from Alibaba due to these trust issues and exited the market in 2006.53

         30.      Coring failures also contributed to the downfalls of Friendster and Myspace, two
early social media platforms. Friendster was launched in 2002 as a platform to introduce friends-
of-friends for dating purposes and quickly amassed 300,000 users.54 However, the platform
failed due, in part, to changes to site features and functionality which, “signaled to some that the
company did not share users’ interests” and created a “rupture of trust between users and the
site.”55 When Myspace launched in 2003, it offered users greater autonomy and flexibility in


52
     David B. Yoffie, Annabelle Gawer, and Michael A. Cusumano, “A Study of More Than 250 Platforms Reveals
     Why Most Fail,” Harvard Business Review, May 29, 2019, https://hbr.org/2019/05/a-study-of-more-than-250-
     platforms-reveals-why-most-fail (“One of the biggest failures in this category was eBay in China. eBay was the
     first mover, with a dominant share in China in the early 2000s. But Alibaba took over the market. The biggest
     source of the failure, confided the CEO of eBay China in an interview, was that ‘eBay’s single biggest
     problem… was trust.’ eBay relied on PayPal, which was designed as a payment system, much like a bank. For
     Chinese consumers unfamiliar with ecommerce, that was not enough. Alibaba’s Alipay used an escrow model
     (which did not release payment until the consumer was satisfied). This neutralized eBay’s early mover
     advantage, and Alibaba quickly captured the bulk of the market.”).
53
     Helen Wang, “How EBay Failed in China,” Forbes, September 12, 2010,
     https://www.forbes.com/sites/china/2010/09/12/how-ebay-failed-in-china (“By March 2006, [Alibaba’s]
     Taobao had outpaced eBay EachNet and became the leader in China’s consumer-to-consumer (C2C) market,
     with 67 percent market share in terms of users, while eBay EachNet had only 29 percent market share. ‘The
     competition is over,’ Ma exclaimed. ‘It’s time to claim the battlefield.’ On December 20, 2006, Meg Whitman,
     eBay’s then CEO, flew to Shanghai to take part in a press conference to announce a new joint venture … It was,
     in reality, a formal announcement of eBay’s withdrawal from the online auction market in China.”).
54
     danah boyd and Nicole Ellison, “Social Network Sites: Definition, History, and Scholarship,” Journal of
     Computer-Mediated Communication, Vol. 13, No. 1, 2008, pp. 210-230, p. 215 (“Friendster launched in 2002
     as a social complement to Ryze … While most dating sites focused on introducing people to strangers with
     similar interests, Friendster was designed to help friends-of-friends meet, based on the assumption that friends-
     of-friends would make better romantic partners than would strangers (J. Abrams, personal communication,
     March 27, 2003). Friendster gained traction among three groups of early adopters who shaped the site—
     bloggers, attendees of the Burning Man arts festival, and gay men (boyd, 2004)—and grew to 300,000 users
     through word of mouth before traditional press coverage began in May 2003 (O’Shea, 2003).”).
55
     danah boyd and Nicole Ellison, “Social Network Sites: Definition, History, and Scholarship,” Journal of
     Computer-Mediated Communication, Vol. 13, No. 1, 2008, pp. 210-230, p. 215 (“As Friendster’s popularity
     surged, the site encountered technical and social difficulties (boyd, 2006b). Friendster’s servers and databases
     were ill-equipped to handle its rapid growth, and the site faltered regularly, frustrating users who replaced email
     with Friendster”), p. 216 (“The initial design of Friendster restricted users from viewing profiles of people who
     were more than four degrees away (friends-of-friends-of-friends-of-friends). In order to view additional
     profiles, users began adding acquaintances and interesting-looking strangers to expand their reach. Some began
     massively collecting Friends, an activity that was implicitly encouraged through a ‘most popular’ feature. The
     ultimate collectors were fake profiles representing iconic fictional characters: celebrities, concepts, and other
     such entities. These ‘Fakesters’ outraged the company, who banished fake profiles and eliminated the ‘most
     popular’ feature (boyd, in press-b). While few people actually created Fakesters, many more enjoyed surfing



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designing their profiles, attracting former users of Friendster and a new, younger demographic
that had never used Friendster.56 However, Myspace’s laissez-faire environment was associated
with safety issues,57 and Facebook took over as the most popular social networking platform in
2008.58 Facebook’s success has been credited to better coring practices, particularly in its early
years:

                  Facebook started as a Harvard-only network, then expanded
                  gradually, in stages, to other universities, high-schools, and
                  corporate users, requiring a verified email address. This—and its
                  clean and non-customizable design—allowed it to establish a
                  reputation as a “safe space,” in contrast to MySpace.59

         31.      More recently, the “Blue Check Confusion” that arose when Twitter made
changes to its account verification process provides an example of how coring affects platform
users.60 Back in 2009, Twitter launched its verified badge system, the blue check mark, to limit


     Fakesters for entertainment or using functional Fakesters (e.g., ‘Brown University’) to find people they knew.
     The active deletion of Fakesters (and genuine users who chose non-realistic photos) signaled to some that the
     company did not share users’ interests. Many early adopters left because of the combination of technical
     difficulties, social collisions, and a rupture of trust between users and the site (boyd, 2006b).”); Productmint,
     “What Happened to Friendster? 4 Reasons Why it Failed,” https://productmint.com/what-happened-to-
     friendster (“Friendster failed because of site performance issues, rising competition, executive turnover, and due
     to extensive content moderation.”).
56
     danah boyd and Nicole Ellison, “Social Network Sites: Definition, History, and Scholarship,” Journal of
     Computer-Mediated Communication, Vol. 13, No. 1, 2008, pp. 210-230, p. 217 (“MySpace was able to grow
     rapidly by capitalizing on Friendster’s alienation of its early adopters … Teenagers began joining MySpace en
     masse in 2004. Unlike older users, most teens were never on Friendster—some joined because they wanted to
     connect with their favorite bands; others were introduced to the site through older family members.”).
57
     danah boyd and Nicole Ellison, “Social Network Sites: Definition, History, and Scholarship,” Journal of
     Computer-Mediated Communication, Vol. 13, No. 1, 2008, pp. 210-230, p. 217 (“[After July 2005], safety
     issues plagued MySpace. The site was implicated in a series of sexual interactions between adults and minors,
     prompting legal action (Consumer Affairs, 2006). A moral panic concerning sexual predators quickly spread
     (Bahney, 2006), although research suggests that the concerns were exaggerated.”).
58
     Gil Press, “Why Facebook Triumphed Over All Other Social Networks,” Forbes, April 8, 2018,
     https://www.forbes.com/sites/gilpress/2018/04/08/why-facebook-triumphed-over-all-other-social-networks (“In
     April 2008, MySpace was overtaken by Facebook in terms of the number of unique worldwide visitors, and in
     May 2009, in the number of unique U.S. visitors. Why did Facebook become the largest and most dominant
     player in the social networking market?”).
59
     Gil Press, “Why Facebook Triumphed Over All Other Social Networks,” Forbes, April 8, 2018,
     https://www.forbes.com/sites/gilpress/2018/04/08/why-facebook-triumphed-over-all-other-social-networks.
60
     Rachel Lerman and Faiz Siddiqui, “Twitter‘s Blue Check Mark was Loved and Loathed. Now it’s Pay for
     Play,” The Washington Post, March 31, 2023, https://www.washingtonpost.com/technology/2023/03/31/twitter-
     verification-checkmark-ending (“Twitter has been in a state of upheaval since Musk, who is also the CEO of
     Tesla and SpaceX, purchased the site he uses to communicate with his roughly 133 million followers on the



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accounts impersonating celebrities, among others. Twitter would verify the identity of the
account user before giving them a badge, meaning that Twitter users could trust that Twitter had
taken steps to ensure it considered the account to be legitimate.61 In 2022, Twitter made the
check mark subject to a monthly fee, and gave the badge to anyone willing to pay the fee without
verifying their identity. As a result, accounts were set up that attempted to impersonate others,
leading to the rollback of the program.62 In December 2022, Twitter relaunched its paid
verification program, with the additional requirement for users to register a phone number with
Twitter to combat impersonations.63 Until recently, paid verification existed alongside legacy
blue check marks; that is, accounts that received a blue check for achieving a certain notoriety on
the platform. However, in April 2023, Twitter began removing legacy check marks, affecting
celebrities, politicians, news platforms, and other high-profile users.64 Immediately, news outlets
reported on “Twitter descend[ing] into chaos as news outlets and brands lose verification,” and
“concerns that Twitter could lose its status as a platform for getting accurate, up-to-date
information from authentic sources” as the verification check “lost all meaning.”65


     site. The self-described ‘free speech absolutist’ has said he wants to promote ‘free speech’ and further Twitter’s
     role as a public town square.”); Madison Malone Kircher, “Blue Check Confusion,” The New York Times, April
     30, 2023, https://www.nytimes.com/2023/04/30/briefing/twitter.html (“Twitter’s check mark system wasn’t
     perfect, but it did make it easier for users to figure out if tweets were coming from a real person or organization
     … Now users will have to work harder to make sure people are who they purport to be. I can attest that it’s
     harder than it sounds.”).
61
     Emma Bowman and Raquel Maria Dillon, “Twitter Begins Advertising a Paid Verification Plan for $8 per
     Month,” NPR, November 6, 2022, https://www.npr.org/2022/11/05/1134561542/twitter-blue-check-paid-
     verification-elon-musk (“Since 2009, blue-checked accounts had been distributed to users through a verification
     process as a way to separate authentic accounts from impersonators.”).
62
     NBC News, “Twitter Pulls Paid Verification After Impersonators Flourish,” November 11, 2022,
     https://www nbcnews.com/tech/crypto/twitters-subscription-service-not-available-impersonators-flourish-
     rcna56730 (“Twitter has suspended sign-ups for its Blue subscription service after the initial rollout was marred
     by users who received a paid verification badge and then impersonated celebrities, politicians, and brands.”).
63
     Siladitya Ray, “Twitter Blue Subscription Service Relaunches Monday – Here’s Everything You Need to
     Know,” Forbes, December 11, 2022, https://www.forbes.com/sites/siladityaray/2022/12/11/twitter-blue-finally-
     relaunches-on-monday-here-is-everything-you-need-to-know (“Subscribers will need to register their phone
     number with Twitter in order to receive a blue verified badge, part of an effort to combat impersonator accounts
     that plagued the original rollout of Twitter Blue.”).
64
     CBS News, “Twitter Starts Removing Blue Check Marks From Users who Don’t Pay,” April 20, 2023,
     https://www.cbsnews.com/news/twitter-blue-check-mark-removes-from-users-who-dont-pay (“Twitter had
     about 300,000 verified users under the original blue-check system – many of them journalists, athletes, and
     public figures. The checks began disappearing from these users’ profiles late morning Pacific Time.”).
65
     CNN, “Twitter Descends into Chaos as News Outlets and Brands Lose Verification,” April 21, 2023,
     https://www.cnn.com/2023/04/21/tech/twitter-verification-chaos/index.html (“Twitter users awoke Friday



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         32.      These examples underscore that StockX, like other similar platforms, has an
incentive to ensure trust on its platform. StockX would risk the success of its business if it
meaningfully tolerated sale of counterfeit items, which could lead to an erosion of trust on its
platform.


                  2. Successful marketplaces invest considerable resources in building and
                     maintaining trust

         33.      Building and maintaining trust is, and has been, important for the success of many
marketplaces, and successful marketplaces devote considerable resources to coring. To stay
effective, coring efforts may evolve over time as platforms learn about what strategies are most
effective and also as new technologies emerge, which can aid these efforts. Coring efforts are a
key way that firms compete in a competitive environment.66 As illustrated by the following
examples, specific policies and procedures used to build trust vary across marketplaces,
depending on the marketplace characteristics and associated challenges, and evolve.


                           a.       Christie’s and Sotheby’s

         34.      Two examples of successful marketplaces that devote resources to coring are
Christie’s and Sotheby’s, leading auction houses founded in the 18th century that sell art, luxury



     morning to even more chaos on the platform than they had become accustomed to in recent months under CEO
     Elon Musk after a wide-ranging rollback of blue check marks from celebrities, journalists and government
     agencies. The end of traditional verification marked the beginning of a radically different information regime on
     Twitter, one highlighted by almost immediate impersonations of government accounts; the removal of labels
     previously used to identify Chinese and Russian propaganda; and a scramble by the company to individually re-
     verify certain high-profile figures such as Pope Francis.”); Kari Paul, “Fake Accounts, Chaos and Few Sign-
     Ups: the First Day of Twitter Blue was Messy,” The Guardian, April 22, 2023,
     https://www.theguardian.com/technology/2023/apr/21/elon-musk-twitter-blue-rollout, (“The change has shifted
     the meaning of the check from an account that has been independently verified to one that paid a premium to
     help their tweets be seen by more people. … Many took advantage of the new verification-free world on Twitter
     by changing their profile pictures and names to impersonate prominent figures, from Amazon CEO Jeff Bezos
     to the late Arizona Senator, John McCain. Others made prank tweets posing as legitimate news accounts to
     spread misinformation making fun of Musk. The ability to pose as legitimate organizations and figures raised
     concerns that Twitter could lose its status as a platform for getting accurate, up-to-date information from
     authentic sources, including in emergencies.”).
66
     Catherine Tucker, “How Platforms Create Value Through Coring and Implications for Market Definition,” CPI
     Antitrust Chronicle, Vol. 2, No. 2, 2022, pp. 16-19, p. 18 (“Coring needs evolve as platforms compete, learn
     about what works, observe their competitors, and monitor evolving interactions on their platform. Continuous
     coring is particularly critical when a platform is facing competition.”).



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items, and collectibles such as sneakers in live auctions and online.67 Both auction houses invest
in rigorous screening protocols to maximize the chances of identifying counterfeit items. They
rely on a team of in-house specialists tasked with authenticating items and offer multi-year
warranties to further assuage concerns about authenticity.68 Sotheby’s also has invested in
authentication technology to detect high-level art forgeries. In 2016, it acquired Orion
Analytical—a materials analysis firm specializing in the identification of forged artwork based
on scientific techniques such as analytical chemistry, among others—and appointed its founder
to lead a new Department of Science Research.69 While these efforts are costly and sometimes

67
     Christie’s, “About Us,” https://www.christies.com/about-us/welcome-to-christies#About-UsAbout-Us
     (“Founded in 1766, Christie’s is a world-leading art and luxury business. Renowned and trusted for its expert
     live and online auctions, as well as its bespoke private sales, Christie’s offers a full portfolio of global services
     to its clients, including art appraisal, art financing, international real estate and education.”); Sotheby’s, “The
     History of Sotheby’s Auction House,” https://www.sothebys.com/en/about/our-history (“Founded in 1744,
     Sotheby’s is the oldest and largest internationally recognized firm of fine art auctioneers in the world.”);
     Christie’s, “Handbags x HYPE: The Luxury Remix,” November 22, 2021, https://www.christies.com/about-
     us/press-archive/details?PressReleaseID=10304&lid=1 (“Christie’s New York presents Handbags x HYPE: The
     Luxury Remix, a curated auction that reformulates our understanding of luxury today. … Leading the sale, we
     are proud to offer one of the most collectible pair of sneakers to ever come to market: a pair of game-worn and
     dual signed Air Jordan XIIIs ($300,000-500,000), from Michael Jordan’s last regular season game of the
     Chicago Bull’s championship season.”); Sotheby’s, “The Dynasty Collection: The Complete Set of Michael
     Jordan’s ‘Air Jordan’ Six Championship Sneakers,” February 27, 2023,
     https://www.sothebys.com/en/articles/the-dynasty-collection-the-complete-set-of-michael-jordans-air-jordan-
     six-championship-sneakers (“Sotheby’s is proud to present The Dynasty Collection, a set of 6 individual Air
     Jordan sneakers – each one worn by Michael Jordan in the clinching games of his 6 career NBA
     championships.”).
68
     Christie’s, “Buying at Christie’s,” https://www.christies.com/buying-services/buying-guide (“Every item we
     sell is meticulously researched by our world-class specialists, so when the sale approaches, you can bid
     confidently … Our specialists evaluate each item to ensure objects purchased through Christie’s are
     authentic.”); Christie’s, “Terms & Conditions,” https://onlineonly.christies.com/terms-and-conditions/39
     (“Subject to the terms and conditions of this paragraph, Christie’s warrants for a period of five years from the
     date of the auction that any property described in headings printed in UPPER CASE TYPE (i.e. headings
     having all capital-letter type) in the lot description (as such description may be amended by any saleroom notice
     or announcement) which is stated without qualification to be the work of a named author or authorship, is
     authentic and not a forgery.”); Sotheby’s, “Why buy with Sotheby’s,” September 29, 2022,
     https://help.sothebys.com/en/support/solutions/articles/44002297454-why-buy-with-sotheby-s- (“Our reputation
     for trust and authenticity is backed by our unparalleled global network of specialists spanning 40 countries and
     44 departments.”); Sotheby’s, “Conditions of business for buyers for New York sales,” March, 2023,
     https://www.sothebys.com/en/docs/pdf/conditions-of-business-for-buyers-for-new-york-sales-372023.pdf (“We,
     as principal, provide an Authenticity Guarantee to the Buyer, subject to the following terms and conditions, that
     the Lot is not a ‘counterfeit.’”).
69
     CB Insights, “Orion Analytical,” https://www.cbinsights.com/company/orion-analytical (“Orion Analytical is a
     materials analysis and consulting firm that analyzes the chemical and structural composition of disputed
     artworks for clients around the world, including private collectors, museums, galleries, and the FBI.”); The
     Analytical Scientist, “Bringing Light to the Darkness,” August 11, 2017,
     https://theanalyticalscientist.com/techniques-tools/bringing-light-to-the-darkness (“This systematic use of
     particle, elemental, and molecular analyses provides information on different physical, optical, and chemical



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imperfect, they nonetheless contribute to the auction houses’ trustworthy reputations and help
buyers to feel confident spending millions of dollars for coveted art and luxury items.70 The two
auction houses occupy the top spots in multiple rankings of art auction houses worldwide, and, in
2022, brought in sales of $8 billion each, over 4 times the sales of their largest competitor.71


                           b.       eBay

         35.      Another example is eBay, which has invested in, and iterated on, several trust-
building measures throughout its history. One such measure is the platform’s rating system.
Rating systems can be useful in online marketplaces, as they allow users to draw on the
collective experience of others in making judgments about a particular user rather than rely on




     features of materials. Used in combination, these analyses allow [Orion] to identify hundreds of thousands of
     materials, from an ancient pigment or alloy, to natural fibers, to modern synthetic polymers.”); Sotheby’s, “A
     Year of Scientific Research at Sotheby’s,” December 4, 2017, https://www.sothebys.com/en/articles/a-year-of-
     scientific-research-at-sothebys (“One year ago, Sotheby’s acquired Orion Analytical, the leading materials
     analysis and consulting firm in the art world, and hired its founder, Jamie Martin, to establish a Department of
     Scientific Research.”).
70
     Dalya Alberge, “Christie’s Caught up as £30m Forgeries Send Shock Waves Through the Art World,” The
     Guardian, October 16, 2010, https://www.theguardian.com/artanddesign/2010/oct/17/christies-forger-art-scam;
     Tom Sykes, “How Sotheby’s Got Hoodwinked: The Art World’s $20m Forgery Scandal,” The Daily Beast,
     April 13, 2017, https://www.thedailybeast.com/how-sothebys-got-hoodwinked-the-art-worlds-dollar20m-
     forgery-scandal (“Sotheby’s, one of the two grand old firms of the global art world, and a key presence at
     Frieze, was forced into a humiliating admission that it is at the center of a multimillion-pound forgery scandal,
     involving what could be tens of millions of dollars worth of bogus Old Master paintings.”); Artistcloseup.com,
     “The Top 5 Art Auction Houses: A Guide to the World’s Most Prestigious Auctions,” March 1, 2023,
     https://www.artistcloseup.com/blog/the-top-5-art-auction-houses (“[Christie’s] has a reputation for selling the
     most valuable and prestigious artworks, including the recent sale of the Leonardo da Vinci painting, Salvator
     Mundi, for a record-breaking $450 million … [Sotheby’s] has a reputation for high-end sales, such as the recent
     auction of the 1933 Saint Gaudens Double Eagle coin for $18.9 million.”).
71
     Artistcloseup.com, “The Top 5 Art Auction Houses: A Guide to the World’s Most Prestigious Auctions,”
     March 1, 2023, https://www.artistcloseup.com/blog/the-top-5-art-auction-houses (“There are numerous art
     auction houses across the globe, but the top 5 are Christie’s, Sotheby’s, Phillips, Bonhams, and Heritage
     Auctions.”); The Collector, “Top 5 Auction Houses in the World,” August 8, 2019,
     https://www.thecollector.com/top-5-auction-houses-in-the-world; Robb Report, “The Big 3 Auction Houses
     Brought in Nearly $18 Billion in Sales This Year,” December 27, 2022,
     https://robbreport.com/lifestyle/news/auction-houses-2022-sales-1234789287 (“In 2022, Christie’s brought in
     $8.4 billion in sales, while Sotheby’s reached $8 billion and Phillips made $1.3 billion.”); Statista, “Leading
     Auction Houses Worldwide in 2022, by Sales Value,” https://www.statista.com/statistics/1285570/leading-
     auction-houses-worldwide-by-sales-value (“That year, the company’s total sales from public and private
     channels amounted to roughly 8.4 billion U.S. dollars. Sotheby’s had the second-highest sales value that year, at
     around eight billion U.S. dollars. Other major auction houses, such as Heritage Auctions, Phillips, and
     Bonhams, reported less than 1.5 billion U.S. dollars in sales in 2022.”).



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their own, more limited, experience alone.72 Shortly after launching in 1995, eBay introduced a
rating system, which allowed users to provide feedback on any user regardless of whether they
had sold or purchased from each other.73 Since then, the platform has made improvements to its
rating system to address issues related to unfair bias in feedback and retaliation against buyers
leaving negative reviews. In 2000, eBay switched to a transaction-based feedback model and, in
2007, eBay introduced anonymous “Detailed Seller Ratings”—which are published only in
aggregate form—to accompany classic and identifiable ratings for sellers.74 Today, users of the
platform have feedback profiles, which include an overall feedback score, the share of the user’s
ratings that are positive, and recent written feedback.75 In addition to leaving feedback, users also
have the option to report especially poor behavior through a separate reporting system.76 Sellers
who fail to meet minimum performance standards risk limitations and, in extreme cases, bans on




72
     Paul Belleflamme and Martin Peitz, The Economics of Platforms, Cambridge, UK, Cambridge University Press,
     2021, p. 48 (“The key issue here is trust: Should buyers trust the quality claims that sellers make about their
     products and services on offer? In a bilateral relationship between buyers and sellers, such trust problems can be
     solved through repeated interaction. But in anonymous markets, alternative solutions need to be found. Rating
     and review systems (or “reputation systems”) provide such an alternative: They serve as a substitute for
     personal experience by letting individual buyers draw on the collective experience of other buyers.”).
73
     Tobias J. Klein, Christian Lambertz, and Konrad O. Stahl, “Market Transparency, Adverse Selection, and
     Moral Hazard,” Journal of Political Economy, Vol. 124, No. 6, 2016, pp. 1677-1713, p. 1681 (“In February
     1996, just a few months after the first auction had taken place on its website, eBay introduced its feedback
     mechanism. In its earliest form, the system allowed any eBay user to leave feedback on the performance of any
     other user independently of any transaction, in the form of a ‘positive,’ ‘neutral,’ or ‘negative’ rating, possibly
     accompanied by a textual comment. This feedback was immediately observable on his or her feedback profile
     page, together with all ratings and comments that a user had ever received by other users.”).
74
     Tobias J. Klein, Christian Lambertz, and Konrad O. Stahl, “Market Transparency, Adverse Selection, and
     Moral Hazard,” Journal of Political Economy, Vol. 124, No. 6, 2016, pp. 1677-1713, pp. 1681-1682 (“In May
     2007, eBay introduced a new form of unilateral buyer ratings: detailed seller ratings (DSRs). In addition to the
     original bilateral rating, buyers could now separately rate, with one to five stars, the accuracy of the item
     description, communication, shipping speed, and shipping charges. They are made anonymous by being
     published in aggregate form only, provided that at least 10 ratings have been left in the last 12 months, so that
     the seller cannot identify the individual rating.”).
75
     eBay, “Feedback profiles,” https://www.ebay.com/help/account/changing-account-settings/feedback-
     profiles?id=4204 (“On the feedback profile page, you’ll see a member’s: Overall feedback score[;] Percentage
     of positive ratings[;] Recently received feedback[;] Detailed seller ratings[;] eBay registration date.”).
76
     eBay, “Report an Issue With a Buyer,” https://www.ebay.com/help/selling/resolving-buyer-issues/reporting-
     issue-buyer?id=4084 (“If you’re having a problem with a buyer because they’re not following our rules, let us
     know and we’ll look into it.”); eBay, “Report an Issue With a Seller,”
     https://www.ebay.com/help/buying/resolving-issues-sellers/reporting-item-issue-seller?id=4022 (“If you have a
     problem with a seller because they’re not following our policies, let us know and we’ll look into it.”).



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their activity.77 Similarly, buyers engaged in misconduct may be banned by individual sellers or
suspended from eBay as part of eBay’s “Abusive Buyer Policy.”78 As described on its website,
eBay sees the feedback process as allowing users of the platform to “buy and sell with
confidence.”79

         36.       However, the informativeness of ratings is limited by several factors. First, ratings
can be noisy. Noisy ratings may arise when buyers cannot easily judge the quality of their
purchase, when buyers misunderstand the review process and provide irrelevant information,80 or
when buyers have idiosyncratic tastes and experiences. While such issues are mitigated by larger
numbers of reviews, providing feedback is costly in terms of time and effort. It therefore takes
considerable time to build a reputation. Furthermore, when providing feedback is optional—as is
the case on eBay—ratings will only reflect the experience of a select sample of respondents.
Indeed, research has shown that seller ratings on eBay are positively skewed and do not reflect
the full spectrum of buyer experience.81 Research has found that ratings for hosts and guests on


77
     eBay, “Seller standards policy,” https://www.ebay.com/help/policies/selling-policies/seller-standards-
     policy?id=4347 (“If your account has been evaluated as Below Standard for more than 2 consecutive months:
     We may downgrade your Store to the Basic level … We may place selling restrictions on your account and
     related accounts, or restrict you from registering a new account … In addition to the above, we may take action
     at any time if we have urgent concerns about your account; for example, if we’ve detected fraud or if your
     selling practices pose a threat to the buyer experience. The actions we take will be proportional to the nature of
     the issue we have identified and what is reasonably required to protect the interests of all eBay users and eBay
     as provider of the services.”)
78
     eBay, “Blocking a Buyer on eBay,” https://www.ebay.com/help/selling/resolving-buyer-issues/blocking-buyer-
     ebay?id=4082 (“eBay sellers have control over who can bid on and buy their items. You can block individual
     buyers or set buyer requirements based on specific criteria.”); eBay, “Abusive Buyer Policy,”
     https://www.ebay.com/help/policies/rules-policies-buyers/abusive-buyer-policy?id=4374 (“Activity that doesn’t
     follow eBay policy could result in a range of actions including for example: administratively ending or
     canceling listings, hiding or demoting all listings from search results, lowering seller rating, buying or selling
     restrictions, and account suspension.”).
79
     eBay, “Feedback profiles,” https://www.ebay.com/help/account/changing-account-settings/feedback-
     profiles?id=4204.
80
     Paul Belleflamme and Martin Peitz, The Economics of Platforms, Cambridge, UK, Cambridge University Press,
     2021, p. 54 (“[T]his applies to product ratings on Amazon. Here, some reviewers do not base their rating on the
     quality and characteristics of the product they bought but on such factors as Amazon’s delivery service, which
     can be considered orthogonal to the product sold by Amazon.”).
81
     Chris Nosko and Steven Tadelis, “The Limits of Reputation in Platform Markets: An Empirical Analysis and
     Field Experiment,” NBER Working Paper 20830, 2015, pp. 1-36 p. 9 (“[T]he median seller has a score of
     100%. This could be indicative of a reputation system that works extremely well – bad sellers exit when their
     score falls even slightly, leading to a high positive selection. Unfortunately, this is not the case. Out of over 44
     million transactions completed in October of 2011 on eBay’s U.S. marketplace, only 0.39% had negative
     feedback, while at the same time, over 1% had an actual dispute ticket opened, a step that takes substantially



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Airbnb are similarly positively skewed, with some guests submitting high ratings even for hosts
for whom they separately indicated not recommending.82 Ratings may also be distorted by seller
manipulation. For instance, Fakespot, a fraudulent review detection service, found that 42% of
the 720 million Amazon reviews written in 2020 were not genuine.83 Review brokers offer sham
reviews and download services to app developers looking to boost their visibility in the Apple
and Google app stores.84 The harm of fake positive reviews can be exacerbated by herding
behavior, in which positive fake reviews attract disproportionately more positive reviews and
negative experiences go unreported.85

         37.      Recognizing the shortcomings of ratings and review systems, eBay has instituted
several other practices to build trust on the platform. For example, eBay scans and analyzes the
contents of messages for evidence of fraudulent activity.86 In 2017, eBay moved to provide
authentication services for luxury items, citing the desire “to boost customer confidence in


     more effort on a buyer’s part than leaving negative feedback. Furthermore, over 3.3% of messages from buyers
     to sellers post the transaction include language that imply a bad buyer experience … This indicates that there
     are a substantial number of transactions that went badly for which negative feedback was not left.”).
82
     Andrey Fradkin, Elena Grewal, David Holtz, and Matthew Pearson, “Bias and Reciprocity in Online Reviews:
     Evidence From Field Experiments on Airbnb” presented at EC ’15: Proceedings of the Sixteenth ACM
     Conference on Economics and Computation (Cambridge, MA, July 15, 2015) p. 8 (“As expected, the
     distribution of ratings for guests who do not recommend is lower than the distribution of ratings for those that
     do recommend. However, in over 20% of cases where the guest does not recommend the host, the guest submits
     a four or five star rating.”).
83
     Matt Stieb, “Amazon’s War on Fake Reviews,” Intelligencer, July 26, 2022,
     https://nymag.com/intelligencer/2022/07/amazon-fake-reviews-can-they-be-stopped html (“According to the
     fraudulent-review-detection service Fakespot, around 42 percent of 720 million Amazon reviews assessed in
     2020 were bogus.”).
84
     Yahoo!Finance, “Revealed: Apple App store and Google Play flooded with fake reviews,” March 8, 2023,
     https://uk finance.yahoo.com/news/apple-app-store-google-play-flooded-with-fake-reviews-000126788.html
     (“Review broker services for apps offer bulk downloads, reviews or upvotes to help push apps up the rankings
     … One fake review broker site, reviewlancer, claims to have sold nearly 53,000 reviews and exchanged more
     than 130,000 reviews between apps.”).
85
     Paul Belleflamme and Martin Peitz, The Economics of Platforms, Cambridge, UK, Cambridge University Press,
     2021, p. 59 (“[P]aid-for fake positive reviews can generate positive herding on B2C and C2C platforms. Thus,
     the damage done from a positive fake review would not be corrected if the fake report were not removed
     immediately but at some later time”).
86
     eBay, “User Agreement,” www.ebay.com/help/policies/member-behaviour-policies/user-agreement?id=4259#4
     (“eBay’s automated systems scan and analyze the contents of every message sent through its messages
     platform, including messages between users, to detect and prevent fraudulent activity or violations of eBay’s
     User Agreement, including the incorporated terms, notices, rules, and policies. This may result in a manual
     review of messages sent through our messaging tools. This scanning and analysis may occur before, during, or
     after the message is sent, or while in storage, and may result in your message being delayed or withheld. eBay
     may store message contents, including to conduct this scanning and analysis.”).



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selling and shopping for an amazing selection of designer merchandise.”87 The authentication
services started with handbags, but have since expanded to include sneakers, jewelry, watches,
and trading cards. With eBay’s “Authenticity Guarantee,” qualifying items are verified by
eBay’s in-house team of experts before being shipped to the buyer.88 The “Authenticity
Guarantee” is now a key piece of eBay’s trust-building efforts, as illustrated by eBay’s
promotion of the service through a 30-second ad spot in December 2022.89 Nearly all purchases
on eBay, including but not limited to purchases of luxury items, are also protected by eBay’s
“Money Back Guarantee” policy.90 Under this policy, buyers who receive a product inferior to
what was advertised—such as a box filled with stones in lieu of a plasma TV—are entitled to a
refund upon return of the product, regardless of whether the seller offers returns.91


                            c.       StockX

         38.      Resale marketplaces for rare sneakers and other luxury items, including StockX
and its competitors, have similarly recognized the importance of building trust and therefore
have instituted verification processes for the products sold on their platforms. This section




87
     PRNewswire, “Launch of eBay Authenticate Boosts Shopper Confidence for Luxury Handbag Purchases,”
     October 16, 2017, https://www.prnewswire.com/news-releases/launch-of-ebay-authenticate-boosts-shopper-
     confidence-for-luxury-handbag-purchases-300536921 html
88
     eBay, “Authenticity Guarantee,” https://pages.ebay.com/authenticity-guarantee (“Our team of authenticators
     brings years of industry knowledge to verifying your purchase … Your item is carefully inspected inside and
     out to make sure it’s authentic and matches the listing … Once it’s authenticated, we send your item your way
     via expedited shipping at no extra cost to you.”).
89
     The Drum, “US Ad of the Day: eBay Rejects Fake Followers & Fake News in Favor of Real Luxury Goods,”
     December 19, 2022, https://www.thedrum.com/news/2022/12/19/us-ad-the-day-ebay-rejects-fake-followers-
     fake-news-favor-real-luxury-goods.
90
     eBay, “eBay Money Back Guarantee policy,” https://www.ebay.com/help/policies/ebay-money-back-guarantee-
     policy/ebay-money-back-guarantee-policy?id=4210 (“eBay Money Back Guarantee means you’re protected if
     the item you ordered didn’t arrive, is faulty or damaged, or doesn’t match the listing. You’ll get your money
     back.”).
91
     Zach Church, “Platform Strategy, Explained,” MIT Sloan, June 16, 2017, https://mitsloan mit.edu/ideas-made-
     to-matter/platform-strategy-explained (“‘People were selling plasma TV boxes with stones in them,’ Tucker
     says.”); eBay, “eBay Money Back Guarantee policy,” https://www.ebay.com/help/policies/ebay-money-back-
     guarantee-policy/ebay-money-back-guarantee-policy?id=4210 (“eBay Money Back Guarantee means you’re
     protected if the item you ordered didn’t arrive, is faulty or damage, or doesn’t match the listing. You’ll get your
     money back. For all the details of how the eBay Money Back Guarantee works, please see our full policy
     guidelines below.”).



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describes StockX’s coring efforts and, specifically, the steps it takes to ensure a safe and reliable
consumer experience.

         39.      StockX has invested in making trust the core of its brand identity, as reflected in
the language used on its website. StockX explains, “At StockX, our mission is to provide a safe
and secure experience for buying and selling the world’s most coveted items of current culture”
and, “We handle everything to make sure you can buy and sell with confidence.”92

         40.      StockX relies on various features and technologies to increase trust and
accountability on the platform. One of StockX’s most salient trust-building features is its
verification process and the accompanying “StockX Verified” label for all products sold on its
platform.93 StockX verifies branded products before they are shipped to customers, thereby
minimizing counterfeit risk: a problem plaguing both offline and online trades of such items.94
StockX’s multi-step and proprietary verification process aims to give buyers confidence that
there is no evidence the product has a defect or is not genuine.95 This assurance is reflected in
this quote from a StockX user:

                  StockX did a great job making me feel safe and sending a fully
                  vetted product. They made it easy to know their process and what
                  step of the process you are in at any time. Great experience, I
                  would most definitely use them again and recommend them to
                  anyone who is looking to buy shoes that are out of stock
                  elsewhere.96



92
     StockX, “What is the StockX Buyer Promise?,” April 17, 2023, https://stockx.com/help/articles/What-is-the-
     StockX-Buyer-Promise; StockX, “The Current Culture Marketplace,” https://stockx.com/about/how-it-works/.
93
     StockX, “Every item is StockX Verified.,” https://stockx.com/about/verification (“Every item is StockX
     Verified. Shop on StockX with confidence knowing every purchase is StockX Verified. StockX Verified is our
     own designation and not endorsed by any brands sold on StockX.”).
94
     Roberto Fontana, Stéphane J.G. Girod, and Martin Králik, “How Luxury Brands Can Beat Counterfeiters,” May
     24, 2019, https://hbr.org/2019/05/how-luxury-brands-can-beat-counterfeiters (“The total trade in fakes is
     estimated at around $4.5 trillion, and fake luxury merchandise accounts for 60% to 70% of that amount, ahead
     of pharmaceuticals and entertainment products and representing perhaps a quarter of the estimated $1.2 trillion
     total trade in luxury goods. Digital plays a big role in this and perhaps 40% of the sales in luxury fakes take
     place online, as today’s counterfeiters milk the ubiquity and anonymity of the internet space to the last drop.”).
95
     StockX, “Every item is StockX Verified.,” https://stockx.com/about/verification (“Our global team of experts
     uses a rigorous, multi-step verification process … We leverage machine learning to assess product risk and
     ever-evolving embedded technologies within the products to enhance our verification efforts. A final check in
     our verification process, our QA [quality assurance] experts ensure the product meets our high standards.”).
96
     TrustPilot, “StockX,” https://www.trustpilot.com/review/stockx.com?stars=5.



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          41.      StockX also offers a Buyer Promise to make buyers feel more confident
purchasing on the platform. StockX’s Buyer Promise covers buyers within a certain timeframe of
receiving an item if they believe StockX made a mistake with their order, including incorrectly
verifying the product.97 StockX users can also receive personalized support from StockX’s Help
Center for any issues they may encounter while using the platform.98

          42.      StockX works on ensuring that only reliable buyers and sellers use the platform.
StockX provides a uniform product page on which items are listed for sale,99 and sellers who
repeatedly do not complete sales or send in items that fail verification are liable to have their
accounts suspended.100 Account suspension will also occur for buyers who issue chargebacks
with their financial institution without expressing concern of fraud with StockX first.101

          43.      To further ensure marketplace integrity and prevent fraud, StockX works with
partners such as Auth0, a provider of secure logins and account authentication services. StockX
also works with Riskified, a provider of fraud management software for eCommerce, and
Braintree, a provider of secure payment processing solutions.102




97
      StockX, “What is the StockX Buyer Promise?,” April 17, 2023, https://stockx.com/help/articles/What-is-the-
      StockX-Buyer-Promise (“The StockX Buyer Promise solidifies this mission by providing support for Buyers
      should we make a mistake (e.g. we ship you the wrong order, we incorrectly verify an item).”).
98
      StockX, “The Current Culture Marketplace,” https://stockx.com/about/how-it-works/ (“Thanks to our Help
      Center, Chatbot, and dedicated global-support staff, you can be sure that we are always available to answer any
      and every question regarding our marketplace.”).
99
      StockX, “The Current Culture Marketplace,” https://stockx.com/about/how-it-works/ (“[N]o taking photos, no
      writing catchy descriptions, and no dealing with rogue buyers or sellers. We handle everything to make sure
      you can buy and sell with confidence.”).
100
      StockX, “Why is My Account on Hold?,” April 10, 2023, https://stockx.com/help/articles/Why-cant-I-access-
      my-account (“As a Seller, repeated incomplete sales are the most common reason why your account might be
      suspended. Failure to send items out for verification and failure to send items that pass the StockX verification
      process will result in penalty fees and eventually suspension, depending on the number of failures and their
      severity.”).
101
      StockX, “Why is My Account on Hold?,” April 10, 2023, https://stockx.com/help/articles/Why-cant-I-access-
      my-account (“As a Buyer, issuing a chargeback with your financial institution will suspend your account. It is
      always recommended in the case of suspected account fraud and accidental purchases that you contact StockX
      Support before asking your financial institution for a chargeback.”).
102
      StockX, “The Current Culture Marketplace,” https://stockx.com/about/how-it-works/ (“Preserving the integrity
      of our marketplace means staying a step ahead. Our security and fraud systems, powered by our world class
      partners, have your personal information covered 24/7.”); Auth0, “About,” https://auth0.com/about; Riskified,
      “Riskified,” https://www.riskified.com; Braintree, “Braintree,” www.braintreepayments.com.



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          44.      StockX also builds trust into transactions by providing buyers and sellers with
data so that neither feels like they traded at an unfair price on the platform. This feature of
StockX has been described as part of “The Stock[X] formula” as follows:

                   [StockX] ensures that prices remain somewhat in check. When
                   buying a sneaker, you can get insight into the rises and falls of the
                   prices. In this way, the company remains transparent about the
                   prices and you get insight into the market value of your pair.103

          45.      Each product listing includes historical price data, as well as the 12-month trade
range, all-time trade range, price volatility, number of sales, price premium, and average sale
price, as illustrated in Exhibit 1. Such information on current and past prevailing prices of certain
products helps buyers avoid overpaying for a purchase on the platform. It may also help them
identify instances where a price offered is too low to be credible because the sneakers are
counterfeit. A range of community forums and websites warn to watch out for low prices. For
example, sneakerflippers.com advises traders that “[o]ne of the easiest ways to tell if a pair of
sneakers is fake is to check the price. In general, authentic sneakers are very expensive, while
fake sneakers are much cheaper. So if you’re looking at a pair of sneakers and the price seems
too good to be true, that’s a good sign that the sneakers might be fake.”104




103
      Sneaker Jagers, “How StockX Became the Biggest Sneaker Marketplace,” September 30, 2021,
      https://www.sneakerjagers.com/en/n/how-stockx-became-the-biggest-sneaker-marketplace/27074.
104
      Sneaker Flippers, “How to Identify Real vs Fake Sneakers,” April 17, 2022,
      https://sneakerflippers.com/tips/reselling/identify-real-fake-sneaker. See also Shoemakers Academy, “How to
      Spot Fake Air Jordans,” https://shoemakersacademy.com/air-jordan-legit-check (“When shopping for real Nike
      shoes you should expect to pay real Nike prices. If you find a rare Air Jordan or a unique color at a price that is
      too good to be true… then it IS too good to be true. Low prices and beat up boxes are your first clue that you
      have a fake, counterfeit, or illegally smuggled-in B-grade Nike shoe.”), Fast Cop, “How to Spot Fake Sneakers:
      Complete Guide,” https://fastcop.com/how-to-spot-fake-sneakers/ (“The most obvious sign that an online store
      is selling fake sneakers is if their prices are too good to be true. Similar to other items sold online, a hard to
      believe price is often a good indication that you might not get the authentic or original version of the product
      you’re looking to buy.”).



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                   Exhibit 1: Example Pricing Data for Product Listed on StockX




                             d.       Other platforms

          46.      GOAT, an online platform specializing in the resale of sneakers, streetwear, and
luxury apparel, operates a similar system to StockX. Like StockX, GOAT verifies the products
traded on its platform after a purchase has taken place and relies on both a team of experts and
technologies like digital authentication and machine learning to issue an “Assurance of
Authenticity” to buyers.105 In addition, similar to StockX’s Buyer Promise, GOAT offers a Buyer
Protection Policy, whereby buyers can receive a refund if there is a mistake with their order.106




105
      GOAT, “What is the Assurance of Authenticity?,” 2023, https://support.goat.com/hc/en-
      us/articles/115004608127-What-is-the-Assurance-of-Authenticity- (“Additionally, our resale products and our
      trusted partners are verified or vetted by a variety of means, such as digital authentication, in-hand verification,
      and/or machine learning technology.”); ZDNet, “GOAT Uses Machine Learning, Computer Vision to Verify
      Your Top Dollar Sneakers Are Authentic,” August 19, 2018, https://www.zdnet.com/article/goat-uses-machine-
      learning-computer-vision-to-verify-your-top-dollar-sneakers-are-authentic (“[W]hen that shoe is purchased, the
      seller ships it to us to verify. And we verify that product the same day using our sophisticated machine learning
      and computer vision, and our industry knowledge. And release the funds to the seller. And then we ship that
      product to the buyer to purchase.”).
106
      GOAT, “Buyer Protection Policy,” https://www.goat.com/buyer-protection-guarantee (“In the event the item
      you received qualifies for a return under one of the scenarios listed above, we will provide you with a shipping
      label to be used to send the item to GOAT … If your item is approved under this policy, you will receive a
      refund in GOAT Credit in the amount of your total purchase.”).



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          47.      Other competitors such as Flight Club and Stadium Goods, follow a consignment
model where product authentication happens before products are listed for sale.107 Stadium
Goods’ verification process relies predominantly on in-person inspections of sneakers by trained
staff, but it also relies on “a variety of technical methods to ensure [the] inventory’s
authenticity.”108 On Flight Club, all shoes are authenticated and verified by a team of trained
specialists.109

          48.      Chrono24, a digital marketplace for both new and used watches, takes a different
approach to building trust on its platform. Unlike other resale platforms, sellers on Chrono24
ship watches directly to buyers. Because Chrono24 does not physically verify a given watch’s
authenticity before it changes hands, Chrono24 has developed other tools to build trust. For
watches sold by professional dealers, Chrono24 provides a binding Authenticity Guarantee.110
Listings for watches sold by private sellers, however, must pass inspection by Chrono24 prior to
their publication on the platform and are subject to further review by a dedicated 40-person team
scanning the platform for suspicious listings.111 Finally, buyers have the option to use
Chrono24’s escrow service for payments, which ensures that a seller is only paid once the buyer
receives their purchase.112


107
      Niche Pursuits, “Is Flight Club legit? Get all the info to help you decide,” November 2, 2022,
      https://www.nichepursuits.com/is-flight-club-legit (“Flight Club sells new products sourced through retail
      channels and second-market goods using the consignment model. Sellers send in their shoes, and Flight Club
      verifies the sneakers before marketing them online or in one of three stores.”); Stadium Goods, “Is Stadium
      Goods Legit?,” December 20, 2022, https://www.stadiumgoods.com/en-us/article/is-stadium-goods-legit
      (“Stadium Goods is the only aftermarket that pre-authenticates its entire inventory.”).
108
      Stadium Goods, “Authenticity,” https://www.stadiumgoods.com/en-us/authenticity.
109
      Flight Club, “How is Flight Club Different From Other Footwear Retailers?,” 2020,
      https://support flightclub.com/hc/en-us/articles/360037122132-How-is-flight-club-different-from-other-
      footwear-retailers, (“All shoes are authenticated and verified to be as described by our team of trained
      specialists”).
110
      Chrono24, “Chrono24 - Guarantee of Authenticity,” https://www.chrono24.com/info/guarantee-of-
      authenticity.htm (“The following Guarantee of Authenticity only applies to watches purchased from
      professional dealers on this platform. Private sellers are not subject to the Guarantee of Authenticity.”).
111
      Chrono24, “Discover the Safest Path to Your Dream Watch,” https://www.chrono24.com/about-us.htm (“Each
      private seller listing must pass an inspection before we publish it on our platform. As part of the inspection,
      the seller must provide proof of ownership in the form of two pictures of the watch set to specific times.”;
      “Our 40-person quality & security team works hard to detect suspicious listings and address issues before
      they arise, allowing you to focus on what’s most important – finding the right watch!”).
112
      Chrono24, “Discover the Safest Path to Your Dream Watch,” https://www.chrono24.com/about-us.htm,
      (“Chrono24 provides Escrow Service for free. Payment is transferred and kept safe in Chrono24’s escrow



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          49.      CardTrader is a platform where users can buy and sell collectible game cards,
such as Magic, Pokémon, and Digimon. While many cards are traded for less than a dollar, rare
cards can trade for thousands of dollars.113 CardTrader recently introduced the CTZero program,
through which CardTrader stores and verifies cards at a central facility before shipping them on
to a buyer.114 Buyers can feel confident in their purchase due to the CTZero Total Safeguard
service, where card purchases are verified by CardTrader’s quality assurance team, and, if a card
does not meet quality standards, it is either replaced by CardTrader at no additional cost to the
buyer or the buyer can purchase the lower quality item at a discounted price.115 Sellers
participating in the CTZero program benefit from this service as well, as it allows them to avoid
costly buyer disputes and non-compliance.116 Finally, with CTZero Total Safeguard, CardTrader
users also have access to an extra level of 24/7 customer support to help with any buying and
selling concerns.117

          50.      The prevalence of coring efforts across platforms is evidence of their importance
to platform success. Specific efforts will vary across platforms—depending on factors such as
the nature of the products and/or services sold—and over time as market conditions change.
However, what matters is that platforms continue to invest in such efforts and maintain user
trust.




      account until you have your watch in your hands. We keep your payment safe in our escrow account for up to
      7 days after the day of delivery of your watch and we release your payment to the private seller.”).
113
      See, for example, CardTrader, “Mox Ruby,” https://www.cardtrader.com/en/cards/mox-ruby-limited-edition-
      alpha; CardTrader, “Charizard,” https://www.cardtrader.com/en/cards/charizard-holo-rare-4-102-base-set-
      shadowless.
114
      CardTrader, “CardTrader Zero,” https://www.cardtrader.com/pages/zero (“CardTrader Zero is simple and
      intuitive: Buy cards from around the world without paying for shipments. We collect all your cards like a PO
      Box. Pay only one shipment when you decide to redeem the cards you have collected.”).
115
      CardTrader, “CardTrader Zero,” https://www.cardtrader.com/pages/zero (“Your purchases will be verified by
      our team, ensuring precision and efficiency … Whenever an item is discarded by our quality control team we
      will replace it for you with no additional costs.”); CardTrader, “CardTrader Zero Terms of Service for Sellers,”
      https://www.cardtrader.com/pages/ct-zero-terms-of-service (“Buyers can set a threshold for non-compliant
      articles … if they receive a non-compliant article sold within this threshold, the will repurchase it anyway at a
      discounted price.”).
116
      CardTrader, “CardTrader Zero,” https://www.cardtrader.com/pages/zero (“No disputes. Non compliances,
      delays and loss of packages are entirely handled by our staff and automated system.).
117
      CardTrader, “CardTrader Zero,” https://www.cardtrader.com/pages/zero (“24/7 Customer care. Our team is
      always ready to answer questions, feel free to contact us at any time, we work 24/7.”).



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VI.    VAULT NFTS ARE A TECHNOLOGY TO FURTHER FACILITATE
       TRANSACTIONS ON THE STOCKX PLATFORM

       51.     As marketplaces’ raison d’etre is to facilitate transactions between buyers and
sellers through the reduction of search, information, and transaction costs, they have an incentive
to invest in features and technologies that reduce these costs. Since trading physical assets can be
costly due to transportation, storage, and quality verification processes, multiple features and
technologies have been developed throughout recent history to facilitate their trade, including the
following three: (1) untethering ownership from physical possession, for instance through the
blockchain and physical NFTs; (2) innovations that reduce information costs through reduced
verification costs, and (3) storage solution vaults that improve the tradability of physical goods.

       52.     StockX’s Vault NFTs are an innovation that incorporates these three features.
Trading physical goods can be costly because, to complete a sale on StockX, the seller must ship
the product to StockX, then StockX must verify the product and ship the product to the buyer.
Vault NFTs, digital tokens tied to the verified physical goods stored in StockX’s vault, help
eliminate some of these steps. As a result, StockX’s Vault NFTs are an innovation that reduces
transaction costs associated with the trade of physical goods, which can be beneficial to
consumers interested in trading sneakers and other collectibles.


       A. Technologies and features that facilitate the trade of physical objects

       53.     Marketplaces, firms, and institutions in different historical contexts and using
different types of technologies, have reduced the frictions that make trading physical objects
difficult. More recently, various firms have worked on using the blockchain to achieve that goal.


               1. Untethering ownership from physical possession of assets

       54.     Untethering ownership from physical possession of assets to reduce transaction
costs has been a primary motivation behind financial and monetary innovation. For instance, the
introduction of paper money removed the burden and risks of transporting heavy gold and silver
coinage for individuals, ultimately creating a more convenient means of payment. The creation
of check clearinghouses and a national checking network in the late nineteenth century reduced
transaction costs for banks, as they no longer needed to send daily messengers to every other


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local bank to clear checks. Those lower transactions costs allowed checks from increasingly
distant banks to be honored locally.118

          55.      Innovations in commodity markets were similarly designed to reduce trading
frictions by untethering the act of trading from taking possession of physical objects. Grain
traders in early nineteenth-century Chicago faced substantial storage and transportation costs
every time they traded a shipment of grain, as the grain needed to be moved between silos each
time.119 In the late nineteenth century, the invention of futures contracts, which stipulated the
delivery of a commodity on a certain date at a certain price, reduced the number of physical
transactions to one. Grain traders could buy and sell the futures contracts as many times as
desired in the interim without the grain physically changing hands.

          56.      More recently, blockchain technology and tokenization have been used to enable
the trade of ownership rights without the need to physically transfer the underlying items. A
blockchain is a digital database or ledger that stores transactional data across a network of
computers in a distributed and decentralized fashion.120 An emerging application of blockchain
technology is asset tokenization, a process in which rights to tangible assets, which may be
physical or digital, are converted into tradeable tokens, which can be traded digitally.121 In this
way, tokenization makes the trade of tangible assets more efficient, especially for relatively




118
      David Evans and Richard Schmalensee, Paying with Plastic: The Digital Revolution in Buying and Borrowing 2
      Ed., Cambridge, MA, The MIT Press, 2005, p. 41 (“Local banks received an increasing volume of out-of-town
      checks from merchants. The problem wasn’t just how to present that check—in person or by mail. Checks
      drawn on distant banks were more likely to bounce: it was harder to know whether any particular check was
      legitimate, ore difficult to collect from travelers, and harder for the law to catch a bad-check artist on the move.
      Hence, an out-of-town check wasn’t worth as much as one drawn on a local bank.”).
119
      Joseph Santos, “A History of Futures Trading in the United States,” https://eh net/encyclopedia/a-history-of-
      futures-trading-in-the-united-states (“By the 1840s, grain elevators and railroads facilitated high volume grain
      storage and shipment, respectively. Consequently, country merchants and their Chicago counterparts required
      greater financing in order to store and ship this higher volume of grain.”).
120
      McKinsey & Company, “What is blockchain?,” December 5, 2022, https://www mckinsey.com/featured-
      insights/mckinsey-explainers/what-is-blockchain/ (“Blockchain is a technology that enables the secure sharing
      of information. Data, obviously, is stored in a database. Transactions are recorded in an account book called a
      ledger. A blockchain is a type of distributed database or ledger – one of today’s top tech trends – which means
      the power to update a blockchain is distributed between the nodes, or participants, of a public or private
      computer network.”).
121
      LeewayHertz, “Asset Tokenization – Real Assets on the Blockchain,” https://www.leewayhertz.com/what-is-
      asset-tokenization (“Asset tokenization refers to the process of converting real assets into digital assets.”).



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illiquid asset classes such as art, luxury items, real estate, or even commodities.122 The tokens
can be fungible—for instance, a token granting fractional ownership of a parcel of land, as it is
interchangeable with another token or set of tokens granting the same share of ownership. They
can also be non-fungible. NFTs represent ownership of unique items and are non-fungible in that
they cannot be replaced.123 For instance, a token linked to a specific piece of art is an NFT.


                   2. Technologies and services to reduce information costs through reduced
                      verification costs

          57.      Many institutions and firms have put in place technologies to reduce information
costs through reduced verification costs, which has been beneficial for trade. For example, the
Gemological Institute of America (GIA), founded in 1931, has played a critical role in
facilitating the trade of diamonds by making information more transparent and cheaper to obtain
for diamond buyers and sellers. In 1953, the GIA created a grading standard called the 4Cs, and
started issuing diamond grading reports. The grading standard has become a universal standard
and the diamond grading reports are now a benchmark in the jewelry industry, assessing their
quality with respect to color, clarity, cut, and carat weight.124 In the 1980s, technology was
developed to laser inscribe diamonds, allowing GIA to link the unique number of a diamond’s
grading report to the stone through laser engraving, forever linking the stone to its one-time




122
      Investopedia, “Non-Fungible Token (NFT): What it Means and How it Works,” April 6, 2023,
      https://www.investopedia.com/non-fungible-tokens-nft-5115211 (“Tokenizing these real-world tangible assets
      makes buying, selling, and trading them more efficient while reducing the probability of fraud.”); LeewayHertz,
      “Asset Tokenization – Real Assets on the Blockchain,” https://www.leewayhertz.com/what-is-asset-
      tokenization, (“From exotic assets like artwork, sports teams and racehorses to traditional assets like bonds, real
      estate, venture capital funds, and commodities, almost every asset class can be tokenized.”).
123
      Kirk Plangger, Dhruv Grewal, Ko De Ruyter, and Catherine Tucker, “The Future of Digital Technologies in
      Marketing: A conceptual Framework and an Overview,” Journal of the Academy of Marketing Science, Vol. 50,
      No. 6, 2022, pp. 1125-1134, p. 1130 (“[N]on-fungible tokens (NFTs) allow for a range of digital products to
      come to market, secured by blockchain ledgers that establish them as original and unique.”); Business Insider,
      “What to Know About Non-Fungible Tokens (NFTs),” July 12, 2022,
      https://www.businessinsider.com/personal-finance/nft-meaning (“A non-fungible token (NFT) is a unique
      digital asset that represents ownership of real-world items like art, video clips, music, and more. NFTs use the
      same blockchain technology that powers cryptocurrencies, but they’re not a currency.”).
124
      Gemological Institute of America, “What is a GIA Diamond?,” https://4cs.gia.edu/en-us/blog/what-is-a-gia-
      diamond; Gemological Institute of America, “About GIA,” https://www.gia.edu/gia-about.



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quality assessment.125 This technology further reduced information costs, by reducing the need
for future authentication.

          58.      Similarly, CARFAX’s vehicle history reports help reduce information costs in the
market for used cars by providing buyers with information such as the car’s service history and
potential accidents. This service simplifies the process for potential buyers to ascertain the
quality of the car they are interested in, enabling them to “avoid buying a car with costly hidden
problems.”126 Such services help sales to take place, even when the buyer does not know the
specific seller or how trustworthy they are.

          59.      Blockchain technology, and associated innovations like NFTs, have also been
used to reduce information costs. What distinguishes blockchain from other databases is that the
data stored on a blockchain is functionally immutable. In other words, no party can retroactively
alter data associated with a transaction once that transaction has been added to the blockchain.127
This feature has the potential to transform trade on digital marketplaces, as it provides a tool to
verify and maintain records of transactions that does not rely on a third party or central authority.
Such a decentralized mechanism both lowers the costs for marketplaces to verify digital
information and increases the trust in the reliability of this information.128 Therefore, from an

125
      Gemological Science International, “Laser Inscription on Diamonds,” https://gemscience.net/services-and-
      reports/lab-services/laser-inscription-on-diamonds (“By 1980, a major gemological laboratory in the United
      States successfully implemented the laser inscription process, and it was the first commercial application of
      diamond marking. The process was complex and required a lot of time and special equipment, but its
      commercial success showed that there is a definite need for marking on diamonds.”); Diamond Buzz, “Diamond
      Laser Inscription,” December 20, 2022, https://diamondbuzz.blog/diamond-laser-inscription (“Diamond laser
      inscription, provided by a grading laboratory, ensures that the stone you buy matches the issued grading report
      or certificate. It allows an instant verification that the stone is the one described in the report as the number or
      wording is permanently registered in the lab’s archive database. In other words, an inscription gives added
      security and peace of mind when making a diamond purchase. It is also helpful to jewellers [sic] and diamond
      merchants for quality control.”).
126
      Carfax, “Carfax Vehicle History Reports,” https://www.carfax.com/vehicle-history-reports.
127
      Catherine Tucker and Christian Catalini, “What Blockchain Can’t Do,” Cambridge, MA, Harvard Business
      Review, 2019, p. 61 (“Blockchain technology has the potential to do amazing things. It can provide an
      immutable, digital audit trail of transactions and can be used to cheaply verify the integrity of data.”).
128
      Catherine Tucker and Christian Catalini, “What Blockchain Can’t Do,” Cambridge, MA, Harvard Business
      Review, 2019, p. 62 (“[Blockchain] can therefore replace the need for trust between players, or the need for a
      central authority to verify and maintain the records of transactions.”); Christian Catalini and Catherine Tucker,
      “Antitrust and Costless Verification: an Optimist and a Pessimistic View of the Implications of Blockchain
      Technology,” Antitrust Law Journal, Vol. 82, No. 3, 2019, pp. 861-872, p. 1 (“Blockchain technology, by
      allowing economic agents to verify transactions and their attributes without the same need for trust or third-
      party verification, fundamentally changes how marketplaces operate. This is particularly relevant for digital



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economist’s perspective, the value of blockchain technology lies in the creation of
permissionless and automated trust.129 One example of the use of this technology is high-end
watch brand Breitling, which sells each watch with a corresponding NFT that serves as proof of
ownership and authenticity.130 This technology has been perceived as having the potential to
replace official papers that denote ownership, which are often necessary for owners selling
watches on the secondary market.131


                   3.       Storage solutions such as vaults

          60.      Vault-like storage solutions for collectibles have also been used to make it
cheaper to trade physical items. Goldin and CardTrader are two examples of firms offering
storage solutions to customers, which serve to reduce transaction costs. Goldin is a digital
marketplace and auction-house for sports memorabilia, including game-worn jerseys,
autographed sportswear, and vintage sports cards. Similar to StockX, Goldin allows collectors to
store items bought through them in a physical vault. Collectors do not need to pay sales tax,
shipping fees, or storage fees for items they choose to store in the Vault, which considerably
reduces transaction fees for buyers and sellers.132 Goldin is currently facilitating peer-to-peer



      marketplaces. Blockchain technology lowers the cost of verifying digital information but does not lower the
      cost of verifying offline information.”).
129
      Christian Catalini and Catherine Tucker, “Antitrust and Costless Verification: an Optimist and a Pessimistic
      View of the Implications of Blockchain Technology,” Antitrust Law Journal, Vol. 82, No. 3, 2019, pp. 861-872,
      pp. 2-3 (“Blockchain technology takes advantage of cryptography and incentives to replace trust and third-party
      verification. … Incentives are needed to protect the shared data from being altered by an adversary or bad actor,
      and to ensure that transactions or assets cannot be forged or modified ex post. For example, in implementations
      that rely on proof-of-work (‘mining’), an economic cost is introduced to make it prohibitively expensive to
      rewrite history and subvert the consensus about the true state of the shared data once it is formed.”).
130
      Crypto News, “NFTs and Their Role in the Luxury Watch Industry,” February 10, 2023,
      https://cryptonews.com/news/nfts-their-role-luxury-watch-industry htm (“Breitling, a well-respected
      manufacturer with a history stretching back as far as 1884, has harnessed the power of the metaverse in an
      entirely different way. Since October 2020, all Breitling watches have come with their own NFT (or digital
      passport, as the company calls them) as proof of ownership and authenticity.”).
131
      Crypto News, “NFTs and Their Role in the Luxury Watch Industry,” February 10, 2023,
      https://cryptonews.com/news/nfts-their-role-luxury-watch-industry htm (“It has been speculated that such
      [NFT] technology will soon replace the original papers that accompany a luxury watch when bought from an
      official retailer. These documents are often vital on the secondary market, playing a huge role in resale value
      and in ensuring potential buyers that the seller is the timepiece’s rightful owner.”).
132
      Goldin, “The Official Vault of Goldin,” https://goldin.co/vault (“Pay no sales tax, storage, or shipping fees on
      Goldin purchases sent to the Vault. Plus your items are 100% insured.”).



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transfers of ownership for items stored in its vault and has expressed an intention to add greater
marketplace functionality to its website.133

          61.       CardTrader, discussed in Section V, also offers a storage solution for its users, the
CTZero service. Buyers who enroll in the service can purchase cards from multiple sellers
around the world and choose to have them stored centrally in CardTrader’s warehouse “with no
limits on time or quantities.”134 Buyers are responsible for only a single shipping fee when they
are ready to retrieve their cards, which does not depend on the number of cards or their original
geographic provenance.135 Sellers also save on shipping costs, as the service allows them to ship
sold cards to the CardTrader warehouse in bulk rather than ship the cards to individual buyers.


          B.        Vault NFTs reduce trading costs for sneaker traders

                    1.       Sneaker traders are a key group of StockX’s users

          62.       As explained in Section IV.B, StockX and similar resale platforms have increased
both overall interest and participation in the resale sneaker market. One of the groups that has
particularly benefited from the emergence of StockX and similar resale platforms are sneaker
traders. Traders are typically individuals who see rare sneakers as opportunities for arbitrage and
are primarily interested in purchasing sneakers to resell them at a profit.

          63.       StockX, especially in comparison to rival resale platforms, has developed a
platform that appeals to sneaker traders looking to buy and later resell sneakers. The original
impetus for launching StockX—as suggested by its name—was to create a “stock market of




133
      Goldin, “Frequently Asked Questions,” https://vault.goldin.co/faqs (“If you would like to sell an item that you
      have stored in the vault, you have several options. You can consign it for sale in one of our upcoming auctions
      by emailing your consignment director or info@goldinauctions.com or we can help you find a buyer through a
      private sale by emailing info@goldinauctions.com. We are currently facilitating peer-to-peer title transfers and
      will offer additional marketplace functionality on our site later this year. If you would like a title transfer, email
      vault@goldinauctions.com.”).
134
      CardTrader, “CardTrader Zero,” https://www.cardtrader.com/pages/zero.
135
      CardTrader, “CardTrader Zero,” https://www.cardtrader.com/pages/zero (“You can request that we ship your
      purchases at any time. You will pay a single shipping fee, no matter where the sellers you bought from are
      located or how many they are.”).



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things” in which the value of sneakers and apparel was transparent and updated in real time.136
StockX has successfully integrated this original vision into the current platform where, as
detailed in Section V.B.2, users have access to a wide range of data for every item sold on
StockX.137 Such extensive pricing data is useful not only for collectors looking for a good deal
on StockX, but also for sellers throughout the resale market, who turn to StockX to determine the
market price for their items.138 StockX has been nicknamed the Kelley Blue Book of sneakers,139
a reference to the established automotive research company providing vehicle valuation
services.140




136
      Jacob Gallagher, “This Website is the Stock Market for Nikes and Rolexes,” The Wall Street Journal,
      November 26, 2018, https://www.wsj.com/articles/this-website-is-the-stock-market-for-nikes-and-rolexes-
      1543251772 (“Mr. Luber envisioned a more orderly market, with a New York Stock Exchange-style ticker, that
      would make the value of a pair of sneakers transparent, in real time.”) and (“Mr. Gilbert bought Campless in
      2015 and the pair joined forces (along with COO Greg Schwartz), launching StockX, “the stock market of
      things,” based in Mr. Gilbert’s hometown of Detroit in February 2016.”).
137
      Dan Hyman, “ A Nasdaq for Sneakerheads? StockX Aims to Tame ‘Chaos’ of Luxury Market,” The New York
      Times, July 6, 2018, https://www.nytimes.com/2018/07/06/business/smallbusiness/stockx-sneakerheads-luxury-
      goods html (“On StockX, products, which include streetwear, handbags and watches in addition to sneakers, are
      assigned ticker symbols. Sellers put out asking prices, and buyers bid. Users can see data like recent sale figures
      from across the internet, price volatility, and 52-week highs and lows. Once a bid and an ask coincide, the sale
      is automatically made.”).
138
      Jacob Gallagher, “This Website is the Stock Market for Nikes and Rolexes,” The Wall Street Journal,
      November 26, 2018, https://www.wsj.com/articles/this-website-is-the-stock-market-for-nikes-and-rolexes-
      1543251772 (A sneaker seller interviewed for the article claimed, “everyone looks at StockX and takes it as the
      market price”); Jessica Testa, “Sneaker Sellers Wrestle With Price Spikes After Virgil Abloh’s Death,” The
      New York Times, December 16, 2021, https://www nytimes.com/2021/12/16/style/sneakers-price-spikes-virgil-
      abloh.html (The owner of a resale sneaker store in Seattle asserted that “when people come in now to sell shoes,
      we look at StockX as the price reference, and we’ve upped our offers to reflect the market.”).
139
      Wells Report, ¶ 110 (“StockX is also valuable for many Sneakerheads because it provides detailed and
      otherwise difficult to obtain information like the sale history and average sale price for every model of sneaker.
      This data is not only useful for consumers looking for a good deal, but also helps set prices in the resale market,
      since resellers often reference StockX to determine a fair price for their items. In this regard, StockX has been
      described to be for the sneaker market what the Kelley Blue Book is for the car market.”); Polina Noskova,
      “This Sneakerheaad Made a Stock Exchange for Shoes ” Forbes, August 18, 2016,
      https://www.bloomberg.com/news/articles/2016-08-18/this-sneakerhead-made-a-stock-exchange-for-shoes
      (“[Josh Luber, the founder of StockX,] collected EBay’s pricing data and built the kind of guide for sneakers
      that Kelley Blue Book compiles for automobiles.”).
140
      Kelley Blue Book, “History,” https://www kbb.com/company/history (“We deliver up-to-date car values, expert
      reviews and unbiased reporting at no cost to you.”).



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                   2.       Vault NFTs

          64.      StockX created Vault NFTs as an innovative way to provide users of its platform
with a “new, faster, cheaper and more efficient trading experience.”141 By issuing Vault NFTs,
StockX untethers ownership from physical possession of products and enables its users to trade
ownership rights without physical products ever needing to be relocated.142 As explained by
StockX on its website, Vault NFTs allow customers to buy and resell products almost
immediately, bypassing physical trade and its associated costs, both in terms of money and
time.143 In addition, each Vault NFT is linked to a specific authenticated physical product, which
is stored in StockX’s secure, climate-controlled facility and depicted on the NFT.144 This feature
reduces both information costs—bypassing the need for re-verification—and costs related to
storage logistics and safety. As a result, Vault NFTs reduce various types of frictions associated
with the trade of physical products.


                                                                                                             145




                   3. Vault NFTs reduce trading costs, including by eliminating the costs of
                      shipping and re-verification

          65.      Trading Vault NFTs, rather than physical products, reduces the transaction and
information costs incurred while trading on StockX. In particular, buyers and sellers will save on

141
      StockX, “NFTs,” https://stockx.com/lp/nfts.
142
      StockX, “NFTs,” https://stockx.com/lp/nfts (“Introducing Vault NFTs on StockX, new digital tokens providing
      unprecedented access and utility for our customers. Each Vault NFT is tied to a physical product (as depicted on
      the NFT), which is stored in our brand new, climate-controlled, high-security vault.”).
143
      StockX, “NFTs,” https://stockx.com/lp/nfts (“Because each Vault NFT is tied to a physical product already
      stored in the StockX vault, you no longer have to wait several days before you can resell, and you do not have
      to pay fees associated with multiple legs of shipping and authentication.”); StockX, “StockX Launches Vault
      NFTs,” January 18, 2022, https://stockx.com/about/stockx-launches-vault-nfts (“Vault NFTs are minted under
      custodial authority as ERC-1155 tokens on the Ethereum blockchain to reduce transaction fees, minimize
      environmental impacts, and create provenance.”).
144
      StockX, “NFTs,” https://stockx.com/lp/nfts (“Each Vault NFT is tied to a physical product (as depicted on the
      NFT), which is stored in our brand new, climate-controlled, high-security vault.”).
145




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shipping fees and time, as the product underlying a Vault NFT does not have to physically
change hands.




          47
               Another benefit associated with Vault NFTs is that the verification process for the
underlying product must happen only once, not every single time the asset is traded. Because the
physical products tied to the Vault NFTs are stored in a secure and central location, they need not
be verified each time the Vault NFTs are traded. As a result, trading costs are reduced.

          66.       To illustrate these savings, Exhibit 2 compares the fees incurred by sellers and
buyers when trading a physical pair of sneakers on StockX with the fees incurred for trading a
Vault NFT of the same total price—here, $225.

          67.       The buyer of a physical pair of shoes on StockX pays shipping, product
verification, and payment processing fees, which are proportional to the value of the shoes.148
The seller of physical sneakers on StockX has to pay an 8 to 10% transaction fee, a 3% payment
processing fee, and a shipping fee that depends on a number of factors.149 For the trade of a


146




147




148
      StockX, “How much does shipping cost for Buyers?,” July 22, 2022, https://stockx.com/help/articles/How-
      much-does-shipping-cost-for-buyers (“Shipping fees vary based on a variety of factors including the price of the
      item, size of the item, item type, shipping costs determined by our carrier partners, and the shipping destination
      of the Buyer.”); StockX, “What are StockX’s fees for Buyers?,” August 3, 2022, https://stockx.com/help/en-
      GB/articles/What-are-StockXs-fees-for-buyers (“As a Buyer on StockX, you are responsible for paying
      processing fees, as well as any customs duties and sales tax based on your shipping address.”).
149
      StockX, “How much does shipping cost for sellers?,” December 30, 2022, https://stockx.com/help/en-
      GB/articles/How-much-does-shipping-cost-for-Sellers (“Shipping fees vary according to several factors
      including the price of the item, size of the item, item type, shipping costs determined by our carrier partners,
      and the Seller’s location.”); StockX, “What are StockX’s fees for Sellers?,” March 27, 2023,



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physical pair of shoes worth a total of $225, buyer and seller jointly pay almost $60 in total fees
associated with the trade.

          68.      By contrast, trading a Vault NFT on StockX entails much lower fees. First, it does
not involve any shipping fees for both buyer and seller and processing fees for the buyer.150 The
transaction and payment processing fees paid by the seller are about two-thirds lower, at 3% and
1% compared to 8-10% and 3%.151 The total transaction fees associated with the trade of a Vault
NFT are a small fraction—around 16%—of the total transaction fees associated with the trade of
the physical pair of sneakers, at $9 compared to $57.25.152


Exhibit 2: Exemplar Comparison of Transaction Costs Associated with the Trade of a $225
               Physical Pair of Shoes and a $225 Vault NFT on StockX153




        Notes:
        [1] Processing and verification fees may vary, as they are determined by the price of the item, the


      https://stockx.com/help/articles/What-are-StockXs-fees-for-sellers (“For all StockX sales there is a 3% payment
      processing fee, as well as a transaction fee that is determined by your Seller Level in accordance with the
      StockX Seller Program”).
150
      StockX, “What fees are associated with Vault NFTs?,” April 14, 2022, https://stockx.com/help/articles/What-
      fees-are-associated-with-Vault-NFTs (“When purchasing an NFT, customers are not subject to StockX
      processing or shipping fees nor sales tax.”).
151
      StockX, “What fees are associated with Vault NFTs?,” April 14, 2022, https://stockx.com/help/articles/What-
      fees-are-associated-with-Vault-NFTs (“When selling an NFT, customers are subject to a 3% transaction fee plus
      a 1% payment processing fee.”).
152
      $9 / $57.25 * 100% = 15.7%.
153
      Tidal Market, “How Much is StockX Shipping?,” February 6, 2023, www.tidalmarket.com/blog/how-much-is-
      stockx-shipping (“Shipping fees are different depending on the price, weight, and category the item is in. For
      the most part, all shoes and electronics will be around $15.”); StockX, “What are StockX’s fees for Buyers?,”
      August 3, 2022, https://stockx.com/help/en-GB/articles/What-are-StockXs-fees-for-buyers (“As a Buyer on
      StockX, you are responsible for paying processing fees, as well as any customs duties and sales tax based on
      your shipping address. There is no set percentage for fees, as these are determined by the price of the item, the



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        location of the Seller and Buyer, and supply and demand. To estimate typical processing and
        verification fees, I limit the physical data to sneakers with a gross monetary value of $225, divide the
        buyer fee for each relevant transaction by $225, then take the average of these ratios. The resulting
        average is 6% (6% * $225 = $13.50).
        [2] For a physical pair of shoes, the payment processing fee is 3% (3% * $225 = $6.75). For a Vault
        NFT on StockX, the payment processing fee is 1% (1% * $225 = $2.25).
        [3] For a physical pair of shoes, I assume an 8% transaction fee because this represents the lower end
        of the possible 8-10% range advertised on the StockX website (8% * $225 = $18.00). For a Vault NFT
        on StockX, the transaction fee is 3% (3% * $225 = $6.75).


          69.      Vault NFTs may also lower trading costs in other ways. For example, Vault NFTs
can be traded more quickly than physical items, as any delays related to shipping and verification
are eliminated.

          70.      In addition, StockX’s storage services provide the potential for a less costly and
more convenient option for owners to manage and safely store their collections. Sneaker
collectors often keep digital records of their inventory in a spreadsheet—which records
information such as the brand, model, colorway, and release date—and affix photos of shoes to
their boxes to facilitate identification and retrieval from a dedicated storage space at home.154
Owners of especially large inventories often rent separate storage facilities, which may lack the
appropriate safeguards against theft.155 Vault NFTs allow their owners to delegate all storage-


      location of the Seller and Buyer, and supply and demand. These will never change after you have placed a
      Bid.”); StockX, “Physical Data,” STX0806026; StockX, “How much does shipping cost for sellers?,”
      December 30, 2022, https://stockx.com/help/en-GB/articles/How-much-does-shipping-cost-for-Sellers
      (showing US Shipping Costs of $4.00); StockX, “What are StockX’s fees for Sellers?,” March 27, 2023,
      https://stockx.com/help/articles/What-are-StockXs-fees-for-sellers (“For all StockX sales there is a 3% payment
      processing fee, as well as a transaction fee that is determined by your Seller Level in accordance with the
      StockX Seller Program,” which ranges from 8.0% to 10.0%, depending on the sales requirement, if any.);
      StockX, “What fees are associated with Vault NFTs?,” April 14, 2022, https://stockx.com/help/articles/What-
      fees-are-associated-with-Vault-NFTs (“When purchasing an NFT, customers are not subject to StockX
      processing or shipping fees nor sales tax. When selling an NFT, customers are subject to a 3% transaction fee
      plus a 1% payment processing fee.”).
154
      Wells Report, ¶113 (“Many Sneakerheads use methods like taking photos of the sneakers and putting the photos
      on the outside of the box. This helps them quickly identify which sneakers are in which box and can save time
      when searching for a specific pair. They often keep a detailed inventory of their collection in a Google Doc,
      including information about each sneaker like the brand, model, colorway, and the release date, to keep track of
      their collection.”).
155
      WPCO, “Cincinnati Business Owner Out $100,000 After Thieves Steal Hundreds of Sneakers From Storage
      Unit,” April 8, 2022, https://www.wcpo.com/news/local-news/hamilton-county/cincinnati/avondale/cincinnati-
      business-owner-out-100-000-after-thieves-steal-hundreds-of-sneakers-from-storage-unit (“[The victim] said his
      300 sneakers were safe at CubeSmart Self Storage in Avondale. When he returned, though, everything was
      gone. ‘Probably about an estimated value of $100,000 dollars,’”); Sneaker Shop Talk, “Stupid things People do
      for Sneakers: Thieves Steal Hundreds of Kicks From Business Owner’s Storage Locker,” June 3, 2022,
      https://sneakershoptalk.com/stupid-things-people-do-for-sneakers-thieves-steal-hundreds-of-kicks-from-



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related logistics to StockX, which safely stores the underlying physical product in a climate-
controlled, high-security vault and provides an online interface for owners to quickly view the
contents of their collection.


          C.       Other examples of innovative uses of physical NFTs and storage solutions

          71.      Other examples of innovations featuring physical NFTs156 accompanied by
storage solutions can be found in the fine liquor, fine wine, and luxury watch industries. For
instance, BlockBar is a platform that sells Ethereum blockchain-based NFTs associated with
physical bottles of liquor, including bottles from luxury brands, such as Patrón and Rémy
Martin.157 Like StockX, BlockBar provides authentication158 and storage services159 for bottles
sold on the platform, and users have the option to trade their NFTs on the BlockBar marketplace
or redeem them in exchange for the physical bottle. BlockBar recently recruited Sotheby’s
Worldwide Chairman of Wine and Spirits to serve as its Chief Operating Officer.160


      business-owners-storage-locker (“A Southwest Miami-Dade area storage facility found itself the victim of a
      burglary, with multiple units being hit, including one … containing hundreds of pairs of expensive sneakers.”);
      10 News San Diego, “More than $100,000 Worth of Sneakers Stolen in Mission Valley Storage Theft,” July 16,
      2021, https://www.10news.com/news/local-news/more-than-100-000-worth-of-sneakers-stolen-in-mission-
      valley-storage-theft (“[A] thief emptied out his rented storage locker, stealing more than $100,000 in
      sneakers.”).
156
      CoinGape, “Explained: What is Physical NFT? And How to Sell Physical Items as NFT,” December 28, 2022,
      https://coingape.com/education/explained-what-is-physical-nft-and-how-to-sell-physical-items-as-nft (“Physical
      NFTs are cryptographic tokens linked to physical assets that provide ownership of artwork, merchandise,
      property deeds, and other assets. Physical NFTs have two parts where the digital one is stored on a blockchain,
      and the physical one is the one that you own in real life.”).
157
      BlockBar, “BlockBar,” https://blockbar.com (“BlockBar is a platform that offers NFTs (digital assets) directly
      from luxury liquor brands. Each NFT corresponds to a physical bottle. Consumers have the ability to exchange
      the digital version for the physical version. In simple terms, consumers own the physical bottle, BlockBar stores
      it for them, and the digital version serves as proof of authenticity, verification of ownership, and the right to
      have the physical bottle delivered.”).
158
      BlockBar, “BlockBar,” https://blockbar.com (“BlockBar proves authenticity via Ethereum’s blockchain. By
      buying the NFT directly from the brand, we not only make the process easier, but we ensure that your asset has
      proven authenticity. Whether you grow your collection, send it as a gift, or resell it, authenticity will never be
      an issue. BlockBar ensures 100% instant authenticity to all collectors up until the moment they redeem the
      bottle.”).
159
      BlockBar, “How it Works,” https://blockbar.com/how-it-works (“As the NFTs are minted, the brands ship the
      bottles to BlockBar’s secure warehouse in Singapore. This warehouse is bonded, temperature controlled and
      insured. Storing your own spirits is extremely difficult and expensive so BlockBar takes care of this for you.”).
160
      Medium, “Sotheby’s Worldwide Chairman of Wine and Spirits to Join BlockBar,”
      https://medium.com/@blockbar/sothebys-worldwide-chairman-of-wine-and-spirits-to-join-blockbar-



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          72.      Like liquor, wine can be an attractive and valuable asset, but is difficult to trade
due to significant transportation and storage costs. There are also unique concerns about
verifying provenance when it comes to investing in fine wine.161 To address these inefficiencies,
WiV Technologies verifies and stores crates of wine at a central facility, and then issues easily
tradable tokens to owners, which are linked to the physical crates of wine.162

          73.      In the luxury watch industry, much like StockX, VeblenVault sells physical NFTs
for a variety of luxury-brand watches and stores the underlying time pieces in “secure and
insured vaults.”163 As noted on the company’s website, “Veblen Vault NFTs capture the price
movements of physical assets without assuming the risks of secure storage, damage, theft and
appropriation.”164 The online platform WatchBox is pursuing a similar venture, including both
physical NFTs and storage services.165



      e39b296dd5db (“Jamie Ritchie to become Chief Operating Officer of BlockBar, the startup that is
      democratizing the world of wine and spirits through their unique blockchain based business model.”).
161
      EY, “EY Helps WiV Technology Accelerate Fine Wine Investing With Blockchain,” August 12, 2019,
      https://www.ey.com/en_gl/news/2019/08/ey-helps-wiv-technology-accelerate-fine-wine-investing-with-
      blockchain (The CEO of WiV says that “[f]ine wine is a fully tradeable asset, and it is vitally important that
      provenance is protected, because provenance is the only way to prove a wine’s true value without actually
      opening the bottle. Currently, many wine trades often slow to a crawl because the extensive paper trails must be
      manually checked at every step of the process, massively reducing the potential size of the market. We are
      enhancing the ecosystem so that fine wine investments can be traded as quickly, easily and safely as books are
      online. We want to make fine wine an asset that people invest in with confidence.”).
162
      WiV, “The First Company Bringing Physical to Digital as NFTs,” https://wiv.io (“At WiV we have developed a
      proprietary technology solution that allows us to verify, secure authenticity and provenance of physical real
      world assets (pRWA), starting with wine, by combining IoT and blockchain technology… By authenticating
      these physical assets (PRWA) and pairing them with a digital counterpart, we allow anyone who owns a WiV
      asset to trade it with anyone else in the world without the hassle of holding the pRWA or having to worry about
      fraud and counterfeiting.”); The WiV Company, WiVA - The Future of Wine, 2022, ([audio] at 0:15-0:23 “The
      wine itself is housed in professionally managed cellars to ensure that it is maintained in top condition and that
      its provenance is assured”).
163
      Veblen Vault, “About Us,” https://veblenvault.com/about-us (“Together, we have created a new way to enjoy
      collecting and trading watches by storing high end timepieces in secure and insured vaults and tokenizing the
      ownership on the Ethereum blockchain.”).
164
      Veblen Vault, “Veblen Vault,” https://veblenvault.com.
165
      WatchPro, “WatchBox Creates Tradeable NFT Avatars of Luxury Watches,” April 28, 2022,
      https://www.watchpro.com/watchbox-creates-tradeable-nft-avatars-of-luxury-watches (“Origyn and WatchBox
      will produce Utility NFTs for watches, which can be traded independently from the physical items. … It means
      Watchbox could create and sell the NFT of a watch that remains in its safe and under its security. The owner of
      that unique NFT (and the watch to which it is attached) could then be traded at any point in the future —
      instantly like selling shares, and safely because it would be a legally binding trade. These NFTs also tackle the
      issue of counterfeit watches by acting as blockchain-based certificates of authenticity for luxury watches
      purchased on WatchBox’s platform.”).



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VII.      THE EVOLUTION OF VAULT NFT PRICES LINKED TO NIKE SHOES

          74.     In its amended complaint, Nike claims that “StockX has sold Nike-branded Vault
NFTs at prices many multiples above the price of the physical Nike shoe”166 and that “significant
price discrepancies continue, and as of the [then] current date [May 2022] certain Nike-branded
Vault NFTs [were] still selling for thousands of dollars above the price of the physical shoe.”167
This section provides a description of how the price of Vault NFTs for Nike shoes evolved in
2022, and explains how those dynamics are consistent with the pricing patterns of both historical
and more recent examples of assets linked to new technologies.


          A.      How the price of Vault NFTs for Nike shoes evolved in 2022

          75.     On January 18, 2022, StockX announced the release of Vault NFTs.168 The first
Vault NFTs that StockX released were for seven pairs of Nike sneakers and one pair of adidas
sneakers. The Vault NFT of an eighth pair of Nike sneakers was also released on January 26,
2022. An overview of the Vault NFTs released by StockX linked to Nike sneakers, including the
date of release, the number of Vault NFTs released, the number of peer-to-peer transactions, and
the initial release price by StockX, is shown in Exhibit 3. As Nike sued StockX on February 3,
2022, StockX only released those eight Vault NFTs tied to Nike shoes. However, StockX
continued releasing Vault NFTs for other brands, such as the Vault NFT Puma MB.01 LaMelo
Ball Rick and Morty, which StockX released in March 2022 and which was traded 21 times,169
and the Vault NFT Crocs Pollex Clog by Salehe Bembury Urchin, which StockX released in
June 2022, and which was traded 31 times.170




166
      First Amended Complaint, ¶ 63.
167
      First Amended Complaint, ¶ 65.
168
      StockX, “StockX Launches Vault NFTs,” January 18, 2022, https://stockx.com/about/stockx-launches-vault-
      nfts.
169
      StockX, “StockX Vault NFT Puma MB.01 LaMelo Ball Rick and Morty - US M 10,” https://stockx.com/puma-
      mb01-lamelo-ball-rick-and-morty-vault-nft.
170
      StockX, “StockX Vault NFT Crocs Pollex Clog by Salehe Bembury Urchin - US M 10,”
      https://stockx.com/crocs-pollex-clog-by-salehe-bembury-urchin-vault-nft.



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 Exhibit 3: Summary Statistics of Vault NFTs Corresponding to Selected Nike Sneakers171
                                         (2022)




Note: The initial release price for Vault NFTs linked to the Air Jordan 1 sneakers is inferred based on their uniform
price of $300 sold by StockX on the first day of release. “Physical Price (on StockX)” is the average price for the
associated physical sneaker on StockX on the first release date.


                   1.        The initial pricing of Vault NFTs

          76.      StockX initially priced the Vault NFTs at a discount compared to the price of the
physical pairs on the platform, expecting an initial loss at the time of the launch given that it had
to procure the physical shoes at the current market price to store in the Vault. For instance, the
Vault NFT for the Nike Dunk Low Retro White and Black was initially offered for $220, when
the lowest ask price for the physical shoe on StockX at the time was just above $300, reflecting a
27% discount.172 While the retail price on the Nike website was $110, the shoe was sold out at
the time the Vault NFTs were released.173



                  174
                        Initially pricing at a loss is a standard strategy used by platforms until they



171
      StockX, “Vault NFT Data,” STX0806025. See also StockX, “Vault Drop 1 Pricing,” January 11, 2022,
      STX0121216 (providing release prices).
172
      StockX, “Vault Drop 1 Pricing,” January 11, 2022, STX0121216.
173
      Sole Retriever, “Why Does the Nike Dunk Low Panda Keep Restocking?,” September 12, 2022,
      https://www.soleretriever.com/news/articles/why-the-nike-dunk-low-panda-restocks-all-the-time-carryover-
      releases, (“The next Nike Dunk Low Panda restock is set for April 28th, 2023 through the Nike App in full-
      family sizing. Alongside this, we will see the Nike Dunk High ‘Panda’ restock in full-family sizing.”).
174
      Calculated as the difference between the Vault NFT initial price and the lowest ask at the time, relative to the
      Vault NFT initial price, weighted by the number of Vault NFTs offered. See StockX, “Vault Drop 1 Pricing,”
      January 11, 2022, STX0121216.



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reach a critical mass.175 StockX generates revenues through fees charged on peer-to-peer Vault
NFT trades, as illustrated in Exhibit 2.176

          77.       At the time, StockX’s CEO Scott Cutler said, when discussing Vault NFTs, that
“optimally these should trade between our market price less fees.”177 Shervin Moghaddam,
StockX’s Vice President of Strategy, also expressed the idea that there should be an
“equilibrium” between Vault NFTs and physical shoes.178 Both views reflect that Vault NFTs
were a new method of trading the physical shoes.


                    2.       The January 2022 spike

          78.       On the first day of trading, the prices of the first Vault NFTs linked to Nike
sneakers spiked. The average price of those Vault NFTs reached up to 7.2 times the prices of the
corresponding physical pairs at the time for peer-to-peer sales.179 On that day, a bug in the
system prevented StockX from releasing all 308 Vault NFTs at the initial prices, which may have
contributed to a sense of scarcity and price increases that were not intended by StockX’s launch
pricing model.180 StockX released the remaining 148 Vault NFTs at then-prevailing market




175
      Bruno Julien, Alessandro Pavan, and Marc Rysman, “Two-Sided Markets, Pricing, and Network Effects,”
      Social Science Research Network, 2021, pp. 1-100, p. 511 (“With introductory pricing, a firm subsidizes
      demand in one period and recovers the loss in future periods.”).
176
      StockX, “What fees are associated with Vault NFTs?,” April 14, 2022, https://stockx.com/help/articles/What-
      fees-are-associated-with-Vault-NFTs (“When selling an NFT, customers are subject to a 3% transaction fee plus
      a 1% payment processing fee.”).
177
      StockX, “Email From Shervin Moghaddam to Scutt Cutler and Yasir Malik,” January 20, 2022, STX0039795-
      801 at 795 (“What’s clear to me is that we need much more than 100 editions as optimally these should trade
      between our market price less fees. My guess is 10x daily volume in each sneaker at least in NFT.”).
178
      StockX, “Email From Shervin Moghaddam to Scutt Cutler and Yasir Malik,” January 20, 2022, STX0039795-
      801 at 795 (“That’s helpful guidance re: daily volume. Let us we [sic] on what those numbers would need to be.
      Ideally, this is all market driven - users submit to vault until prices between vault and physical stabilise and then
      the users maintain equilibrium between the two.”).
179
      This ratio is the average daily peer-to-peer trading price over the average daily physical price for Nike Blazer
      Low sacai KAWS Blue sneakers on January 18, 2022. See StockX, “Vault NFT Data,” STX0806025; StockX,
      “Physical Data,” STX0806026.
180
      StockX, “Email From Yasir Malik to Greg Schwartz and Jacob Fenton,” January 19, 2022, STX0102190-195 at
      193 (“We were on track to sell out in minutes but some bugs meant that we sold only 162 of the 309 NFTs we
      had available before our asks were tied up and secondary trading started.”); StockX, “Email From Shervin
      Moghaddam to Scutt Cutler and Yasir Malik,” January 20, 2022, STX0039795-801 at 795 (discussing Vault
      NFTs: “optimally these should trade between our market price less fees.”).



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prices181 by filling open asks on the marketplace; at the time, these open asks were higher than
the initial sale price, and about 2.8 times the price of their physical counterparts.182

          79.      StockX released the eighth Vault NFT linked to a Nike model, the Air Jordan 1
Retro High OG Patent Bred, on January 26, 2022, 8 days later, for $300, slightly above the price
of the physical shoes at the time.183 First-day peer-to-peer prices averaged $756, 2.6 times the
level of the average physical shoes traded on that day on StockX.184 Additional statistics on the
released Vault NFTs associated with Nike sneakers, including the prices on the first day of
release, are shown in Exhibit D1.


                   3.       February to May 2022: The rapid convergence to the physical price

          80.      The initial price spike that followed the introduction of the Vault NFTs gave way
to a drop in both transactions and prices within a matter of weeks, when prices stabilized and
converged to a level close to the price of physical shoes. For example, looking at two of
StockX’s most traded Vault NFTs associated with Nike sneakers, the Nike Blazer Low sacai
KAWS Neptune Blue and the Air Jordan 1 Retro High OG Patent Bred, Exhibits 4 and 5 show
the average weekly price of the Vault NFT and of the physical shoes traded on StockX in 2022.
The average weekly price dynamics of additional Vault NFTs linked to two other Nike sneaker
models are presented in Appendix D. The charts differentiate the prices achieved through peer-
to-peer trades of the Vault NFT, StockX’s initial release price of the Vault NFT, and the average




181
      StockX, “Email From Shervin Moghaddam to Scutt Cutler and Yasir Malik,” January 20, 2022, STX0039795-
      801 at 795 (“No problem. Execute against the market…we are not here to preserve the price. Execute in 25 unit
      increments each half hour and be done in three hours.”).
182
      To obtain this number, I compute the ratio of the average price for Vault NFTs sold by StockX at market prices
      over the average physical price in January 2022 for each model. I then take the average of these ratios across
      models, weighted by the count of Vault NFTs sold by StockX at market prices. I exclude the price of Air Jordan
      1 sneakers from this average because they were released separately. See StockX, “Vault NFT Data,”
      STX0806025; StockX, “Physical Data,” STX0806026.
183
      The initial release price for Vault NFTs is inferred based on their uniform price of $300 sold by StockX on the
      first day of release. The average price of physical Air Jordan 1 sneakers sold on the StockX website on January
      26, 2022 is $295. See StockX, “Vault NFT Data,” STX0806025; StockX, “Physical Data,” STX0806026.
184
      $756 is the average peer-to-peer price on January 26, 2022, the day that Air Jordan 1 Vault NFTs were first
      released. 2.6 = $756 / $295, with $295 corresponding to the average physical price on that day. See StockX,
      “Vault NFT Data,” STX0806025; StockX, “Physical Data,” STX0806026.



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price that the Vault NFT was sold for by StockX. These latter prices differ for the Nike Blazer
Low sacai KAWS Neptune Blue due to the initial bug that increased scarcity.



       Exhibit 4: Weekly Average Prices of Nike Blazer Low sacai KAWS Neptune Blue
                                        Sneakers185




Notes:
[1] All Vault NFTs for this model were released by StockX on January 18, 2022.
[2] This chart shows the weekly average price of physical sneaker and Vault NFT transactions, using the variable for
Gross Monetary Value. “Vault NFT – Average price by StockX” reflects the average release price of the Vault
NFTs that were not sold at the initial release price. “Physical Item (on StockX)” refers to the average price of the
associated physical sneaker on StockX. StockX’s initial release price and the average release price differ, as StockX
had to release some of their NFTs at market value, rather than their initial price, due to a bug.




185
      StockX, “Vault NFT Data,” STX0806025; StockX, “Physical Data,” STX0806026. See also StockX, “Vault
      Drop 1 Pricing,” January 11, 2022, STX0121216 (providing release prices).



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Exhibit 5: Weekly Average Prices of Air Jordan 1 Retro High OG Patent Bred Sneakers186




Notes:
[1] All Vault NFTs for this model were released by StockX on January 26, 2022.
[2] This chart shows the weekly average price of physical sneaker and Vault NFT transactions, using the variable for
Gross Monetary Value. The initial release price for Vault NFTs is inferred based on their uniform price of $300 sold
by StockX on the first day of release. “Physical Item (on StockX)” refers to the average price of the associated
physical sneaker on StockX. “Vault NFT – Average price by StockX” reflects the average release price of the few
Vault NFTs that were not sold at the initial release price on the first day of release.


          81.     In May 2022, at the time of Nike’s first amended complaint, the price of the few
Vault NFTs traded on a peer-to-peer basis was, on average, 7% higher than the physical shoes




186
      StockX, “Vault NFT Data,” STX0806025; StockX, “Physical Data,” STX0806026. See also StockX, “Vault
      Drop 1 Pricing,” January 11, 2022, STX0121216 (providing release prices).



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traded on StockX,187 and 14% higher when looking at April and May together.188 Further,
looking at transactions of Vault NFTs associated with Nike shoes between April 1 and May 25,
2022,189 prices ranged between $143 and $479, for an average close to $300.190 Contrary to the
description in the First Amended Complaint, at this time, there were no “Nike-branded Vault
NFTs [] still selling for thousands of dollars above the price of the physical shoe.”191


          B.       The evolution of Vault NFT prices is similar to that of many other novel asset
                   classes subject to irrational exuberance among users

          82.      High initial prices followed by a price decline for traded assets—otherwise known
as bubbles—are not unusual in contexts where traders are uncertain about the true value of the
underlying technology. The price dynamics observed for StockX’s Vault NFTs are therefore not
unlike the ones seen for a range of assets linked to other new technologies since the nineteenth
century. The causes for these bubbles have been studied extensively by economists in the past
decades. In the case of Vault NFTs, the uncertainty regarding the valuation of the new asset, the
underlying technology, and the expected adoption rate of the new vault service may have caused
high initial demand followed by a rapid correction, possibly once uncertainty and initial over-
excitement faded.

          83.      Plentiful economic research has studied the dynamics of irrational over-
investments motivated by “fads and fashions, overconfidence and related psychological biases
that might lead to momentum trading, trend chasing, and the like.”192 This phenomenon has been

187
      This percentage corresponds to the ratio of the average peer-to-peer price over the average physical price in
      May 2022. These ratios are calculated individually for each model, and then weighted by the count of peer-to-
      peer Vault NFTs sold in May. See StockX, “Vault NFT Data,” STX0806025; StockX, “Physical Data,”
      STX0806026.
188
      This percentage corresponds to the ratio of the average peer-to-peer price over the average physical price in
      April and May 2022. These ratios are calculated individually for each model, and then weighted by the count of
      peer-to-peer Vault NFTs sold in April and May. See StockX, “Vault NFT Data,” STX0806025; StockX,
      “Physical Data,” STX0806026.
189
      The First Amended Complaint was filed on May 25, 2022.
190
      $299.5 is the average of each Vault NFT’s average peer-to-peer price, weighted by the number of Vault NFT
      transactions of each model between April 1 and May 25, 2022. See StockX, “Vault NFT Data,” STX0806025;
      StockX, “Physical Data,” STX0806026.
191
      First Amended Complaint, ¶ 65.
192
      Dilip Abreu and Markus Brunnermeier, “Bubbles and Crashes,” Econometrica, Vol. 71, No. 1, 2003, pp. 173-
      204.



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called irrational exuberance—a term coined by then-Federal Reserve Board chairman Alan
Greenspan when talking about the dot-com bubble in the 1990s—and memorialized by Nobel-
prize economist Robert Shiller in his seminal book Irrational Exuberance.193 Shiller describes
the Dutch tulip mania in the 1630s as the first speculative bubble of importance driven by
irrational exuberance, and he has more recently described Bitcoin as a financial bubble driven by
irrational exuberance.194 Further, numerous studies have shown that bubbles consistently form in
laboratory experiments, and are driven by investor behavior, including by irrationality exhibited
by investors at the beginning of experiments.195 These asset price bubbles form in laboratory
experiments even when investors have common knowledge of the fundamental value of the
asset.196

          84.      Uncertainty is a common cause of initial overinvestment in assets and, therefore,
inflated prices.197 This is particularly the case for assets linked to new technologies, “when

193
      Robert Shiller, Irrational Exuberance 3rd Ed., Princeton, NJ, Princeton University Press, 2016.
194
      Cointelegraph, “Nobel Prize Winner Uses Bitcoin as Example of Irrational Exuberance,” September 5, 2017,
      https://cointelegraph.com/news/nobel-prize-winner-uses-bitcoin-as-example-of-irrational-exuberance (When
      asked about a current example of irrational exuberance or a speculative bubble, Shiller claims “The best
      example right now [of irrational exuberance] is Bitcoin.”).
195
      Gunduz Caginalp, David Porter, and Vernon Smith, “Overreaction, Momentum, Liquidity, and Price Bubbles in
      Laboratory and Field Asset Markets,” Journal of Psychology and Financial Markets, Vol. 1, 2000, pp. 24-48, p.
      24 (“What drives stock prices? Certainly earnings—or more generally, fundamental value—play a role. Investor
      behavior, however, is increasingly considered as another important factor.”). See also Vivian Lei, Charles
      Noussair, and Charles Plott, “Nonspeculative Bubbles in Experimental Asset Markets: Lack of Common
      Knowledge of Rationality vs. Actual Irrationality,” Econometrica, Vol. 69, No. 4, 2001, pp. 831-859, p. 858
      (“A full investigation of the reasons behind the bubble phenomenon is far beyond the scope of a single set of
      experiments or a single paper. However, a brief description of what we think we have seen in our experiment
      might be useful. The behavior exhibited by the asset markets over time appears to have stages not unlike the
      stages that have been postulated for other experiments (Plot (1996)). The beginning involves some confusion
      and irrationality.”), p. 831 (“A bubble is operationally defined as ‘trade in high volumes at prices that are
      considerably at variance from intrinsic values.’ The result has been replicated and shown to be robust to several
      changes in the experimental design (see, for example, King et al. (1993), Fisher and Kelly (2000), Porter and
      Smith (1995), Van Boening, Williams, and LeMaster (1993).”).
196
      Vivian Lei, Charles Noussair, and Charles Plott, “Nonspeculative Bubbles in Experimental Asset Markets: Lack
      of Common Knowledge of Rationality vs. Actual Irrationality,” Econometrica, Vol. 69, No. 4, 2001, pp. 831-
      859, pp. 831-832 (“In all of these studies, markets are created for assets with a lifetime of a finite number of
      periods (typically 15 or 30 periods) … The dividend paid is identical for each trader and the dividend process is
      common knowledge to all traders. Rather than tracking the fundamental value, the market price time series is
      usually characterized by a ‘boom’ phase, a period of time in which prices are higher than fundamental values,
      often followed by a ‘crash,’ a sudden rapid drop in price.”).
197
      Brent Goldfarb and David Kirsch, Bubbles and Crashes: The Boom and Bust of Technological Innovation,
      Stanford, CA, Stanford University Press, 2019, p. 22 (“The financial economics literature has suggested that
      bubbles are more likely to occur under greater uncertainty and that speculation will end as this uncertainty is
      resolved.”).



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investors have trouble understanding how a technology will fit into [the] system, or alternatively,
when it is surmised that a new technology might displace extensive portions of a value chain,
then this will encourage investment.”198 Economic research has found that many of the major
technological innovations of the nineteenth and twentieth centuries, such as the steam engine
train, the telegraph, the airplane, or the personal computer have been accompanied by bubbles in
the stock price of parent firms.199 For many new products however, initial uncertainty and price
volatility tends to correct quickly once investors better understand the product and its value.200

          85.      More recently, analyses of trends in crypto asset markets have shown that
cryptocurrencies and other decentralized finance innovations are prone to speculative bubbles,
generally attributable to uncertainty in the future value of the assets, a lack of understanding of
fundamentals, and irrational exuberance. For instance, a literature review of investor behavior in
the cryptocurrency markets concluded, “the crypto market is dominated by irrational investors,
who base their investment decisions on market sentiment,” and that “the uncertainty of
fundamentals leads to investors’ dispersed beliefs, leading to high trading and speculative
bubbles.”201 Another paper, which studied the price patterns of 14 crypto assets—including two
cryptocurrencies, nine DeFi tokens, and three tokenized NFTs tradeable on cryptocurrency
exchanges—documented bubbles for the three types of assets.202 Recent research on Initial Coin
Offerings (ICOs), which are used to issue crypto tokens and have emerged as an alternative



198
      Brent Goldfarb and David Kirsch, Bubbles and Crashes: The Boom and Bust of Technological Innovation,
      Stanford, CA, Stanford University Press, 2019, p. 22.
199
      Alina Sorescu, Sorin M. Sorescu, Will J. Armstrong, and Bart Devoldere, “Two Centuries of Innovations and
      Stock Market Bubbles,” Marketing Science, Vol. 37, No. 4, 2018, pp. 507-529, p. 525 (“We examine 51 major
      innovations that were commercialized during the 19th and 20th centuries. In 37 of these 51 cases, we detect the
      presence of bubbles in the stock price of parent firms.”).
200
      Brent Goldfarb and David Kirsch, Bubbles and Crashes: The Boom and Bust of Technological Innovation,
      Stanford, CA, Stanford University Press, 2019, p. 22 (“The financial economics literature has suggested that
      bubbles are more likely to occur under greater uncertainty and that speculation will end as this uncertainty is
      resolved.”).
201
      José Almeida and Tiago Cruz Gonçalves, “A Systematic Literature Review of Investor Behavior in the
      Cryptocurrency Markets,” Journal of Behavioral and Experimental Finance, Vol. 37, 2023, pp. 1-18, p. 14.
202
      Youcef Maouchi, Lanouar Charfeddine, and Ghassen El Montasser, “Understanding Digital Bubbles Amidst the
      COVID-19 Pandemic: Evidence form DeFi and NFTs,” Finance Research Letters, Vol. 47, 2022, pp. 1-8, p. 5
      (“[W]e find that the average magnitude, measured as the price increase per bubble day, is much higher for DeFi
      and NFTs compared to pure cryptocurrencies … However, DeFi and NFTs experience less bubbles compared to
      pure cryptocurrencies.”).



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channel for start-up financing, describes a “relatively new and complex” market,203 “a novel
mechanism”204 with which investors have limited experience and that is surrounded by much
uncertainty.205 A prominent form of ICOs is where issued digital tokens function as an exclusive
medium of exchange on a new platform or represent access to a new product or service. Because
these tokens are easily tradable, price volatility is high and based on the market’s perception of
the underlying project. 206 Uncertainty arises from the fact that, while such “tokens are worthless
when the platform is small and processes a small number of transactions, these tokens appreciate
in value as the platform scales, automatically rewarding early contributors for taking risk and
supporting its development when its success was uncertain.”207

          86.      In the case of Vault NFTs, the uncertainty is compounded by the fact that Vault
NFTs are what economists call a network technology. A network technology is characterized by
the presence of network externalities linked to technology adoption: the value of the technology
for a given user depends on the adoption rate of others. One example of such technology, which I


203
      Sabrina Howell, Marina Niessner, and David Yermack, “Initial Coin Offerings: Financing Growth With
      Cryptocurrency Token Sales,” NBER Working Paper 24774, 2019, pp. 1-64, p. 1 (“Initial coin offerings (ICOs)
      are a new method of raising capital for early stage ventures, an alternative to more traditional sources of start-up
      funding such as venture capital (VC) and angel finance.”); Avtar Sehra, Economics of Initial Coin Offerings,
      August 2017, https://www researchgate.net/publication/351626829_Economics_of_Initial_Coin_Offerings, p. 2
      (“The market for Initial Coin Offerings (ICOs) is a relatively new and complex phenomenom, which consists of
      organisations issuing transferrable tokens to the general public.”).
204
      Christian Catalini and Joshua Gans, “Initial Coin Offerings and Value of Crypto Tokens,” Social Science
      Research Network, 2019, pp. 1-37, p. 2 (“Initial coin offerings (ICOs) have emerged as a novel mechanism for
      financing entrepreneurial ventures. Through an ICO, a venture offers a stock of specialized crypto tokens for
      sale with the promise that those tokens will operate as the only medium of exchange when accessing the
      venture’s future products.”).
205
      John Conley, “Blockchain and the Economics of Crypto-tokens and Initial Coin Offerings,” Vanderbilt
      University Department of Economics Working Papers, 2017, pp. 1-18, p. 12 (“Tokens are new thing. Investors
      don’t have much experience with them so they may not be very good and estimating their value. In addition,
      blockchain is a relatively new technology and there is a great deal of uncertainly [sic] over how much potential
      for profit there is and which sectors are the right ones to invest in.”).
206
      Avtar Sehra, Economics of Initial Coin Offerings, August 2017,
      https://www.researchgate net/publication/351626829_Economics_of_Initial_Coin_Offerings, p. 6 (“As
      discussed in the introduction, this is where the issued digital token represents access to some product or service
      that either already exists or will exist in the future. … However, unlike normal licenses these issued tokens are
      easily transferable, either directly between users (over the counter) or through an established cryptocurrency
      exchange. This ease of transferability of the tokens on an exchange enables liquidity and thus drives price
      volatility based on the market’s perception of the issuing project.”).
207
      Christian Catalini and Catherine Tucker, “Antitrust and Costless Verification: an Optimist and a Pessimistic
      View of the Implications of Blockchain Technology,” Antitrust Law Journal, Vol. 82, No. 3, 2019, pp. 861-872,
      pp. 866-867.



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have described in my research, is video-messaging.208 When Skype launched as one of the first
video-messaging services, its value to one person depended on how many others had adopted the
software and were available for calls. Similarly, the value of a Vault NFT for one person depends
on how many others will adopt the technology. This idea can be illustrated by considering the
potential for savings on shipping and authentication costs. Whether these savings will be realized
depends on the likelihood that one Vault NFT owner interested in selling will be able to find a
buyer interested in acquiring the digital asset. If no one wants to buy the Vault NFT, the owner
will need to retrieve the shoes from the StockX Vault—paying a $35 withdrawal fee, shipping
fees, and sales taxes209 in the process—and list them on StockX or another platform, where they
will again incur fees associated with verification and shipment of the shoes (see Exhibit 2).
However, if the Vault NFT is an accepted technology, owners will be able to sell these assets
without incurring those costs. Furthermore, the more times a Vault NFT is traded before the
physical pair of shoes is redeemed, the greater the potential savings in shipping and
authentication costs. Therefore, the expected benefits of the technology vary depending on future
technology adoption. In the case of a network technology, the valuation of a product by early
investors depends on those investors’ beliefs regarding technology adoption.

          87.       In addition, some investors may consciously invest in a new technology at
elevated prices if they have the confidence that, even if the asset is overvalued, there is a
sufficiently high chance that subsequent buyers will pay an even higher price for the asset. These
types of investors, which have been called rational arbitrageurs in the literature, understand that
the asset price will ultimately decline, but nevertheless choose to purchase it at an inflated price
in an attempt to “ride the bubble.”210 This type of behavior has been documented in cases



208
      Catherine Tucker, “Identifying Formal and Informal Influence in Technology Adoption with Network
      Externalities,” Management Science, Vol. 54, No. 12, 2008, pp. 2024-2038.
209
      StockX, “What fees are associated with Vault NFTs?,” April 14, 2022, https://stockx.com/help/articles/What-
      fees-are-associated-with-Vault-NFTs (“Vault NFTs have additional fees to withdraw your item. When
      withdrawing a Vault NFT, customers are subject to a $35 withdrawal fee, shipping, and any applicable sales
      tax.”).
210
      Dilip Abreu and Markus Brunnermeier, “Bubbles and Crashes,” Econometrica, Vol. 71, No. 1, 2003, pp. 173-
      204, p. 174 (“We study the impact of rational arbitrage in this setting. We suppose that rational arbitrageurs
      understand that the market will eventually collapse but meanwhile would like to ride the bubble as it continues
      to grow and generate high returns. Ideally, they would like to exit the market just prior to the crash, to ‘beat the
      gun’ in Keynes’ colorful phrase.”).



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including the South Sea Bubble or the Technology Bubble.211 The rational arbitrageurs’
willingness to pay is therefore rooted in their expectations about what other potential buyers will
be willing to pay. To the extent that a new asset is seen by rational arbitrageurs as likely to
achieve widespread adoption and likely to produce excitement and purchase interest, this
perception can facilitate higher willingness to pay by the rational arbitrageurs. Similarly, it is
possible that some early investors in Vault NFTs thought they were overvalued compared to the
physical shoes but were expecting the demand to grow such that they could plan on reselling at
an even higher price at a future date.




                                                      __________________________________________
                                                      Catherine Tucker, Ph.D.




211
      Peter Temin and Hans-Joachim Voth, “Riding the South Sea Bubble,” American Economic Review, Vol. 94,
      No. 5, 2004, pp. 1654-1668, p. 1654 (“This paper presents a case study of a well-informed investor in the South
      Sea bubble. We argue that Hoare’s Bank … knew that a bubble was in progress and nonetheless invested in the
      stock; it was profitable to ‘ride the bubble.’”); Markus Brunnermeier and Stefan Nagel, “Hedge Funds and the
      Technology Bubble,” The Journal of Finance, Vol. 59, No. 5, 2004, pp. 2013-2040, p. 2014 (“First, our analysis
      indicates that hedge funds were riding the technology bubble. Over our sample period 1998 to 2000, hedge fund
      portfolios were heavily tilted toward highly priced technology stocks. The proportion of their overall stock
      holdings devoted to this segment was higher than the corresponding weight of technology stocks in the market
      portfolio … Second, we find that that the hedge funds in our sample skillfully anticipated price peaks of
      individual technology stocks … As a result, hedge fund managers captured the upturn, but avoided much of the
      downturn.”).



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                                  APPENDIX A
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    Management* Pfc, 1. Hf, 1* Mldd\i 0.//* gg, 312+334

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      r L\glYc`j_\[ Xj gXik f] Ce]fidj WB\Xck_ZXi\ `e k_\ ;^\ f] ;eXcpk`Zj' j\i`\j

/6, WJXpnXccj Xe[ k_\ >\dXe[ ]fi H\nj' n`k_ F\jc\p =_`fl, Information Economics and
    Policy* Pfc, 03 Hf, 0* Dle\ 0./1* gg, 4/+47

/7, W>Xpj fe GXib\k Xe[ Bfd\ MXc\j' n`k_ DlXealXe T_Xe^ Xe[ N`e^ T_l, RAND Journal
    of Economics* Pfc, 22 Hf, 0* Mldd\i 0./1* gg, 115+14.*

0., WQ_\e >f\j L\kXi^\k`e^ Qfib9 N`d`e^ Ce]fidXk`fe Mg\Z`"Z`kp' n`k_ ;eaX FXdYi\Z_k,
    Journal of Marketing Research (Lead Article) Pfc, 3. Hf, 3* IZkfY\i 0./1* gg, 34/+354

      r JXlc ?, Ai\\e ;nXi[ ]fi k_\ W<\jk Xik`Zc\ `e k_\ DflieXc f] GXib\k`e^ L\j\XiZ_
        k_Xk [\dfejkiXk\j k_\ ^i\Xk\jk gfk\ek`Xc kf Zfeki`Ylk\ j`^e`"ZXekcp kf k_\ giXZk`Z\
        f] dXib\k`e^ i\j\XiZ_,'
      r Q`cc`Xd I'>\cc ;nXi[, N_`j XnXi[ XnXi[ _fefij k_\ DGL Xik`Zc\ glYc`j_\[ `e
        0./1 k_Xk _Xj dX[\ k_\ dfjk j`^e`"ZXek* cfe^+k\id Zfeki`Ylk`fe kf dXib\k`e^
        k_\fip* d\k_f[fcf^p* Xe[fi giXZk`Z\

0/, WB\Xck_ Ce]fidXk`fe ?oZ_Xe^\* Mpjk\d M`q\ Xe[ Ce]fidXk`fe M`cfj' n`k_ ;dXc`X G`cc\i,
    Journal of Health Economics* Pfc, 11 Hf, 0* DXelXip 0./28 gg, 06+20




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00, W?c\Zkife`Z >`jZfm\ip Xe[ k_\ ;[fgk`fe f] Ce]fidXk`fe N\Z_efcf^p' n`k_ ;dXc`X G`cc\i,
    Journal of Law, Economics, & Organization (Lead Article)* Pfc, 1., Hf, 0* GXp 0./2*
    gg, 0/5+021

01, WMfZ`Xc H\knfibj* J\ijfeXc`q\[ ;[m\ik`j`e^* Xe[ Ji`mXZp =fekifcj,'* Journal of
    Marketing Research* Pfc, 3/ Hf, 3* IZkfY\i 0./2* gg, 324+340,

      r =`kXk`fe f] ?oZ\cc\eZ\ ;nXi[ ?d\iXc[ JlYc`j_`e^
      r Hfd`eXk\[ ]fi Q`cc`Xd I'>\cc ;nXi[ (0./7)

02, WNiX[\dXibj* Ni`^^\ij* Xe[ Iec`e\ M\XiZ_' n`k_ Mk\]Xe <\Z_kfc[, Journal of Empirical
    Legal Studies* Pfc, // Hf, 2* >\Z\dY\i 0./2

03, WN_\ L\XZ_ Xe[ J\ijlXj`m\e\jj f] P`iXc P`[\f ;[j' Marketing Science* Pfc, 12 Hf, 0*
    0./3* gg, 06/+074

04, WJi`mXZp L\^lcXk`fe Xe[ GXib\k MkilZkli\' n`k_ DXd\j =XdgY\cc Xe[ ;m` Afc[]XiY,
    Journal of Economics & Management Strategy* Pfc 02* Hf, /* Mgi`e^ 0./3* gg, 25+51

05, WMkXe[Xi[`qXk`fe Xe[ k_\ ?]]\Zk`m\e\jj f] Iec`e\ ;[m\ik`j`e^' n`k_ ;m` Afc[]XiY,
    Management Science* Pfc, 4/ Hf, //* 0./3* gg, 05.5+05/7

06, WBXiY`e^\ij f] @X`cli\' n`k_ ?i`Z ;e[\ijfe* Mfe^ F`e Xe[ >leZXe M`d\jk\i, Journal of
    Marketing Research (Lead Article)* Pfc, 30 Hf, 3* IZk 0./3* gg, 36.+370

      r Q`cc`Xd I'>\cc ;nXi[, N_`j XnXi[ XnXi[ _fefij k_\ DGL Xik`Zc\ glYc`j_\[ `e
        0./3 k_Xk _Xj dX[\ k_\ dfjk j`^e`"ZXek* cfe^+k\id Zfeki`Ylk`fe kf dXib\k`e^
        k_\fip* d\k_f[fcf^p* Xe[fi giXZk`Z\

07, WN_\ ?]]\Zk f] JXk\ek F`k`^Xk`fe Xe[ JXk\ek ;jj\ik`fe ?ek`k`\j fe ?eki\gi\e\li`Xc
    ;Zk`m`kp' n`k_ Mk\g_\e E`\YqXbX, Xe[ Ai\^ LX]\ik, Research Policy* Pfc, 23 Hf, /*
    @\YilXip 0./4* gg, 0/6+01/

1., WQ_\e \Xicp X[fgk\ij [fe'k X[fgk' n`k_ =_i`jk`Xe =XkXc`e`, Science* Pfc, 135* Cjjl\
    4125* 0./5 gg, /13+/14

1/, WH\knfib MkXY`c`kp* H\knfib ?ok\ieXc`k`\j* Xe[ N\Z_efcf^p ;[fgk`fe' `e Advances in
    Strategic Management* Pfc, 15* 0./5* gg,/3/ + /53

10, W>`^`kXc =fek\ek ;^^i\^Xk`fe JcXk]fidj8 N_\ =Xj\ f] k_\ H\nj G\[`X,' n`k_ F\jc\p
    =_`fl + Journal of Economics & Management Strategy* Pfc, 04 Hf, 2* 0./5* gg, 560+6.3




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11, WM_flc[ Sfl NXi^\k ?Xicp Ni\e[ JifgX^Xkfij9 ?m`[\eZ\ ]ifd Nn`kk\i' n`k_ ;eaX
    FXdYi\Z_k Xe[ =Xifc`e\ Q`\ikq (F\X[ ;ik`Zc\), Marketing Science* Pfc, 15 Hf, 0* 0./6*
    gg, /55+/77

12, WJi`mXZp Jifk\Zk`fe* J\ijfeXc`q\[ G\[`Z`e\ Xe[ A\e\k`Z N\jk`e^' n`k_ ;dXc`X G`cc\i,
    Management Science* Pfc, 42 Hf, /.* 0./6* gg, 2426+2446,

13, W>`^`kXc ?Zfefd`Zj' n`k_ ;m` Afc[]XiY* Journal of Economic Literature* Pfc, 35 Hf, /*
    0./7* gg, 1+21

14, =fcclj`fe Yp ;c^fi`k_d8 >f\j <\kk\i >\dXe[ Ji\[`Zk`fe @XZ`c`kXk\ =ffi[`eXk`fe
    <\kn\\e M\cc\ij9 n`k_ D\Xe`e\ G`bcyj+N_Xc Management Science* Pfc, 43 Hf, 2* 0./7*
    gg, /330+/34/

15, W;c^fi`k_d`Z <`Xj9 ;e ?dg`i`ZXc Mkl[p `ekf ;ggXi\ek A\e[\i+<Xj\[ >`jZi`d`eXk`fe `e
    k_\ >`jgcXp f] MN?G =Xi\\i ;[j ' n`k_ ;eaX FXdYi\Z_k, Management Science 0./7*
    Pfc 43* Hf 5* gg, 0744+076/

      r N\Z_MCA+FXqXi`[`j Ji`q\ ]fi <\jk JXg\i `e CeefmXk`fe* N\Z_efcf^p Xe[
        Cek\iXZk`m`kp ]fi 0./7

16, WBfn ?]]\Zk`m\ Cj <cXZb+<fo >`^`kXc =fejld\i Jif"c`e^ ;e[ ;l[`\eZ\ >\c`m\ip98
    ?m`[\eZ\ ]ifd @`\c[ Mkl[`\j' n`k_ H`Zf H\ldXee Xe[ N`d Q_`k"\c[,
    Marketing Science* >\Z* 0./7* Pfc 16* Hf 4* gg, 7/6+704 (F\X[ ;ik`Zc\)

17, N_\ Mligi`j`e^ <i\X[k_ f] WBXiY`e^\ij f] @X`cli\' n`k_ >leZXe M`d\jk\i Xe[ =cX`i
    SXe^, Journal of Marketing Research 0./7* Pfc 34* Hf, 4* gg /.12+/.27

2., W=fejld\i gi`mXZp Xe[ k_\ ]lkli\ f] [XkX+YXj\[ `eefmXk`fe Xe[ dXib\k`e^,' n`k_
    ;c\oXe[\i <c\`\i Xe[ ;m` Afc[]XiY, International Journal of Research in Marketing
    Pfcld\ 15* Cjjl\ 1* M\gk\dY\i 0.0.* JX^\j 244+26.

2/, WCe]fidXk`feXc =_Xcc\e^\j `e Ide`Z_Xee\c GXib\k`e^8 L\d\[`\j Xe[ @lkli\ L\j\XiZ_'
    n`k_ Nfep =l`* ;e`e[pX A_fj\* BXeeX BXcXYli[X* LX^_liXd Cp\e^Xi* Ef\e Jfn\cj* M,
    M`i`Xd* Xe[ Mi`iXdXe PXebXkXidXe, Journal of Marketing 0.0/* Pfc, 63(/) /.1+/0.

20, WJif[lZk KlXc`kp Xe[ J\i]fidXeZ\ `e k_\ Cek\ie\k ;^\8 ?m`[\eZ\ ]ifd =i\Xk`fe`jk
    @i`\e[cp =lii`Zlcld' n`k_ ;eXepX M\e, Journal of Marketing Research 0.00* Pfc 37*
    Hf,/* gg 80//+07

21, W=fe[lZk`e^ L\j\XiZ_ `e GXib\k`e^ n`k_ KlXj`+?og\i`d\ekj' n`k_ ;m` Afc[]XiY Xe[
    SXen\e QXe^* (F\X[ ;ik`Zc\) Journal of Marketing 0.00* Pfc 64* Hf 1* gg /+0.,



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22, WBfn >f L\jki`Zk`fej fe ;[m\ik`j`e^ ;]]\Zk =fejld\i M\XiZ_9' n`k_ F\jc\p =_`fl*
    Management Science* 0.00* Pfc, 46* Hf, 0* gg, 644+660,

23, WJi`mXZp L\^lcXk`fe Xe[ <Xii`\ij kf JlYc`Z B\Xck_' n`k_ Df\ <lZbdXe Xe[ C[i`j
    ;[a\i`[, @fik_Zfd`e^ Xk Management Science* 0.00

24, W Q_Xk <cfZbZ_X`e =Xe Xe[ =Xe'k >f8 ;ggc`ZXk`fej kf GXib\k`e^ Xe[ Ji`mXZp' n`k_ ;c\o
    GXik_\nj, @fik_Zfd`e^ Xk International Journal of Research in Marketing

25, Q_Xk Npg\ f] >`^`kXc ;[m\ik`j`e^ `j Gfjk ?]]\Zk`m\ ]fi <0< Jifjg\Zk`e^9 N_\ =Xj\ f] CN
    >\Z`j`fe+GXb\ij n`k_ H`Zf H\ldXee* EldXi MlYiXdXepXd Xe[ Df_e GXij_Xcc
    =fe[`k`feXccp XZZ\gk\[ Xk Quantitative Marketing and Economics

26, WNP ;[m\ik`j`e^ Xe[ Iec`e\ MXc\j8 N_\ Lfc\ f] Cek\i+N\dgfiXc MlYjk`klk`fe' n`k_ ;eaX
    FXdYi\Z_k Xe[ Rl T_Xe^ =fe[`k`feXccp XZZ\gk\[ Xk Journal of Marketing Research

27, >XkX >\j\ikj Xe[ <cXZb <fo\j8 N_\ CdgXZk f] MfZ`f+?Zfefd`Z MkXklj fe =fejld\i
    Jif"c`e^ n`k_ H`Zf H\ldXee* F\m` EXgcXe* ;cXe G`jcfm\* Xe[ J`fki MXg`\!qp ejb`,
    =fe[`k`feXccp XZZ\gk\[ Management Science



    = B;JN?LM CH ? >CN?> PIFOG?M ;H> M OGG;LS J C?=?M

3., WGf[\c`e^ MfZ`Xc Cek\iXZk`fej8 C[\ek`"ZXk`fe* ?dg`i`ZXc G\k_f[j Xe[ Jfc`Zp
    Cdgc`ZXk`fej' n`k_ Q\j BXikdXee* Jle\\k GXeZ_Xe[X* BXi`b\j_ HX`i* GXkk <fk_e\i*
    J\k\i >f[[j* >Xm`[ Af[\j Xe[ EXik_`b BfjXeX^Xi* Marketing Letters* Pfc, /7 Hf, 1*
    >\Z\dY\i 0..6* gg, 065+1.2

3/, WM\XiZ_ ?e^`e\ ;[m\ik`j`e^ + ?oXd`e`e^ X gif"kXYc\ j`[\ f] k_\ cfe^ kX`c f] X[m\ik`j`e^
    k_Xk `j efk gfjj`Yc\ le[\i k_\ kiX[`k`feXc YifX[ZXjk X[m\ik`j`e^ df[\c' n`k_ ;m`
    Afc[]XiY* Communications of the ACM* Pfc, 3/ Hf, //* Hfm\dY\i 0..6* gg, 00+02

30, WIec`e\ ;[m\ik`j`e^'* n`k_ ;m` Afc[]XiY* Advances in Computers* Pfc, 6/* GXiZ_ 0.//*
    GXim`e T\cbfn`kq (?[)* ?cj\m`\i

31, WMlYjk`klk`fe Y\kn\\e Iec`e\ Xe[ I]#`e\ ;[m\ik`j`e^ GXib\kj'* n`k_ ;m` Afc[]XiY*
    Journal of Competition Law and Economics* Pfc, 5 Hf, /* GXiZ_ 0.//* gg, 15+22

32, WIec`e\ ;[m\ik`j`e^* <\_Xm`fiXc NXi^\k`e^* Xe[ Ji`mXZp'* n`k_ ;m` Afc[]XiY*
    Communications of the ACM* Pfc, 32 Hf, 3* GXp 0.//* 03+05

33, WJi`mXZp Xe[ CeefmXk`fe'* Innovation Policy and the Economy* Pfc, //* 0./0* Dfj_
    F\ie\i Xe[ MZfkk Mk\ie (?[j)* H<?L

                                            A-5
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34, WN_\ ?Zfefd`Zj f] ;[m\ik`j`e^ Xe[ Ji`mXZp'* International Journal of Industrial
    Organization* Pfc, 1. Hf, 1* GXp 0./0* gg, 104+107

35, W?dg`i`ZXc L\j\XiZ_ fe k_\ ?Zfefd`Z ?]]\Zkj f] Ji`mXZp L\^lcXk`fe', Journal on
    Telecommunications and High Technology Law* Pfc, /. Hf, 0* Mldd\i 0./0* gg,
    043+050

36, WMfZ`Xc H\knfibj* ;[m\ik`j`e^ Xe[ ;ek`kiljk'* n`k_ ;c\o GXik_\nj* George Mason Law
    Review* 0./0* Pfc /7 Hf 3,* gg, /0//+/005,

37, WQ_p GXeX^`e^ =ljkfd\i Ji`mXZp =Xe <\ Xe Iggfikle`kp' n`k_ ;m` Afc[]XiY* Spring
    2013, Sloan Management Review

4., WN_\ Cdgc`ZXk`fej f] Cdgifm\[ ;kki`Ylk`fe Xe[ G\XjliXY`c`kp ]fi ;ek`kiljk Xe[ Ji`mXZp
    `e Iec`e\ ;[m\ik`j`e^ GXib\kj'* George Mason Law Review* Pfc, 0 Hf, 0* gg, /.03+/.32
    (0./1),

4/, WJXk\ek Nifccj Xe[ N\Z_efcf^p >`]]lj`fe' =_Xgk\i `e H<?L Yffb WMkXe[Xi[j* JXk\ekj
    Xe[ CeefmXk`fej' (0./2)* N`dfk_p M`dZf\* ;aXp E, ;^iXnXc* Xe[ MklXik AiX_Xd

40, WJi`mXZp Xe[ k_\ Cek\ie\k' =_Xgk\i //* Handbook of Media Economics* 0./4* ?[`k\[ Yp
    M`dfe ;e[\ijfe Xe[ Df\c QXc[]f^\c

41, @ifek`\ij f] B\Xck_ Jfc`Zp8 >`^`kXc >XkX Xe[ J\ijfeXc`q\[ G\[`Z`e\* Innovation Policy
    and the Economy* Pfc, /3* 0./4* Dfj_ F\ie\i Xe[ MZfkk Mk\ie (?[j)* H<?L

42, WCdgXZkj f] Mlim\`ccXeZ\ fe <\_Xm`fi' n`k_ ;c\o GXik_\nj* `e AiXp* >Xm`[ =, Xe[
    B\e[\ijfe* Mk\g_\e (?[`kfij)* The Cambridge Handbook of Surveillance Law (0./5),

43, WIe Mkfibj Xe[ <XY`\j8 =fii\cXk`fe, =XljXc`kp Xe[ @`\c[ ?og\i`d\ekj* ' n`k_ ;eaX
    FXdYi\Z_k* GfK Marketing Intelligence Review* Pfc 6, Hf 0, 0./4

44, W@`\c[ ?og\i`d\ekj `e GXib\k`e^*' n`k_ ;eaX FXdYi\Z_k* Handbook of Marketing
    Analytics* ?[`k\[ Yp HXkXc`\ G`q`b Xe[ >fd`e`hl\ BXejj\ej* ?[nXi[ ?c^Xi
    JlYc`j_`e^* (0./6)

45, W=Xe <`^ >XkX Jifk\Zk X @`id ]ifd =fdg\k`k`fe9'* CPI Chronicle* DXelXip* 0./5 n`k_
    ;eaX FXdYi\Z_k

46, H\knfib ?]]\Zkj Xe[ GXib\k Jfn\i8 Q_Xk BXm\ Q\ F\Xie\[ `e k_\ FXjk >\ZX[\9
    Antitrust Pfc, 10 Hf 0,* Mgi`e^ 0./6

47, WCe\hlXc`kp* Ji`mXZp Xe[ >`^`kXc GXib\k >\j`^e'* n`k_ ;m` Afc[]XiY* =_Xgk\i `e Fair by
    Design \[`k\[ Yp MZfkk Efd`e\ij Xe[ ;c\o N\pk\cYfpd* 0./5* Io]fi[ Oe`m\ij`kp Ji\jj

                                            A-6
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5., W>`^`kXc >XkX* JcXk]fidj Xe[ k_\ OjlXc U;ek`kiljkV Mljg\Zkj8 H\knfib ?]]\Zkj*
    Mn`kZ_`e^ =fjkj* ?jj\ek`Xc @XZ`c`kp' Review of Industrial Organization Pfcld\ 32* gg
    461s472 (0./7)

5/, W;ek`kiljk Xe[ =fjkc\jj P\i`"ZXk`fe8 ;e fgk`d`jk`Z Xe[ X g\jj`d`jk`Z m`\n f] k_\
    `dgc`ZXk`fej f] YcfZbZ_X`e k\Z_efcf^p' n`k_ =_i`jk`Xe =XkXc`e`* Antitrust Law Journal +
    Pfcld\ 60 Cjjl\ 1* 0./7

50, Iec`e\ ;[m\ik`j`e^ Xe[ ;ek`kiljk8 H\knfib ?]]\Zkj* Mn`kZ_`e^ =fjkj Xe[ >XkX Xj Xe
    ?jj\ek`Xc @XZ`c`kp, ;gi`c 0./7* ‘Competition Policy International’

51, <cfZbZ_X`e Xe[ C[\ek`kp J\ij`jk\eZ\* n`k_ ;c\o GXik_\nj* =_Xgk\i `e Cryptoassets:
    Legal, Regulatory, and Monetary Perspective* \[`k\[ Yp =_i`j <ildd\i* Io]fi[
    Oe`m\ij`kp Ji\jj* 0./7,

52, W>`^`kXc GXib\k`e^*' n`k_ ;m` Afc[]XiY* `e k_\ Handbook of the Economics of Marketing*
    Pfcld\ /* \[`k\[ Yp DJ+>lY\ Xe[ J\k\i Lfjj`* gg, 037+07.* ?cj\m`\i

53, WJi`mXZp Jfc`Zp Xe[ =fdg\k`k`fe'* n`k_ ;c\o GXik_\nj, Brookings Papers

54, >`^`kXc Ce]iXjkilZkli\8 >f\j k_\ W=fi`e^' f] >`^`kXc JcXk]fidj dXb\ k_\d gXik f] >`^`kXc
    Ce]iXjkilZkli\9,$ (0.0.) `e W?Zfefd`Z ;eXcpj`j Xe[ Ce]iXjkilZkli\ Cem\jkd\ek' \[`k\[
    Yp ?[nXi[ F, AcX\j\i Xe[ DXd\j G, Jfk\iYX* Oe`m\ij`kp f] =_`ZX^f Ji\jj

55, =fdg\k`k`fe `e k_\ >`^`kXc ;[m\ik`j`e^ GXib\k* N_\ AcfYXc ;ek`kiljk L\gfik fe k_\
    >`^`kXc ?Zfefdp (0.0/)

56, Bfn JcXk]fidj =i\Xk\ PXcl\ N_ifl^_ =fi`e^ Xe[ Cdgc`ZXk`fej ]fi GXib\k >\"e`k`fe*
    =fdg\k`k`fe Jfc`Zp Cek\ieXk`feXc (0.00)

57, >`^`kXc >`jilgk`fe `e MZ_ffc`e^ Xe[ k_\ JXe[\d`Z8 >fZld\ek`e^ k_\ >`^`kXc
    Ce]iXjkilZkli\ >`m`[\ ;dfe^ MZ_ffc =_`c[i\e n`k_ ;eXepX M\e* MfZ`\kXc ?og\ikj
    ;Zk`fe (0.00) H\knfib

6., ;c^fi`k_d`Z ?oZclj`fe* <iffb`e^j JXg\i* (0.00)



    < IIEM ? >CN?>

6/, N_\ ?mfclk`fe f] ;ek`kiljk `e k_\ >`^`kXc ?iX8 ?jjXpj fe =fdg\k`k`fe Jfc`Zp* n`k_ >Xm`[
    ?mXej Xe[ ;cXe @\cj ;f, Hfm\dY\i 7* 0.0.



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60, <cfZbZ_X`e8 N_\ Cej`^_kj Sfl H\\[ ]ifd BXimXi[ <lj`e\jj L\m`\n (B<L Cej`^_kj
    M\i`\j)* 0./7

61, ?Zfefd`Z ;eXcpj`j f] k_\ >`^`kXc ?Zfefdp* Oe`m\ij`kp f] =_`ZX^f Ji\jj* 0./3* n`k_ ;m`
    Afc[]XiY Xe[ M_Xe\ Ai\\ejk\`e

62, N_\ ?Zfefd`Zj f] >`^`k`qXk`fe* ?[nXi[ ?c^Xi JlYc`j_`e^* 0./1,* n`k_ ;m` Afc[]XiY Xe[
    M_Xe\ Ai\\ejk\`e



    J IFC=S Q LCNCHA

63, I?=> Lfle[kXYc\ fe Ji`mXZp* L\gfik fe k_\ W?Zfefd`Z PXcl\ f] Iec`e\ Ce]fidXk`fe'*
    >\Z\dY\i 0./.

64, Qi`kk\e =fe^i\jj`feXc N\jk`dfep fe WCek\ie\k Ji`mXZp8 N_\ CdgXZk Xe[ <li[\e f]
    ?lifg\Xe L\^lcXk`fe*' O,M, Bflj\ ?e\i^p Xe[ =fdd\iZ\ =fdd`kk\\* M\gk\dY\i 0.//

65, Qi`kk\e =fe^i\jj`feXc N\jk`dfep fe W;c^fi`k_dj8 Bfn =fdgXe`\j' >\Z`j`fej ;Yflk
    >XkX Xe[ =fek\ek CdgXZk =fejld\ij*' O,M, Bflj\ ?e\i^p Xe[ =fdd\iZ\ =fdd`kk\\*
    Hfm\dY\i 0./5



    J;J?LM OH>?L L ?PC?Q

66, WMfZ`Xc ;[m\ik`j`e^8 Bfn ;[m\ik`j`e^ k_Xk ?ogc`Z`kcp Jifdfk\j MfZ`Xc Ce#l\eZ\ =Xe
    <XZb"i\', L\m`j\ Xe[ i\jlYd`k Xk Management Science

67, WJXk\ek Nifccj Xe[ N\Z_efcf^p >`]]lj`fe8 N_\ =Xj\ f] G\[`ZXc CdX^`e^' L\m`j\ Xe[
    i\jlYd`k Xk RAND Journal of Economics

7., WN_`i[+JXikp =\ik`"ZXk`fe8 N_\ =Xj\ f] G\[`ZXc >\m`Z\j' n`k_ =i`jk`eX H`jkfi L\m`j\
    Xe[ i\jlYd`k Xk Management Science

7/, WN\ej`c\ Jifdfk`fej `e >`jgcXp ;[m\ik`j`e^' n`k_ ;eaX FXdYi\Z_k L\m`j\ Xe[ i\jlYd`k
    Xk Quantitative Marketing and Economics

70, =_ffj`e^ kf >`jZfm\i k_\ Oebefne8 N_\ ?]]\Zkj f] =_f`Z\ fe Oj\ij' ;kk\ek`fe kf Iec`e\
    P`[\f ;[m\ik`j`e^$ n`k_ DXZb D`Xe^ T_\e_l` Xe[ =_\e^ Flf Xe[ =_\e^ S` Xe[ R`lg`e^
    F` L\m`j\ Xe[ i\jlYd`k Xk Management Science



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 71, WAlej* Ji`mXZp Xe[ =i`d\' n`k_ ;c\jjXe[if ;Zhl`jk` L\m`j\ Xe[ i\jlYd`k Xk
     Information Systems Research

 72, W>f\j CN F\X[ kf Gfi\ ?hlXc fi Gfi\ Oe\hlXc Ni\Xkd\ek9 ;e ?dg`i`ZXc Mkl[p f] k_\
     ?]]\Zk f] MdXikg_fe\ Oj\ fe MfZ`Xc Ce\hlXc`kp `e ?dgcfp\\+=ljkfd\i `ek\iXZk`fej'
     n`k_ M_lp` Sl Xe[ S`]\` QXe^, L\m`j\ Xe[ L\jlYd`k Xk Information Systems Research,

 73, N_\ ?]]\Zk f] MlYj`[`q`e^ >`^`kXc ?[lZXk`feXc =fek\ek8 ?m`[\eZ\ ]ifd X @`\c[
     ?og\i`d\ek n`k_ D`e^Zle =Xf Xe[ S`]\` QXe^, L\m`j\ Xe[ i\jlYd`k Xk Management
     Science

 74, ;c^fi`k_d`Z Ce#l\eZ\8 ?dg`i`ZXc ?m`[\eZ\ ]ifd G`Zifc\e[`e^ n`k_ D`Xe]\e^ Alf*
     R`kfe^ F` Xe[ =Xk_p SXe^, L\m`j\ Xe[ L\jlYd`k Xk Information Systems Research,

 75, MZXc`e^ MdXik =fekiXZkj m`X FXp\i+0 N\Z_efcf^`\j8 Mfd\ ?dg`i`ZXc ?m`[\eZ\, n`k_
     Q`c`Xd =fe^* R`Xe^ Bl`* Xe[ Flf]\e^ T_fl* L\m`j\ Xe[ L\jlYd`k Xk Management
     Science,

 76, W;ggXi\ek ;c^fi`k_d`Z >`jZi`d`eXk`fe Xe[ L\Xc+N`d\ ;c^fi`k_d`Z F\Xie`e^ n`k_ ;eaX
     FXdYi\Z_k

 77, WN_\ >`^`kXc Ji`mXZp JXiX[fo8 MdXcc Gfe\p* MdXcc =fjkj* MdXcc NXcb' n`k_ MljXe ;k_\p
     Xe[ =_i`jk`Xe =XkXc`e`* Xe[ ;c\o Gf\_i`e^

/.., WNiX[\f]]j `e ;lkfdXk\[ Jfc`k`ZXc ;[m\ik`j`e^ L\^lcXk`fe8 ?m`[\eZ\ ]ifd k_\ =IPC>+/7
     JXe[\d`Z' n`k_ AiXq`X =\Z\i\* =cXiX D\Xe* Xe[ P`eZ\ek F\]i\i\

/./, WMfZ`Xc >`jkXeZ`e^* Cek\ie\k ;ZZ\jj Xe[ Ce\hlXc`kp' n`k_ F\jc`\ =_`fl

/.0, WN_\ M_`]k\ij Xe[ P`iXc`kp f] BXk\ Mg\\Z_ Iec`e\' n`k_ OkkXiX ;eXek_Xbi`j_eXe

/.1, >\gcXk]fid`e^ Xe[ k_\ =fekifc f] G`j`e]fidXk`fe8 ?m`[\eZ\ ]ifd JXic\i n`k_ MX_Xij_
     ;^XinXc Xe[ OkkXiX G ;eXek_Xbi`j_eXe

/.2, N_\ Lfc\ f] >\cXp\[ >XkX `e k_\ =IPC>+/7 JXe[\d`Z* n`k_ S`]\` QXe^



     Q ILE CH J LIAL?MM


     Data Analysis

/.3, W<`^ <X[ >XkX8 N_\ =Xj\ f] @fi+Jif"k =fcc\^\ ;[m\ik`j`e^' n`k_ ;m`eXj_ AXeeXdXe\e`
     Xe[ ;m` Afc[]XiY

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/.4, WM\c\Zk`fe Xe[ Ce\hlXc`kp `e <`^ >XkX' n`k_ ;dXc`X G`cc\i

/.5, WMg`ccfm\ij ]ifd Jif[lZk @X`cli\' n`k_ ;dXc`X G`cc\i

/.6, WLlc\j @fi X HXjZ\ek >fdX`e8 N\Z_efcf^`ZXc CeefmXk`fe Xe[ L\^lcXkfip OeZ\ikX`ekp'
     n`k_ =_i`jk`Xe =XkXc`e`

     Data Collection

/.7, WG\i^\ij Xe[ <`^ >XkX8 ?m`[\eZ\ ]ifd B\Xck_ZXi\' n`k_ ;dXc`X G`cc\i

//., WJi`mXZp L\^lcXk`fe Xe[ ?[lZXk`fe CN' n`k_ ;dXc`X G`cc\i Xe[ ;m` Afc[]XiY

///, WN_\ FXZb f] ;gg\Xc f] =ifjj+JXik`jXe ;gg\Xcj8 ?m`[\eZ\ ]ifd Xe ?og\i`d\ek fe
     @XZ\Yffb' n`k_ =_i`jk`eX EX=_Xg\cc\

//0, WN_\ L\j`c`\eZ\ f] @iXeZ_`j\ <lj`e\jj Gf[\cj8 ?m`[\eZ\ ]ifd k_\ JXe[\d`Z' n`k_ ;m`
     Afc[]XiY Xe[ P\i`eX Kl\
     Manuscripts

//1, W>XkX Ji`mXZp Xe[ =_`c[i\e8 ;e ?dg`i`ZXc Mkl[p f] GfY`c\ ;ggc`ZXk`fej' n`k_ AiXq`X
     =\Z\i\* @XYi`Z\ F\ Al\c* P`eZ\ek F\]i\i\* Xe[ JX`+F`e^ S`e

//2, WAfm\ied\ek Mlim\`ccXeZ\ Xe[ Cek\ie\k M\XiZ_ <\_Xm`fi' n`k_ ;c\o GXik_\nj

//3, W; H\n G\k_f[ f] G\Xjli`e^ Iec`e\ G\[`X ;[m\ik`j`e^ ?]]\Zk`m\e\jj8 Jifjg\Zk`m\
     G\kX+;eXcpj`j `e GXib\k`e^' n`k_ Al` F`Y\iXc`* Ac\e F, OiYXe* <\e\[`Zk A, >\ccX\ik*
     SXbfm =, <Xik* Xe[ M, Mki\d\ijZ_,

//4, *9<6=60/88D 2A/8@/?6:4 ?B;$>6121 :2?B;=7 23320?>% -52 0/>2 ;3 2820?=;:60
     </D92:?>

//5, WJ\ijfeXc`q`e^ d\ekXc "k ]fi fec`e\ j_fgg`e^ Xggc`ZXk`fej + Bfn k_\ jlZZ\jj f]
     i\Zfdd\e[Xk`fej [\g\e[j fe d\ekXc ZXk\^fi`qXk`fe Xe[ d\ekXc Yl[^\k`e^' n`k_ Ic`m\i
     ?di`Z_ Xe[ N_fdXj Ll[fcg_,



C HPCN?> M ?GCH;LM


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/, GXp 0.01* Oe`m\ij`kp f] QXj_`e^kfe
0, GXp 0.01* NIG Aiflg* B<M
1, ;gi`c 0.01* N`cYli^ Oe`m\ij`kp

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 2, ;gi`c 0.01* SXc\ Oe`m\ij`kp
 3, GXiZ_ 0.01* ?dfip Oe`m\ij`kp
 4, GXiZ_ 0.01* Oe`m\ij`kp f] Tli`Z_* =ipgkf\Zfefd`Zj ^iflg
 5, @\YilXip 0.01* =<?L @fild
 6, @\YilXip 0.01* Oe`m\ij`kp f] ;i`qfeX
 7, @\YilXip 0.01* =fcldY`X Oe`m\ij`kp* GXib\k`e^ Aiflg
/., @\YilXip 0.01* H\n Sfib Oe`m\ij`kp* CM Aiflg
//, Hfm\dY\i 0.00* FM?* GXib\k`e^ Aiflg
/0, M\gk\dY\i 0.00* ;[m\ik`j`e^ L\j\XiZ_ Aiflg ;dXqfe
/1, GXiZ_ 0.00* GXib\k`e^ Aiflg* LfkdXe* Oe`m\ij`kp f] Nfifekf
/2, GXiZ_ 0.00* CN Aiflg* EiXee\ik MZ_ffc* Jli[l\ Oe`m\ij`kp
/3, Hfm\dY\i 0.0/* Nl]kj Oe`m\ij`kp* ?Zfefd`Zj >\gXikd\ek
/4, IZkfY\i 0.0/* GZA`cc Oe`m\ij`kp* GXib\k`e^ Aiflg
/5, M\gk\dY\i 0.0/* MkfZb_fcd <lj`e\jj MZ_ffc
/6, GXp 0.0/* MX]\^iXg_ M\d`eXi
/7, `k\d ;gi`c 0.0/* GXib\k`e^ MZ`\eZ\ Cejk`klk\
0., ;gi`c 0.0/* A\fi^\ GXjfe Oe`m\ij`kp* FXn Xe[ ?Zfefd`Zj M\d`eXi
0/, GXiZ_ 0.0/* GXib\k`e^ Aiflg* Oe`m\ij`kp f] G`Z_`^Xe
00, GXiZ_ 0.0/* <C>N* <XmXi`Xe ;ZX[\dp f] MZ`\eZ\j Xe[ BldXe`k`\j
01, @\YilXip 0.0/* Oe`m\ij`kp f] P`i^`e`X* FXn Xe[ ?Zfefd`Zj M\d`eXi
02, DXelXip 0.0/* GXib\k`e^ Aiflg* =Xie\^`\ G\ccfe Oe`m\ij`kp
03, >\Z\dY\i 0.0.* <fjkfe Oe`m\ij`kp* <fjkfe >`^`kXc F\X[\ij_`g @fild
04, >\Z\dY\i 0.0.* Nflcflj\ Oe`m\ij`kp* @iXeZ\
05, Hfm\dY\i 0.0.* Flf_Xe ;ZX[\dp* JcXk]fid ?Zfefdp Xe[ GXib\k >peXd`Zj* P`iklXc
    M\d`eXi
06, Hfm\dY\i 0.0.* Df_e Bfgb`ej Oe`m\ij`kp
07, IZkfY\i 0.0.* Q_Xikfe* GXib\k`e^ Aiflg
1., IZkfY\i 0.0.* CN;G* G\o`Zf =`kp
1/, M\gk\dY\i 0.0.* ?Zfe* MkXkj Xe[ GF N\Xd* ?kjp
10, Dle\ 0.0.* =GO M\d`eXi
11, ;gi`c 0.0.* P`iklXc >`^`kXc ?Zfefdp M\d`eXi
12, GXiZ_ 0.0.* CM ^iflg* Oe`m\ij`kp f] G`ee\jfkX
13, @\YilXip 0.0.* A\fi^`X Cejk`klk\ f] N\Z_efcf^p* A;
14, >\Z\dY\i 0./7* B<M @`\c[ ?og\i`d\ekj M\d`eXi* =XdYi`[^\* G;
15, Hfm\dY\i 0./7* <Xeb f] =XeX[X* IkkXnX
16, GXp 0./7* Df`ek+?Zfefd`Zj M\d`eXi* ;lkfefdflj Oe`m\ij`kp f] <XiZ\cfeX) Xe[ k_\ C;?
    (Cejk`klk\ ]fi ?Zfefd`Z ;eXcpj`j)
17, GXiZ_ 0./7* FGO =\ek\i ]fi ;[mXeZ\[ GXeX^\d\ek Mkl[`\j `e Gle`Z_
2., @\YilXip 0./7* <\ic`e ;ggc`\[ G`Zif M\d`eXi
2/, DXelXip 0./7* GXib\k`e^ Aiflg* Oe`m\ij`kp f] <fcf^eX
20, DXelXip 0./7* GXib\k`e^ Aiflg* Oe`m\ij`kp =fcc\^\* Ffe[fe
21, DXelXip 0./7* GXib\k`e^ Aiflg* Ffe[fe <lj`e\jj MZ_ffc
22, Hfm\dY\i 0./6* GXib\k`e^ Aiflg* B?= JXi`j* @iXeZ\
23, Hfm\dY\i 0./6* GXeX^\d\ek Aiflg* =Xjj <lj`e\jj MZ_ffc* =`kp Oe`m\ij`kp f] Ffe[fe*
    OE


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24, Hfm\dY\i 0./6* GXib\k`e^ Aiflg* MI;M Oe`m\ij`kp f] Ffe[fe
25, Hfm\dY\i 0./6* ;cc Mflcj =fcc\^\* Io]fi[
26, Hfm\dY\i 0./6* ?Zfefd`Zj Aiflg* JXi`j N\c\Zfd
27, IZkfY\i 0./6* GXib\k`e^ Aiflg* Oe`m\ij`kp f] ;djk\i[Xd* H\k_\icXe[j
3., IZkfY\i 0./6* GXib\k`e^ Aiflg* E`e^'j <lj`e\jj MZ_ffc* E`e^'j =fcc\^\* Ffe[fe
3/, M\gk\dY\i 0./6* GXib\k`e^ Aiflg* Oe`m\ij`kp f] @iXeb]lik* A\idXep
30, Dle\ 0./6* BXiY`e Cejk`klk\ f] N\Z_efcf^p* =_`eX
31, @\YilXip 0./6* CM-IG Aiflg* H\n Sfib Oe`m\ij`kp* HS
32, Hfm\dY\i 0./5* GXib\k`e^ Aiflg* LfZ_\jk\i Oe`m\ij`kp* HS
33, IZkfY\i 0./5* GXib\k`e^ Aiflg* GXipcXe[ Oe`m\ij`kp* G>
34, GXp 0./5* GXib\k`e^ Aiflg* Ic[ >fd`e`fe Oe`m\ij`kp
35, ;gi`c 0./5* GXib\k`e^ Aiflg* Oe`m\ij`kp f] Mflk_\ie =Xc`]fie`X
36, GXiZ_ 0./5* GXib\k`e^ Aiflg* ;i`jfe MZ_ffc f] <lj`e\jj* C>=* CjiX\c
37, DXelXip 0./5* >`jk`e^l`j_\[ Mg\Xb\ij M\i`\j* GZA`cc Oe`m\ij`kp* =XeX[X
4., M\gk\dY\i 0./4* N\Z_efcf^p Aiflg* BXimXi[ <lj`e\jj MZ_ffc* G;
4/, ;l^ljk 0./4* Mflk_\ie D`Xkfe^ Oe`m\ij`kp* M`Z_lXe* =_`eX
40, GXp 0./4* =_XgdXe Oe`m\ij`kp* GXib\k`e^ Aiflg
41, ;gi`c 0./4* =Xie\^`\ G\ccfe Oe`m\ij`kp* JlYc`Z Jfc`Zp Aiflg
42, ;gi`c 0./4* BXimXi[ <lj`e\jj MZ_ffc* ?eki\gi\e\li`Xc GXeX^\d\ek Aiflg
43, GXiZ_ 0./4* CHM?;>* GXib\k`e^ Aiflg
44, GXiZ_ 0./4* Oe`m\ij`kp f] JXi`j+Ml[* Ji`mXZp L\j\XiZ_ Aiflg
45, GXiZ_ 0./4* P`\eeX Oe`m\ij`kp f] ?Zfefd`Zj Xe[ <lj`e\jj* GXib\k`e^ Aiflg
46, M\gk\dY\i 0./3 Oe`m\ij`kp f] GXipcXe[* CM Aiflg
47, Dle\ 0./3* GXib\k`e^ Aiflg* Oe`m\ij`kp f] =XdYi`[^\* OE
5., GXp 0./3* GXib\k`e^ Aiflg* Oe`m\ij`kp f] N\oXj Xk >XccXj* NR
5/, GXiZ_ 0./3* B\Xck_ Jfc`Zp Aiflg* A\fi^`X MkXk\ Oe`m\ij`kp* A;
50, GXiZ_ 0./3* GXib\k`e^ Aiflg* Oe`m\ij`kp f] =fcfiX[f* =I
51, @\YilXip 0./3* MkiXk\^p Aiflg* Oe`m\ij`kp f] Hfik_ =Xifc`eX* H=
52, DXelXip 0./3* GXib\k`e^ Aiflg* ?dfip Oe`m\ij`kp* A;
53, >\Z\dY\i 0./2* IJCG* Q_Xikfe MZ_ffc f] GXeX^\d\ek* J;
54, IZkfY\i 0./2* ?Zfefd`Zj >\gXikd\ek* SXc\ Oe`m\ij`kp* =N
55, M\gk\dY\i 0./2* GXib\k`e^ Aiflg* <fjkfe Oe`m\ij`kp* G;
56, GXiZ_ 0./2* N\Z_efcf^p Aiflg* Oe`m\ij`kp f] =Xc`]fie`X Xk <\ib\c\p* =;
57, DXelXip 0./2* GXib\k`e^ >\gXikd\ek Xk N\oXj ;&G
6., Hfm\dY\i 0./1* GXib\k`e^ Aiflg* Oe`m\ij`kp f] =Xc`]fie`X Xk <\ib\c\p* =;
6/, IZkfY\i 0./1* GXib\k`e^ Aiflg* NlcXe\ Oe`m\ij`kp* F;
60, IZkfY\i 0./1* GXib\k`e^ Aiflg* Oe`m\ij`kp f] Bfljkfe* NR
61, GXp 0./1* NlZb MZ_ffc f] GXeX^\d\ek* >Xikdflk_ Oe`m\ij`kp* HB
62, GXiZ_ 0./1* ?Zfefd`Zj >\gXikd\ek* Oe`m\ij`kp f] Nflcflj\
63, GXiZ_ 0./1* GXib\k`e^ Aiflg* Lfkk\i[Xd Oe`m\ij`kp
64, GXiZ_ 0./1* ?Zfefd`Zj >\gXikd\ek* Oe`m\ij`kp f] Tli`Z_
65, GXiZ_ 0./1* GXib\k`e^ ^iflg* A\fi^`X N\Z_
66, DXelXip 0./1* ;e[\ijfe MZ_ffc* O=F;
67, DXelXip 0./1* GXib\k`e^ Aiflg* =GO
7., IZkfY\i 0./0* GXib\k`e^ Aiflg* MkXe]fi[ Oe`m\ij`kp


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 7/, IZkfY\i 0./0* GXib\k`e^ Aiflg* =fcldY`X Oe`m\ij`kp
 70, IZkfY\i 0./0* GXib\k`e^ Aiflg* Oe`m\ij`kp f] N\oXj Xk ;ljk`e
 71, M\gk\dY\i 0./0* GXib\k`e^ Aiflg* BXimXi[ <lj`e\jj MZ_ffc
 72, Dle\ 0./0* MkiXk\^p Aiflg* Ffe[fe <lj`e\jj MZ_ffc
 73, GXiZ_ 0./0* GXib\k`e^ Aiflg* =fie\cc
 74, @\YilXip 0./0* CM Aiflg* Ce[`Xe MZ_ffc f] <lj`e\jj
 75, @\YilXip 0./0* GXib\k`e^ Aiflg* Q_Xikfe
 76, DXelXip 0./0* GXib\k`e^ Aiflg* O=F;
 77, Hfm\dY\i 0.//* GXib\k`e^ Aiflg* Oe`m\ij`kp f] LfZ_\jk\i
/.., IZkfY\i 0.//* GXib\k`e^ Aiflg* Oe`m\ij`kp f] Tli`Z_
/./, IZkfY\i 0.//* >\gXikd\ek f] FXn Xe[ ?Zfefd`Zj* Mn`jj @\[\iXc Cejk`klk\ f] N\Z_efcf^p*
     Tli`Z_
/.0, GXp 0.//* GXib\k`e^ Aiflg* HXk`feXc Oe`m\ij`kp f] M`e^Xgfi\
/.1, GXp 0.//* CM Aiflg* HXk`feXc Oe`m\ij`kp f] M`e^Xgfi\
/.2, GXp 0.//* MkiXk\^p Aiflg* FGO Gle`Z_
/.3, GXp 0.//* GXib\k`e^ Aiflg* H\n Sfib Oe`m\ij`kp
/.4, GXiZ_ 0.//* GXib\k`e^ Aiflg* @cfi`[X Oe`m\ij`kp
/.5, @\YilXip 0.//* CM Aiflg* H\n Sfib Oe`m\ij`kp
/.6, Hfm\dY\i 0./.* ?lifg\Xe MZ_ffc f] GXeX^\d\ek Xe[ N\Z_efcf^p
/.7, IZkfY\i 0./.* GXib\k`e^ Aiflg* SXc\ Oe`m\ij`kp
//., IZkfY\i 0./.* H\knfib\[ <lj`e\jj Aiflg* BXimXi[ <lj`e\jj MZ_ffc
///, M\gk\dY\i 0./.* NC?M Aiflg* GCN McfXe
//0, Dlcp 0./.* >\gXikd\ek f] ?Zfefd`Zj* Oe`m\ij`kp f] GXee_\`d
//1, GXiZ_ 0./.* GXib\k`e^ Aiflg* Q_Xikfe MZ_ffc* Oe`m\ij`kp f] J\eejpcmXe`X
//2, DXelXip 0./.* GXib\k`e^ Aiflg* Oe`m\ij`kp f] G`Z_`^Xe
//3, Hfm\dY\i 0..7* GXib\k`e^ Aiflg* Oe`m\ij`kp f] =Xc`]fie`X Xk <\ib\c\p
//4, IZkfY\i 0..7* >`^`kXc <lj`e\jj M\d`eXi* GCN McfXe
//5, >\Z\dY\i 0..6* GXib\k`e^ Aiflg* GCN McfXe
//6, Hfm\dY\i 0..6* GXib\k`e^ Aiflg* LX[p MZ_ffc f] <lj`e\jj* O=M>
//7, M\gk\dY\i 0..6* MkiXk\^p Aiflg* GCN McfXe
/0., GXp 0..6* >`^`kXc MkiXk\^p Aiflg* NlZb MZ_ffc f] <lj`e\jj* >Xikdflk_ Oe`m\ij`kp
/0/, ;gi`c 0..6* E\ccf^^ GXeX^\d\ek Xe[ MkiXk\^p Aiflg* Hfik_n\jk\ie Oe`m\ij`kp
/00, GXiZ_ 0..6* GXib\k`e^ Aiflg* >lb\ Oe`m\ij`kp
/01, GXiZ_ 0..6* MkiXk\^p Aiflg* =_`ZX^f AM<
/02, Dlcp 0..5* GXib\k`e^ Aiflg* Ffe[fe <lj`e\jj MZ_ffc* Ffe[fe* OE
/03, ;gi`c 0..5* GXib\k`e^ Aiflg* =_`ZX^f AM<
/04, GXiZ_ 0..5* GXib\k`e^ Aiflg* LfkdXe MZ_ffc* Oe`m\ij`kp f] Nfifekf
/05, Hfm\dY\i 0..3* ?Zfefd`Zj >\gXikd\ek* BXimXi[ Oe`m\ij`kp
/06, IZkfY\i 0..2+@\YilXip 0..3 (DfY GXib\k)8 HSO Mk\ie* Oe`m\ij`kp f] G`Z_`^Xe*
     Oe`m\ij`kp f] ;i`qfeX* Oe`m\ij`kp f] <i`k`j_ =fcldY`X* @\[\iXc L\j\im\ <fXi[* @\[\iXc
     L\j\im\ <Xeb f] H\n Sfib* BXimXi[ <lj`e\jj MZ_ffc* E\ccf^^* GCN McfXe* @\[\iXc
     L\j\im\ <Xeb f] =_`ZX^f* MkXe]fi[ ?Zfefd`Zj >\gXikd\ek


     Other
/07, ;gi`c 0.0/* ;d\i`ZXe ?ek\igi`j\ Cejk`klk\


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/1., Dle\ 0.0.* ?? N`d\j+ Ji`mXZp Xe[ M\Zli`kp [li`e^ =fm`[+/7
/1/, GXp 0.0.* N_\ >`^`kXc ?Zfefdp & N_\ =fifeXm`ilj* <\ik\cjdXee @fle[Xk`fe M\d`eXi
/10, ;gi`c 0.0.* N\Z_efcf^p Jfc`Zp Cejk`klk\
/11, IZkfY\i 0./6* >`^`kXc =fdg\k`k`fe ?og\ik JXe\c* BG Ni\Xjlip* OE
/12, IZkfY\i 0./6* =fdg\k`k`fe Xe[ GXib\kj ;lk_fi`kp* OE
/13, DXelXip 0./6* CG@
/14, >\Z\dY\i 0./5* N\Z_efcf^p Jfc`Zp Cejk`klk\
/15, IZkfY\i 0./4* @\[\iXc =fddle`ZXk`fej =fdd`jj`fe
/16, ;gi`c 0./3* @\[\iXc =fddle`ZXk`fej =fdd`jj`fe
/17, Hfm\dY\i 0./2* I]"Z\ f] L\j\XiZ_ Xk k_\ =fejld\i @`eXeZ`Xc Jifk\Zk`fe <li\Xl
/2., ;gi`c 0./2* <`^ >XkX Qfib`e^ Aiflg* N_\ Q_`k\ Bflj\,
/2/, @\YilXip 0./2* GX`e Mki\\k JXk\ek =fXc`k`fe* JXe\c _fjk\[ Xk k_\ M\eXk\ Yp M\eXkfi
     Iii`e BXkZ_
/20, Dlcp 0./1* @\[\iXc =fddle`ZXk`fej =fdd`jj`fe
/21, ;l^ljk 0./0* >A =fdg\k`k`fe* ?lifg\Xe =fdd`jj`fe* <iljj\cj
/22, ;l^ljk 0./0* N\Z_efcf^p Jfc`Zp Cejk`klk\ =fe]\i\eZ\* ;jg\e
/23, >\Z\dY\i 0.//* BXmXj >`^`kXc* H\n Sfib
/24, Dle\ 0.//* ?e\ZX
/25, M\gk\dY\i 0./.* @\[\iXc NiX[\ =fdd`jj`fe
/26, M\gk\dY\i 0./.* Aff^c\ ?lifg\Xe JlYc`Z Jfc`Zp Oe`k* JXi`j
/27, Dlcp 0..7* Ce]fidXk`fe N\Z_efcf^p Xe[ CeefmXk`fe @fle[Xk`fe* QXj_`e^kfe >=


  J L?M?HN;NCIHM I@ L ?M?;L=B ;N = IH@?L?H=?M


  /, Dle\ 0.01* GXib\k`e^ MZ`\eZ\* G`Xd`* @F
  0, Dle\ 0.01* >fZkfiXc =fejfik`ld* G`Xd`* @F
  1, ;gi`c 0.01* Oe`m\ij`kp =fcc\^\ Ffe[fe* =fdg\k`k`fe FXn Xe[ Jfc`Zp `e X >XkX+>i`m\e
     ?Zfefdp
  2, >\Z\dY\i 0.00* E\pefk\ W=fe]\i\eZ\ fe ;ik`"Z`Xc Cek\cc`^\eZ\* GXZ_`e\ F\Xie`e^ Xe[
     <lj`e\jj ;eXcpk`Zj* BXimXi[ Oe`m\ij`kp
  3, GXp 0.00* E\pefk\ W ;C Xe[ ;eXcpk`Zj ]fi MfZ`Xc =Xlj\j' Zfe]\i\eZ\* Oe`m\ij`kp f]
     GXipcXe[* =fcc\^\ JXib
  4, >\Z\dY\i 0.0/* E\pefk\* 2k_ L\j\XiZ_ fe CeefmXk`fe* MZ`\eZ\ Xe[ ?eki\gi\e\lij_`g
     Qfibj_fg* GXo JcXeZb Cejk`klk\
  5, Hfm\dY\i 0.0/* E\pefk\* Nfb\efd`Zj* HSO
  6, Dle\ 0.0/* GXib\k`e^ MZ`\eZ\
  7, Dle\ 0.0/* I?=> nfibj_fg fe k_\ PXcl\ f] >XkX
 /., Dle\ 0.0/* =_`\] =fdg\k`k`fe ?Zfefd`jk ?=H nfib`e^ ^iflg ;eelXc G\\k`e^
 //, GXp 0.0/* Cek\ieXk`feXc @`eXeZ\ =figfiXk`fe* Qfic[ <Xeb C@= >`^`kXc DfYj
 /0, GXp 0.0/* A0. @iXd\nfib Qfib`e^ Aiflg M\d`eXi fe >XkX ;ZZ\jj Xe[ ;mX`cXY`c`kp
 /1, GXp 0.0/* >XkX Xe[ `eefmXk`fe8 jfclk`fej Xe[ Ylj`e\jj df[\cj `e k_\ [`^`kXc \Zfefdp
     (<iXq`c)
 /2, GXiZ_ 0.0/* >`^`kXc ?Zfefd`Zj M\d`eXi* >`^`kXc Nlkfi`Xc


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/3, >\Z\dY\i 0.0.* >`^`kXc ?Zfefd`Zj L\j\XiZ_ H\knfib =fe]\i\eZ\
/4, >\Z\dY\i 0.0.* =fe]\i\eZ\ fe ;ik`"Z`Xc Cek\cc`^\eZ\* GXZ_`e\ F\Xie`e^* Xe[ <lj`e\jj
    ;eXcpk`Zj
/5, >\Z\dY\i 0.0.* B\Xck_ Mpjk\dj CeefmXk`fe ;[m`jfip <fXi[ G\\k`e^
/6, Hfm\dY\i 0.0.* 0e[ Flf_Xe ;ZX[\dp @ifek`\i >`Xcf^l\ + JcXk]fid ?Zfefdp Xe[ GXib\k
    >peXd`Zj
/7, IZkfY\i 0.0.* Jfc`Zp Nffcb`k ]fi X <\kk\i ?lifg\* ?lifg\Xe =fdd`jj`fe
0., M\gk\dY\i 0.0.* C=H ;eelXc Zfe]\i\eZ\
0/, Dle\ 0.0.* GXib\k`e^ MZ`\eZ\
00, Dle\ 0.0.* Cek\ieXk`feXc =fdg\k`k`fe H\knfib* W =fdg\k`k`fe cXn \e]fiZ\d\ek Xk k_\
    `ek\ij\Zk`fe f] =fdg\k`k`fe* =fejld\i Jifk\Zk`fe* Xe[ Ji`mXZp'
01, Hfm\dY\i 0./7* ;<; @Xcc @fild8 N_\ N\Z_ Mldd`k* QXj_`e^kfe >=,
02, Hfm\dY\i 0./7* ;eelXc =_Xcc\e^\j kf ;ek`kiljk `e X =_Xe^`e^ ?Zfefdp* BXimXi[ FXn
    MZ_ffc
03, IZkfY\i 0./7* Qfic[ <Xeb JcXk]fidj Mldd`k* QXj_`e^kfe >=,
04, M\gk\dY\i 0./7* ?Zfefd`Zj f] ;C >fZkfiXc =fejfik`ld* Nfifekf
05, Dlcp 0./7* KlXek`kXk`m\ GXib\k`e^ Xe[ MkilZkliXc ?Zfefd\ki`Zj Qfibj_fg*
    Hfik_n\jk\ie Oe`m\ij`kp
06, Dle\ 0./7* GXib\k`e^ MZ`\eZ\* Lfd\
07, Dle\ 0./7* E\pefk\ Mg\Xb\i* T?Q =fe]\i\eZ\ fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe Xe[
    =fddle`ZXk`fe N\Z_efcf^`\j* GXee_\`d
1., Dle\ 0./7 E\pefk\ Mg\Xb\i* Gle`Z_ Mldd\i Cejk`klk\* Gle`Z_
1/, GXp 0./7* E\pefk\ Mg\Xb\i* 1i[ >fZkfiXc Qfibj_fg fe k_\ ?Zfefd`Zj f] >`^`k`qXk`fe*
    <iljj\cj
10, Hfm\dY\i 0./7* @N= B\Xi`e^j fe <`^ >XkX* Ji`mXZp* Xe[ =fdg\k`k`fe
11, IZkfY\i 0./7* @N= B\Xi`e^j fe JcXk]fid ?Zfefd`Zj* A\fi^\ GXjfe Oe`m\ij`kp
12, Dle\ 0./6* ;ek`kiljk Xe[ <`^ >XkX* J\ee Q_Xikfe =_`eX =\ek\i =fe]\i\eZ\* <\`a`e^
13, Dle\ 0./6* GXib\k`e^ MZ`\eZ\
14, GXp 0./6* <fjkfe =fcc\^\ >`^`kXc CeefmXk`fe Qfibj_fg
15, >\Z\dY\i 0./5* GfY`c\ GXib\k`e^ Xe[ <`^ >XkX =fe]\i\eZ\* HSO
16, M\gk\dY\i 0./5* H<?L ?Zfefd`Zj f] ;C =fe]\i\eZ\
17, Dlcp 0./5* <O JcXk]fidj =fe]\i\eZ\
2., Dlcp 0./5* H<?L >`^`k`qXk`fe G\\k`e^j
2/, Dle\ 0./5* GXib\k`e^ MZ`\eZ\
20, Dle\ 0./5* L\^lcXk`fe f] ;c^fi`k_dj* <\ic`e
21, GXp 0./5* <fjkfe =fcc\^\ >`^`kXc CeefmXk`fe Qfibj_fg
22, Hfm\dY\i 0./4* C=;HH JlYc`Z G\\k`e^j
23, IZkfY\i 0./4* =fe]\i\eZ\ fe >`^`kXc ?og\i`d\ekXk`fe* =XdYi`[^\* G;
24, M\gk\dY\i 0./4* @N= =fejld\i Jifk\Zk`fe =fe]\i\eZ\* QXj_`e^kfe* >=
25, M\gk\dY\i 0./4* A\fi^\ QXj_`e^kfe ifle[kXYc\ fe JcXk]fidj* QXj_`e^kfe >=
26, GXp 0./4* =fdg\k`e^ n`k_ <`^ >XkX* <il^\c* <iljj\cj* <\c^`ld
27, ;gi`c 0./4* H<?L CeefmXk`fe Xe[ Jfc`Zp* QXj_`e^kfe >=
3., ;gi`c 0./4* @`eXeZ`Xc M\im`Z\j Lfle[kXYc\* HS=
3/, GXiZ_ 0./4* >`^`k`qXk`fe Nlkfi`Xc* H<?L
30, DXelXip 0./4* Ji`mXZp=fe* @N= =fe]\i\eZ\* QXj_`e^kfe* >=


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31, Dlcp 0./3* H<?L FXn Xe[ ?Zfefd`Zj (Zf+Xlk_fi gi\j\ek\[)* =XdYi`[^\* G;
32, Dlcp 0./3* H<?L ?Zfefd`Zj f] >`^`k`qXk`fe* =XdYi`[^\* G;
33, Dle\ 0./3* WN_\ @lkli\ f] L\j\XiZ_ `e k_\ >`^`kXc MfZ`\kp'* @i\eZ_ G`e`jkip f] =lckli\
    Xe[ =fddle`ZXk`fe + Nflcflj\ MZ_ffc f] ?Zfefd`Zj* JXi`j* @iXeZ\
34, Dle\ 0./3* GXib\k`e^ MZ`\eZ\* <Xck`dfi\* G>
35, Dle\ 0./3* >fZkfiXc =fejfik`ld* <Xck`dfi\* G>
36, GXiZ_ 0./3* CJ F\X[\ij_`g =fe]\i\eZ\* QXj_`e^kfe* >=
37, @\YilXip 0./3* JXk\ekj `e N_\fip Xe[ JiXZk`Z\* QXj_`e^kfe* >=
4., Dle\ 0./2* GXib\k`e^ MZ`\eZ\* ;kcXekX* A;
4/, GXp 0./2* <fjkfe =fcc\^\ MfZ`Xc G\[`X Qfibj_fg* <fjkfe* G;
40, DXelXip 0./2* ;d\i`ZXe ?Zfefd`Z ;jjfZ`Xk`fe G\\k`e^j
41, Dlcp 0./1* GXib\k`e^ MZ`\eZ\* CjkXeYlc* Nlib\p
42, Dle\ 0./1* M\Xic\ =\ek\i =fe]\i\eZ\ fe Cek\ie\k M\XiZ_ Xe[ CeefmXk`fe* =_`ZX^f* CF
43, ;gi`c 0./1* <ifne Oe`m\ij`kp G`e`+H\knfibj =fe]\i\eZ\
44, @\YilXip 0./1* QM>G 0./1 =fe]\i\eZ\ (E\pefk\ Mg\Xb\i)* Lfd\* CkXcp
45, DXelXip 0./1* ;d\i`ZXe ?Zfefd`Z ;jjfZ`Xk`fe G\\k`e^j* MXe >`\^f* =; (=f+Xlk_fi
    gi\j\ek\[)
46, >\Z\dY\i 0./0* H\n Sfib =fdglk\i MZ`\eZ\ Xe[ ?Zfefd`Zj >Xp
47, Hfm\dY\i 0./0* M\XiZ_ Xe[ =fdg\k`k`fe =fe]\i\eZ\* G\cYflie\ ;ljkiXc`X
5., IZkfY\i 0./0* ?Zfefd`Zj f] J\ijfeXc >XkX* (E\pefk\ Mg\Xb\i)* ;djk\i[Xd
5/, ;l^ljk 0./0* ;djk\i[Xd Mpdgfj`ld fe <\_Xm`fiXc Xe[ ?og\i`d\ekXc ?Zfefd`Zj
50, Dlcp 0./0* @l[Xe Oe`m\ij`kp GXib\k`e^ L\j\XiZ_ Mpdgfj`ld* =_`eX
51, Dle\ 0./0* M\Xic\ =\ek\i =fe]\i\eZ\ fe Cek\ie\k M\XiZ_ Xe[ CeefmXk`fe* =_`ZX^f* CF
52, Dle\ 0./0* CeefmXk`fe* Cek\cc\ZklXc Jifg\ikp Xe[ =fdg\k`k`fe Jfc`Zp =fe]\i\eZ\* N`cYli^*
    H\k_\icXe[j
53, Dle\ 0./0* GXib\k`e^ MZ`\eZ\* <fjkfe* G;
54, Dle\ 0./0* MfZ`Xc G\[`X Xe[ <lj`e\jj NiXej]fidXk`fe* <Xck`dfi\* G>
55, GXp 0./0* N_\ FXn Xe[ ?Zfefd`Zj f] M\XiZ_ ?e^`e\j Xe[ Iec`e\ ;[m\ik`j`e^* A\fi^\
    GXjfe Oe`m\ij`kp* ;ic`e^kfe* P;
56, @\YilXip 0./0* H<?L ?Zfefd`Zj f] >`^`k`qXk`fe (Zf+Xlk_fi gi\j\ek\[)* =XdYi`[^\* G;
57, DXelXip 0./0* Mpdgfj`ld fe ;ek`kiljk Xe[ B`^_+N\Z_ Ce[ljki`\j* A\fi^\ GXjfe
    Oe`m\ij`kp* P;
6., DXelXip 0./0* JXk\ekj* MkXe[Xi[j Xe[ CeefmXk`fe* NlZjfe* ;T
6/, DXelXip 0./0* ?Zfefd\ki`Z MfZ`\kp G\\k`e^j* =_`ZX^f* CF
60, DXelXip 0./0* ;?; G\\k`e^j (0 gXg\ij)* =_`ZX^f* CF
61, >\Z\dY\i 0.//* ?Zfefd`Zj f] Ji`mXZp Qfibj_fg* <flc[\i* =I
62, Hfm\dY\i 0.//* ?Zfefd`Zj Xe[ =fdglkXk`fe >Xp* =XdYi`[^\* G;
63, Hfm\dY\i 0.//* B<M MkiXk\^p L\j\XiZ_ =fe]\i\eZ\* <fjkfe* G;
64, Hfm\dY\i 0.//* N_\ FXn Xe[ ?Zfefd`Zj f] Cek\ie\k M\XiZ_ Xe[ Iec`e\ ;[m\ik`j`e^
    Lfle[kXYc\* A\fi^\ GXjfe Oe`m\ij`kp* ;ic`e^kfe* P;
65, Hfm\dY\i 0.//* JXk\ekj MkXk`jk`Zj ]fi >\Z`j`fe GXb\ij* ;c\oXe[i`X* P;
66, IZkfY\i 0.//* Qfibj_fg fe B\Xck_ CN Xe[ ?Zfefd`Zj* QXj_`e^kfe* >=
67, IZkfY\i 0.//* CeefmXk`fe* Ii^Xe`qXk`fej Xe[ MfZ`\kp* Oe`m\ij`kp f] =_`ZX^f* CF
7., IZkfY\i 0.//* >`i\Zk GXib\k`e^ L\j\XiZ_ Mldd`k* <fjkfe* G;
7/, M\gk\dY\i 0.//* Cem`k\[ M\jj`fe W?Zfefd`Zj Xe[ GXib\k`e^'* ?;LC?* MkfZb_fcd* Mn\[\e,


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 70, Dlcp 0.//* H<?L ?Zfefd`Zj f] >`^`k`qXk`fe* =XdYi`[^\* G;
 71, Dlcp 0.//* MC=M* <\ib\c\p* =;
 72, Dle\ 0.//* N_\ FXn Xe[ ?Zfefd`Zj f] M\XiZ_ ?e^`e\j Xe[ Iec`e\ ;[m\ik`j`e^* A\fi^\
     GXjfe Oe`m\ij`kp* ;ic`e^kfe* P;
 73, Dle\ 0.//* Qfibj_fg fe k_\ ?Zfefd`Zj fe Ce]fidXk`fe M\Zli`kp* QXj_`e^kfe* >=
 74, Dle\ 0.//* GXib\k`e^ MZ`\eZ\ (1 gXg\ij)* Bfljkfe* NR
 75, Dle\ 0.//* M\Xic\ =\ek\i =fe]\i\eZ\ fe Cek\ie\k M\XiZ_ Xe[ CeefmXk`fe* =_`ZX^f* CF
 76, GXp 0.//* <fjkfe =fcc\^\ MfZ`Xc G\[`X Qfibj_fg* <fjkfe* G;
 77, GXp 0.//* N\Z_efcf^p Ji`Z`e^ @fild* <fjkfe* G;
/.., ;gi`c 0.//* H<?L CeefmXk`fe Jfc`Zp Xe[ k_\ ?Zfefdp* QXj_`e^kfe* >=
/./, ;gi`c 0.//* Cek\ieXk`feXc Ce[ljki`Xc Ii^Xe`qXk`fe =fe]\i\eZ\ (1 gXg\ij)* <fjkfe* G;
/.0, GXiZ_ 0.//* N\Z_efcf^p Jfc`Zp Cejk`klk\* QXj_`e^kfe* >=
/.1, @\YilXip 0.//* H<?L ?Zfefd`Zj f] >`^`k`qXk`fe (Zf+Xlk_fi gi\j\ek\[)* JXcf ;ckf* =;
/.2, DXelXip 0.//* M`ok_ Y`+XeelXc =fe]\i\eZ\ fe N_\ ?Zfefd`Zj f] Cek\cc\ZklXc Jifg\ikp*
     Mf]knXi\ Xe[ k_\ Cek\ie\k (0 gXg\ij* gc\eXip jg\Xb\i)* Nflcflj\* @iXeZ\
/.3, DXelXip 0.//* GMC Sfle^ MZ_fcXij =fe]\i\eZ\* JXib =`kp* ON
/.4, >\Z\dY\i 0./.* Qfibj_fg fe Ce]fidXk`fe Mpjk\dj Xe[ ?Zfefd`Zj* QXj_`e^kfe
     Oe`m\ij`kp f] Mk, Ffl`j (Zf+Xlk_fi gi\j\ek\[)* Mk, Ffl`j* GI
/.5, >\Z\dY\i 0./.* I?=> ?Zfefd`Zj f] Ji`mXZp Lfle[kXYc\* JXi`j* @iXeZ\
/.6, Hfm\dY\i 0./.* H\k Cejk`klk\ =fe]\i\eZ\* H\n Sfib* HS
/.7, IZkfY\i 0./.* Qfibj_fg fe G\[`X ?Zfefd`Zj Xe[ JlYc`Z Jfc`Zp (Zf+Xlk_fi gi\j\ek\[)*
     H\n Sfib* HS
//., IZkfY\i 0./.* Qfibj_fg fe B\Xck_ CN Xe[ ?Zfefd`Zj* QXj_`e^kfe* >=
///, M\gk\dY\i 0./.* CNC@ Xe[ =;AQ Ji`mXZp Qfib`e^ Aiflg G\\k`e^j* QXj_`e^kfe* >=
//0, M\gk\dY\i 0./.* G\[`ZXc GXcgiXZk`Z\ =fe]\i\eZ\* Gf_\^Xe* =N
//1, M\gk\dY\i 0./.* M\XiZ_ Xe[ Q\Y ;[m\ik`j`e^ MkiXk\^`\j Xe[ N_\`i CdgXZkj fe =fejld\i
     Qfibj_fg* JXi`j* @iXeZ\
//2, Dlcp 0./.* H<?L G\\k`e^j (CN)* =XdYi`[^\* G;
//3, Dlcp 0./.* H<?L G\\k`e^j (B\Xck_ZXi\ Xe[ CN)* =XdYi`[^\* G;
//4, Dlcp 0./.* MC=M* <\ib\c\p* =;
//5, Dlcp 0./.* E\pefk\ Mg\Xb\i* 6k_ T?Q =fe]\i\eZ\ fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe Xe[
     =fddle`ZXk`fe N\Z_efcf^`\j* GXee_\`d* A\idXep
//6, Dle\ 0./.* ;d\i`ZXe MfZ`\kp f] B\Xck_ ?Zfefd`jkj =fe]\i\eZ\* =fie\cc* HS
//7, Dle\ 0./.* GXib\k`e^ MZ`\eZ\ (0 gXg\ij)* Ef\ce* A\idXep
/0., Dle\ 0./.* Qfibj_fg fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe M\Zli`kp (0 gXg\ij)* BXimXi[* G;
/0/, DXelXip 0./.* ;?; G\\k`e^j* ;kcXekX* A;
/00, >\Z\dY\i 0..7* Qfibj_fg fe Ce]fidXk`fe Mpjk\dj Xe[ ?Zfefd`Zj* MZfkkj[Xc\* ;T
/01, Hfm\dY\i 0..7* QJJ-Aff^c\ GXib\k`e^ ;nXi[j* =XdYi`[^\* G;
/02, Dlcp 0..7* H<?L d\\k`e^j (CN)* =XdYi`[^\* G;
/03, Dle\ 0..7* CBC@ >\YXk\ fe Ji`mXZp* QXj_`e^kfe* >=
/04, Dle\ 0..7* GXib\k`e^ MZ`\eZ\* ;ee ;iYfi* GC
/05, ;gi`c 0..7* Cek\ieXk`feXc Ce[ljki`Xc Ii^Xe`qXk`fe =fe]\i\eZ\* <fjkfe* G;
/06, DXelXip 0..7* Ce]fidXk`fe M\Zli`kp <\jk JiXZk`Z\j =fe]\i\eZ\* J_`cX[\cg_`X* J;
/07, DXelXip 0..7* Gf[\c`e^ MfZ`Xc H\knfib >XkX =fe]\i\eZ\* J_`cX[\cg_`X* J;
/1., Dlcp 0..6* H<?L G\\k`e^j (Jif[lZk`m`kp)* =XdYi`[^\* G;


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/1/, Dlcp 0..6* MC=M* <\ib\c\p* =;
/10, Dlcp 0..6* @flik_ Qfibj_fg fe ;[ ;lZk`fej* =_`ZX^f* G;
/11, Dle\ 0..6* GXib\k`e^ MZ`\eZ\* PXeZflm\i* <=
/12, GXp 0..6* Cek\ieXk`feXc Ce[ljki`Xc Ii^Xe`qXk`fe =fe]\i\eZ\* L`Z_dfe[* P;
/13, ;gi`c 0..6* H\k Cejk`klk\ =fe]\i\eZ\* H\n Sfib* HS
/14, Hfm\dY\i 0..5* H<?L B\Xck_ G\\k`e^j (=f+Xlk_fi gi\j\ek\[)* <fjkfe* G;
/15, Dlcp 0..5* MC=M* <\ib\c\p* =;
/16, Dle\ 0..5* Qfibj_fg fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe M\Zli`kp* J`kkjYli^_
/17, Dle\ 0..5* =_f`Z\ Mpdgfj`ld* J_`cX[\cg_`X* J;
/2., GXp 0..5* \=fdd\iZ\ L\j\XiZ_ Mpdgfj`ld* MkXd]fi[* =N
/2/, ;gi`c 0..5* H\k Cejk`klk\ =fe]\i\eZ\* H\n Sfib* HS
/20, ;gi`c 0..5* Cek\ieXk`feXc Ce[ljki`Xc Ii^Xe`qXk`fe =fe]\i\eZ\* MXmXeeX_* A;
/21, GXiZ_ 0..5* B\Xck_ ?Zfefd`Zj =fe]\i\eZ\* NlZjfe* ;T
/22, @\YilXip 0..5* H<?L Q`ek\i G\\k`e^j* JXcf ;ckf* =;
/23, DXelXip 0..5* ?Zfefd`Zj f] k_\ Mf]knXi\ Xe[ Cek\ie\k Ce[ljki`\j (0 JXg\ij)* Nflcflj\*
     @iXeZ\
/24, IZkfY\i 0..4* KG? =fe]\i\eZ\* MkXe]fi[ Oe`m\ij`kp* =;
/25, Dle\ 0..4* GXib\k`e^ MZ`\eZ\* J`kkjYli^_* J;
/26, ;gi`c 0..4* Cek\ieXk`feXc Ce[ljki`Xc Ii^Xe`qXk`fe =fe]\i\eZ\* <fjkfe* G;
/27, IZkfY\i 0..3* H?G= =fe]\i\eZ\* <fjkfe* G;
/3., IZkfY\i 0..3* NJL= =fe]\i\eZ\* QXj_`e^kfe* >=
/3/, Dle\ 0..3* =L?M Ce[ljki`Xc Ii^Xe`qXk`fe =fe]\i\eZ\* QXj_`e^kfe Oe`m\ij`kp `e Mk,
     Ffl`j* GI
/30, Dlcp 0..0* JXpd\ek Mpjk\dj =fe]\i\eZ\* C>?C* Nflcflj\* @iXeZ\


  J LI@?MMCIH;F M ?LPC=?
  r M\e`fi ?[`kfi* GXib\k`e^ MZ`\eZ\
  r >`i\Zkfi f] k_\ gif^iXd fe k_\ ?Zfefd`Zj f] >`^`k`qXk`fe Xk N_\ HXk`feXc <li\Xl f]
    ?Zfefd`Z L\j\XiZ_,
  r =f+>`i\Zkfi f] k_\ gif^iXd fe k_\ ;ik`"Z`Xc Cek\cc`^\eZ\ Xk N_\ HXk`feXc <li\Xl f]
    ?Zfefd`Z L\j\XiZ_,
  r .602 +=2>612:? "*1@0/?6;:#* CMGM 0./7+0.0/
  r &>>;06/?2 *16?;=% GXeX^\d\ek MZ`\eZ\* GXib\k`e^ MZ`\eZ\* DflieXc f] GXib\k`e^
    L\j\XiZ_* Cek\ieXk`feXc DflieXc f] L\j\XiZ_ `e GXib\k`e^
  r &>>;06/?2 *16?;=% Ce]fidXk`fe Mpjk\dj L\j\XiZ_* Mg\Z`Xc Cjjl\ fe MfZ`Xc G\[`X Xe[
    <lj`e\jj NiXej]fidXk`fe
  r )2</=?92:?/8 *16?;=% KlXek`kXk`m\ GXib\k`e^ Xe[ ?Zfefd`Zj
  r *16?;=% N_\ ?Zfefd`Zj f] k_\ Cek\ie\k* JXc^iXm\ >`Zk`feXip f] ?Zfefd`Zj
  r (;$*16?;=% H<?L8 N_\ ?Zfefd`Zj f] >`^`k`qXk`fe + ;e ;^\e[X
  r (;$*16?;=% Ce]fidXk`fe ?Zfefd`Zj Xe[ Jfc`Zp* Mg\Z`Xc Cjjl\ fe ?Zfefd`Zj f] >`^`kXc
    G\[`X GXib\kj
  r *16?;=6/8 ,2A62B ';/=1% DflieXc f] GXib\k`e^* CML Mg\Z`Xc Cjjl\ fe GXeX^`e^ >`^`kXc
    Plce\iXY`c`k`\j* DflieXc f] ?Zfefd`Z F`k\iXkli\


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r (;:32=2:02 +=;4=/9 (;996??22>
  E 0.00 =f+fi^Xe`q\i* H<?L =fe]\i\eZ\ fe >`^`kXc ?Zfefd`Zj
  E 0.00 =f+fi^Xe`q\i* H<?L =fe]\i\eZ\ fe k_\ ?Zfefd`Zj f] ;ik`"Z`Xc Cek\cc`^\eZ\
  E 0.0/ =f+fi^Xe`q\i* H<?L =fe]\i\eZ\ fe >`^`kXc ?Zfefd`Zj
  E 0.0/ =f+fi^Xe`q\i* H<?L =fe]\i\eZ\ fe k_\ ?Zfefd`Zj f] ;ik`"Z`Xc Cek\cc`^\eZ\
  E 0.0. =f+fi^Xe`q\i* H<?L =fe]\i\eZ\ fe k_\ ?Zfefd`Zj f] ;ik`"Z`Xc Cek\cc`^\eZ\
  E 0.0. Ii^Xe`q\i* CMGM >fZkfiXc =fejfik`ld
  E 0./7 =f+fi^Xe`q\i* H<?L =fe]\i\eZ\ fe k_\ ?Zfefd`Zj f] ;ik`"Z`Xc Cek\cc`^\eZ\
  E 0./7 MZ`\ek`"Z =fdd`kk\\8 T?Q =fe]\i\eZ\ fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe Xe[
    =fddle`ZXk`fe N\Z_efcf^`\j
  E 0./7 Jif^iXd =fdd`kk\\8 Qfibj_fg fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe M\Zli`kp
  E 0./7 MZ`\ek`"Z =fdd`kk\\8 CJ MkXk`jk`Zj ]fi >\Z`j`fe GXb\ij
  E 0./6 =f+fi^Xe`q\i* H<?L =fe]\i\eZ\ fe k_\ ?Zfefd`Zj f] ;ik`"Z`Xc Cek\cc`^\eZ\
  E 0./5 MZ`\ek`"Z =fdd`kk\\8 CJ MkXk`jk`Zj ]fi >\Z`j`fe GXb\ij
  E 0./5 MZ`\ek`"Z =fdd`kk\\8 T?Q =fe]\i\eZ\ fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe Xe[
    =fddle`ZXk`fe N\Z_efcf^`\j
  E 0./5 Jif^iXd =fdd`kk\\8 Qfibj_fg fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe M\Zli`kp
  E 0./4 Jif^iXd =fdd`kk\\8 Qfibj_fg fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe M\Zli`kp
  E 0./4 MZ`\ek`"Z =fdd`kk\\8 T?Q =fe]\i\eZ\ fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe Xe[
    =fddle`ZXk`fe N\Z_efcf^`\j
  E 0./3 MZ`\ek`"Z =fdd`kk\\8 =fdg\k`k`fe* MkXe[Xi[`qXk`fe Xe[ CeefmXk`fe
  E 0./3 MZ`\ek`"Z =fdd`kk\\8 Cek\cc\ZklXc Jifg\ikp MkXk`jk`Zj ]fi >\Z`j`fe GXb\ij
  E 0./3 ;jjfZ`Xk\ ?[`kfi8 C=CM 0./3* B\Xck_ZXi\ kiXZb
  E 0./3 MZ`\ek`"Z =fdd`kk\\8 ?lifg\Xe ;jjfZ`Xk`fe ]fi L\j\XiZ_ `e Ce[ljki`Xc ?Zfefd`Zj
  E 0./3 Jif^iXd =fdd`kk\\8 ;=G =fe]\i\eZ\ fe ?Zfefd`Zj Xe[ =fdglkXk`fe
  E 0./3 Jif^iXd =fdd`kk\\8 Qfibj_fg fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe M\Zli`kp
  E 0./3 =_`\]+Ii^Xe`q\i8 KlXek`kXk`m\ GXib\k`e^ Xe[ ?Zfefd`Zj =fe]\i\eZ\
  E 0./3 MZ`\ek`"Z =fdd`kk\\8 T?Q =fe]\i\eZ\ fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe Xe[
    =fddle`ZXk`fe N\Z_efcf^`\j
  E 0./2 MZ`\ek`"Z =fdd`kk\\8 ?lifg\Xe ;jjfZ`Xk`fe ]fi L\j\XiZ_ `e Ce[ljki`Xc ?Zfefd`Zj
  E 0./2 MZ`\ek`"Z =fdd`kk\\8 =fe]\i\eZ\ fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe Xe[
    =fddle`ZXk`fe N\Z_efcf^`\j
  E 0./2 Jif^iXd =fdd`kk\\8 Cek\ieXk`feXc =fe]\i\eZ\ fe <`^ >XkX Xe[ ;eXcpk`Zj `e
    B\Xck_ZXi\
  E 0./1 Jif^iXd =fdd`kk\\8 KlXek`kXk`m\ GXib\k`e^ Xe[ ?Zfefd`Zj
  E 0./1 MZ`\ek`"Z =fdd`kk\\8 ?lifg\Xe ;jjfZ`Xk`fe ]fi L\j\XiZ_ `e Ce[ljki`Xc ?Zfefd`Zj
    =fe]\i\eZ\
  E 0./1 MZ`\ek`"Z =fdd`kk\\8 =fe]\i\eZ\ fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe Xe[
    =fddle`ZXk`fe N\Z_efcf^`\j
  E 0./1 Jif^iXd =fdd`kk\\8 Qfibj_fg fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe M\Zli`kp
  E 0./1 ;jjfZ`Xk\ ?[`kfi f] J\ijfeXc >XkX GXib\kj NiXZb8 ?=CM 0./1
  E 0./0 Jif^iXd =fdd`kk\\8 ?lifg\Xe ;jjfZ`Xk`fe ]fi L\j\XiZ_ `e Ce[ljki`Xc ?Zfefd`Zj
    =fe]\i\eZ\
  E 0./0 Jif^iXd =fdd`kk\\ (=fe]\i\eZ\ Ii^Xe`q\i) H<?L8 N_\ ?Zfefd`Zj f] >`^`k`qXk`fe
    Ji\+=fe]\i\eZ\* Dle\ 0./0


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  E 0./0 MZ`\ek`"Z =fdd`kk\\8 =fe]\i\eZ\ fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe Xe[
    =fddle`ZXk`fe N\Z_efcf^`\j
  E 0./0 M\e`fi Jif^iXd =fdd`kk\\8 /1k_ ;=G =fe]\i\eZ\ fe ?c\Zkife`Z =fdd\iZ\
  E 0./0 Jif^iXd =fdd`kk\\8 Qfibj_fg fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe M\Zli`kp
  E 0.// MZ`\ek`"Z =fdd`kk\\8 ?lifg\Xe ;jjfZ`Xk`fe ]fi L\j\XiZ_ `e Ce[ljki`Xc ?Zfefd`Zj
    =fe]\i\eZ\
  E 0.// MZ`\ek`"Z =fdd`kk\\8 =fe]\i\eZ\ fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe Xe[
    =fddle`ZXk`fe N\Z_efcf^`\j
  E 0.// Jif^iXd =fdd`kk\\8 ;[ ;lZk`fej Qfibj_fg
  E 0.// Jif^iXd =fdd`kk\\8 Qfibj_fg fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe M\Zli`kp
  E 0./. Jif^iXd =fdd`kk\\8 Qfibj_fg fe CN Xe[ ?Zfefd`Z Aifnk_
  E 0./. Jif^iXd =fdd`kk\\8 =fe]\i\eZ\ fe B\Xck_ CN Xe[ ?Zfefd`Zj
  E 0./. Jif^iXd =fdd`kk\\8 Qfibj_fg fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe M\Zli`kp
  E 0..7 Jif^iXd =fdd`kk\\8 Qfibj_fg fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe M\Zli`kp
  E 0..6 Jif^iXd =fdd`kk\\8 Qfibj_fg fe k_\ ?Zfefd`Zj f] Ce]fidXk`fe M\Zli`kp
  E 0..6 Jif^iXd =fdd`kk\\8 ;[ ;lZk`fej Qfibj_fg

*C?2=:/8 &3!86/?6;:>
r &3!86/?2% =?M`]f L\j\XiZ_ H\knfib
r &1A6>;=D ';/=1% @lkli\ f] Ji`mXZp @fild
r &1A6>;=D ';/=1% ;ZX[\d`Z ;[m`jfip =flej\c* <iffb`e^j =\ek\i fe L\^lcXk`fe Xe[
  GXib\kj


GCN M ?LPC=?
+ 0./3+ @XZlckp =_X`i* J_> gif^iXd
+ 0./3+ ?G<; =fdd`kk\\
+ 0./3+ ;M< =fdd`kk\\
+ 0./2+ GCN McfXe A\e[\i ?hl`kp =fdd`kk\\
+ 0./1+0./2 Aiflg B\X[* GXib\k`e^ Aiflg
+ 0./1+0./2 =_X`i* GXib\k`e^ @XZlckp M\XiZ_ =fdd`kk\\
+ 0./1+0./2 GCN =fdd`kk\\ fe Oe[\i^iX[lXk\ ;[d`jj`fej Xe[ @`eXeZ`Xc ;`[
+ 0.// Hfik_ ?Xjk GXib\k`e^ =fe]\i\eZ\ =ffi[`eXkfi
+ 0.// GCN McfXe GXib\k`e^ =fe]\i\eZ\* JXe\c Gf[\iXkfi
+ 0.// McfXe Qfd\e `e GXeX^\d\ek =fe]\i\eZ\* JXe\c Gf[\iXkfi
+ 0..3* 0..6* 0./0 GXib\k`e^ @XZlckp M\XiZ_ =fdd`kk\\


; >PCMCHA
r 0./78 M_lp` Sl* J_> N_\j`j jlg\im`jfi
r 0./48 ;Y_`j_\b HX^XiXa* J_> N_\j`j X[m`jfi
r 0./08 =i`jk`eX H`jkfi* J_> N_\j`j X[m`jfi
r 0./.8 EXk_\i`e\ Gfc`eX* GXjk\ij N_\j`j


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r 0..68 >`e\j_ M_\efp* GXjk\ij N_\j`j
r 0..58 DXd\j E\cd* GXjk\ij N_\j`j


A L;HNM ;H> M OJJILN


Academic Grants
 0./6         McfXe @fle[Xk`fe AiXek (0./6+0.0/)* WH<?L Jifa\Zk fe        %7/2*03.
              k_\ ?Zfefd`Zj f] ;ik`"Z`Xc Cek\cc`^\eZ\' + AiXek jlggfik+
              `e^ j\i`\j f] H<?L ?Zfefd`Zj f] ;C =fe]\i\eZ\j, (Df`ek
              n`k_ ;aXp ;^iXnXc* Dfj_lX AXej Xe[ ;m` Afc[]XiY)
 0./5         H\k Cejk`klk\ AiXek (Df`ek n`k_ ;ela EXgffi)                  %1*...
 0./4         H\k Cejk`klk\ AiXek (Df`ek n`k_ =_i`jk`Xe =XkXc`e`)           %4*...
 0./1         GMC i\j\XiZ_ AiXek 2+/62. (Df`ek n`k_ ;eaX FXdYi\Z_k)        %/.*0..
 0.//         N`cYli^ FXn Xe[ ?Zfefd`Zj =\ek\i (NCF?=) CCJ= ^iXek          %0/*...
 0.//         Aff^c\ AiXek                                                 %3.*...
 0.//         Dle`fi @XZlckp L\j\XiZ_ ;jj`jkXeZ\ Jif^iXd                   %1.*...
 0.//         H\k Cejk`klk\ AiXek                                           %4*...
 0.//         H<?L >`^`k`qXk`fe AiXek                                      %0.*...
 0.//         HM@ =;L??L ;nXi[                                            %3.0*...
 0./.         N`d\+QXie\i L\j\XiZ_ Jif^iXd fe >`^`kXc =fddle`ZX+           %0.*...
              k`fej
 0./.         H\k Cejk`klk\ AiXek                                           %4*...
 0..7         H\k Cejk`klk\ AiXek                                           %4*...
 0..7         N_\ DXd\j B, @\iip* Di, @le[ ]fi CeefmXk`fe `e L\j\XiZ_      %3.*...
              ?[lZXk`fe
 0..7         Aff^c\-QJJ AiXek (Df`ek n`k_ ;m` Afc[]XiY)                   %33*...
 0..6         H\k Cejk`klk\ AiXek                                          %/3*...
 0..5         H\k Cejk`klk\ AiXek                                           %6*...
 0..4         H\k Cejk`klk\ AiXek (Df`ek n`k_ Mk\g_\e LpXe)                 %6*...
Industry Research Grants
 0./3         ==C; L\j\XiZ_8 L\j\XiZ_ `ekf MljkX`eXYc\ =fdg\k`k`m\         %4.*...
              ;[mXekX^\ Xe[ <`^ >XkX (Df`ek n`k_ ;eaX FXdYi\Z_k)
 0./3         ?+Ff^`Z8 L\j\XiZ_ `ekf P\ik`ZXc G\i^\ij Xe[ JXk\ek F`k`+     %4.*...
              ^Xk`fe
 0./2         ==C; L\j\XiZ_8 L\j\XiZ_ `ekf JXk\ek F`k`^Xk`fe Xe[ ?e+      %/..*...
              ki\gi\e\lij_`g
 0./0         Aff^c\ ;ljkiXc`X8 L\j\XiZ_ `ekf G\Xjli\d\ek Xe[ ;kki`+       %3.*...
              Ylk`fe



? RJ?LN N ?MNCGIHS
r C _Xm\ gifm`[\[ \og\ik k\jk`dfep ]fi ;ZZ\ekli\* ;kcXek`Z L\Zfi[`e^ =fdgXep* ;>N*
  <XljZ_ B\Xck_* <ifX[ZXjk Glj`Z CeZ* =Xg`kfc L\Zfi[j* =fek\ok Ff^`Z* @XZ\Yffb* Aff^c\*


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 C;=* Fp]k* GXii`fkk* GXkZ_ Aiflg* G`Zifjf]k* JcX`ek`]]j `e <cl\ =ifjj <cl\ M_`\c[
 ;ek`kiljk F`k`^Xk`fe * L\m`q\i* L\pefc[j ;lkfdfk`m\* L>C=* MXdjle^* Mfep* Mfle[
 ?oZ_Xe^\* P\i`qfe (SX_ff Xe[ ;IF)* Oe`k\[ B\Xck_ Aiflg* OM >\Ykfij (Hfik\c
 <XebilgZp JifZ\\[`e^j)* QXcnfik_ Cem\jkd\ekj Xe[ QXie\i <ifk_\ij,


N ?;=BCHA
+ /3,6/6* Ji`Z`e^ (G<; ?c\Zk`m\) 0..4+
+ /3,510* GXib\k`e^ GXeX^\d\ek ]fi M\e`fi ?o\Zlk`m\j 0./0+
+ /3,504* Ji`Z`e^ (?G<; ?c\Zk`m\) 0./0+
+ /3,616* >fZkfiXc M\d`eXi* Mgi`e^ 0..4* @Xcc 0..5* @Xcc 0./1
+ GXib\k`e^ GXeX^\d\ek* ;j`Xe MZ_ffc f] <lj`e\jj* 0./4
+ Al\jk F\Zkli\i8 BMN,7148 B\Xck_ `e]fidXk`fe jpjk\dj kf `dgifm\ hlXc`kp f] ZXi\ `e
  i\jfliZ\+gffi j\kk`e^j* 0./2
+ ?o\Zlk`m\ ?[lZXk`fe8 <cfZbZ_X`e N\Z_efcf^`\j8 <lj`e\jj CeefmXk`fe Xe[ ;ggc`ZXk`fe*
  0./6+
+ ?o\Zlk`m\ ?[lZXk`fe8 GXib\k`e^ CeefmXk`fe* 0./4+
+ ?o\Zlk`m\ ?[lZXk`fe8 Ji`Z`e^ 2[R* 0./4+
+ ?o\Zlk`m\ ?[lZXk`fe8 MkiXk\^`Z GXib\k`e^ ]fi k_\ N\Z_e`ZXc ?o\Zlk`m\* 0./0+0./3
+ ?o\Zlk`m\ ?[lZXk`fe8 Mpjk\dXk`Z CeefmXk`fe f] Jif[lZkj* JifZ\jj\j* Xe[ M\im`Z\j* 0./1+
+ ?o\Zlk`m\ ?[lZXk`fe8 JcXk]fid MkiXk\^p8 <l`c[`e^ Xe[ N_i`m`e^ `e X P`YiXek ?Zfjpjk\d*
  0./2+
+ ?o\Zlk`m\ ?[lZXk`fe8 AcfYXc ?o\Zlk`m\ ;ZX[\dp (dlck`+cXe^lX^\)* 0./1* 0./2
+ ?o\Zlk`m\ ?[lZXk`fe8 ?eki\gi\e\lij_`g >\m\cfgd\ek Jif^iXd* 0./0+
+ @XZlckp =fXZ_* NXb\[X F\X[\ij_`g ;ZX[\dp* 0./4+/6




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                             APPENDIX B – PRIOR TESTIMONY

1. In Re: Lyft Rideshare Cases, Case No. CJC-20-005061, Superior Court of the State of
   California County of San Francisco. Deposition (2023)

2. In Re: Google Play Store Antitrust Litigation, MDL No.: 3:21-md-2981, United States
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                         APPENDIX D – ADDITIONAL DATA ANALYSES

                      Exhibit D1: Summary Statistics of Vault NFT Releases212




Note: Each Vault NFT model was first released on January 18, 2022, except for the Air Jordan 1, which was first
released on January 26, 2022. The initial release price for Vault NFTs linked to the Air Jordan 1 sneakers is inferred
based on their uniform price of $300 sold by StockX on the day of release. Due to the bug affecting StockX’s ability
to release all Vault NFTs at the intended initial release price, some Vault NFTs were released at market prices. The
number of releases is recorded in the first two columns. The average price on the release date for StockX covers any
releases that were not released at the initial release price, but at market prices.




212
      StockX, “Vault NFT Data,” STX0806025; StockX, “Physical Data,” STX0806026. See also StockX, “Vault
      Drop 1 Pricing,” January 11, 2022, STX0121216 (providing release prices).



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      Exhibit D2: Weekly Average Prices of Air Jordan 4 Retro White Oreo 2021 Sneakers213




Notes:
[1] All Vault NFTs for this model were released by StockX on January 18, 2022.
[2] This chart shows the weekly average price of physical sneaker and Vault NFT transactions, using the variable for
Gross Monetary Value. “Vault NFT – Average price by StockX” reflects the average release price of the Vault
NFTs that were not sold at the initial release price. “Physical Item (on StockX)” refers to the average price of the
associated physical sneaker on StockX. StockX’s initial release price and the average release price differ, as StockX
had to release some of their NFTs at market value, rather than their initial price, due to a bug.




213
       StockX, “Vault NFT Data,” STX0806025; StockX, “Physical Data,” STX0806026. See also StockX, “Vault
       Drop 1 Pricing,” January 11, 2022, STX0121216 (providing release prices).



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Exhibit D3: Weekly Average Prices of Nike Dunk Low Retro White Black 2021 Sneakers214




Notes:
[1] All Vault NFTs for this model were released by StockX on January 18, 2022.
[2] This chart shows the weekly average price of physical sneaker and Vault NFT transactions, using the variable for
Gross Monetary Value. “Vault NFT – Average price by StockX” reflects the average release price of the Vault
NFTs that were not sold at the initial release price. “Physical Item (on StockX)” refers to the average price of the
associated physical sneaker on StockX. StockX’s initial release price and the average release price differ, as StockX
had to release some of their NFTs at market value, rather than their initial price, due to a bug.




214
       StockX, “Vault NFT Data,” STX0806025; StockX, “Physical Data,” STX0806026. See also StockX, “Vault
       Drop 1 Pricing,” January 11, 2022, STX0121216 (providing release prices).



                                                        D-3
